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             21:846                                                  Attempt and Conspiracy - Schedule 2 Cocaine Count 1                                                                                                                1                      '   >ct;
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             18:371                                                  Conspiracy to commit offense · Count 2                                                                                                                             1                     LJ L_J i - '-..,.-~
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                Counsel:                                                                                                                                                                                                              LJ         !Olio Dt11.
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                                                                                                       James J. Bogan, Esq.
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                Bennie Lazzara,Jr., Esq.          1440 New York Avenue, N.W.                          0 Bail Nol Mede       LJColl1terll
            606 Madison, Suite 2001               Washington, o.c. 2005                                Dalt Bond     Made   LJ 3rd Prty
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            UJ:371                                           Conspiracy to commit offense Count 2                                                                                                          1                       WL...J 1-;,,+;.;;;;..;;
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                   Douglas J. Titus, Jr., Bsq.
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                   Lawrence B. Wechsler, Esq.                                                    Martha P. Rogers, Esq.
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        i 21:846                                                      Attempt and Conspiracy - Schedule 2 Cocaine Count 1                                                                                           1                       ·~
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        · 18:371                                                      Conspiracy to commit offense Count 2                                                                                                          1                      WL-4i-;.;.;~~
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      10/4/88                            1 INDICTliIENT

    -10/4/88--                           2 WARRANTS- issued(ALL)
       10/6/88                            2A SUPERSEDING IHDICTMBH'l'
       10/7/88                           3 EXPARTE llOTION for entry of TRO pursuant to 21 USC 853(e)(l (A)
                                               w/memo by Govn.

       10/7/88                           4                RESTRAINING ORDBR signed byGCC

       10/7/88                           5            ORDER(GCC) TRO sealed until arrest of defendants

        10/11/88                        *             INDICTLIBNT unsealed (Defendants arrested)                      &   First supersedi q.

    10/11/88                             6            EMERGENCY MOTION (BCCI's) Verified to Vacate and/or
                                                          Modify Court Order dtd 10/07/88 & Memo.

     10/11/88                             7           AMENDED EMERGENCY MOTION (DCCI) to Vacate and/or
                                                         Modify Court Order dtd 10/07/88 & Memo of Law.

    10/11/88                             8            Ol<DER (.BCCI) s/GCC               . 'i•'n to 'Jacat.e Gf<Jlfo•Tl::D.

      10/13/88                                9           MOTION (HASSAN) to Reconvene Pre-Trial Detention
                                                               Hearing.

      10/13/88                                10 MOTION (HASSAN) for Oral Argument.

    10/13/88                                  11 INITIAL & BAIL PROCBBDINGS (BILGRAMI) before TGWilson
                                                      on 10/11/88 Detained.

    10/13/88                                  12 INITIAL & BAIL PROCEEDINGS (BOWARD) held 10/11/88
                                                      before TGWilson. Detained.

      0/13/88                                 13 INITIAL & BAIL PROCBBDINGS (HUSSAIN) held 10/11/88
                                                      before TGWilson. Detained .

     .0/13/88                                 14 INITIAL & BAIL PROCBBJ>INGs (HASSAN) held 10/11/88
                                                      before TGWilson. Detained.

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              10/13/88       15            INITIAL & BAIL PROCBBDINGS (AWAN) held 10/11/88
                                              before TGWilson. Detained.

              10/13/88       16            NOTICE of Arraignment set for 10/19/88 @ 10:00 a.m.
                                              before TGWilson. (~, HASSAN, BUSSAIR, BOWARD,
                                                                 BILGRAHI, BCCI HOLDINGS (LOX)
                                                                 BARK OF CREDIT & COMM. IHT•L. &
                                                                 BANK.OF CREDIT & COMM. OVBRSBAS)

               10/13/88          17          DBTEBTIOR BRG PROCEEDINGS before TGWilson
                                                  Govt opposes bail,~deft may be
                                                  released on posting of property
                                                  worth $800,000 by Aunt & Uncle. (HASSAN)

              10/14/88           18          MOTION (AlfAN) for Revocation or Amendment of
                                                  Order of Detainment.

              J.U/J.<t/OO        J..9r----.MBMORAHDIJM-{-AWA>i)-~n-SUppor.t                 of Ma.tinn for Revoation
                                                                                                                                                 --   --   ,.._
                                                  etc.

               10-17-88           20         ORDER s/TGWilson Defts, Awan, Bilgrami, Hussain &
                                                  Howard ordered DETAINED w/o bail.

              10/17/88           21          WARRANTS OF ARREST returned e~ecuted on 10/08/88
                                             on ( AWAN, BOWARD, HASAR, HUSSAIN, & BILGRAM.I )

                10/17/88              22    ORDER s/TGw Hassan's conditions of release to
                                                 include posting of $750,000 bond, secured by
                                                 a $500,000 bond signed by uncle & aunt ,
                                                 plus $250,00 bond signed by deft undcle.

                10/17/88              23    REQUEST   (Mij\N)   for Expited Oral Argument.
    :1          10/18/88              24    MOTION ( BOWARD) to Reconsider Release.

                10/18/88              25    MEMORANDUM (BOWARD) in Support of Motion to
!
                                                 Reconsider Release.

              10/18/88                26       MOTION (BILGRA!U) for Review of Pre-Trial Detention.

              10/20/88                27    ARRAIGNMBN'r PROCEEDINGS before Wilson on 10/19/88

~'
~·;                                              Defts waive reading of indictment
I'
                                                 Arraigned & plead not guilty
                                                 Trial set for weeks of 12/5 &12/88
                                                 Status set 11/15/88 @ 9:00 a.m
                                                  (AWAN, HUSSAIN, BILGRAMX, HASSAN, BOWARD,
                                                 BCCI, Int'l.,bcci, oversea,)

                10/19/88              28     ADDBNDUM (BILGRAMI) to Deft Bilgrami's Motion for
    r-'                                           Review of Pretrial Detention.

                 10/19/88              29    NOTICE (HASSAN) of Appearance Gary Trombley.
                                                                                                                       Interval
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UNITED STATES DISTRICT COURT
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    10/20/88        30    HOTICB (BILGRAKI) of Appearance of Counsel
                               E. Michael Gillick & Bennie Lazzara, Jr.

    10/20/88        31    HOTICB AWAN) of Appearance John P. Hume & Steven                       c.   Talack~n


    10/20/88        32     NOTICE (BOWARD) of Appearance Patrick Doherty


    10/20/88        33     USM 285 return of Service of Restraining Order to BCCI


    10/20/88        34      APPEARANCE (BCCI,S.A.&OVBRSBAS) of Counsel
                                 Holland & Knight - Douglas Titus, Jr.

    10/21/88        35      MOTION (AWAN) FOR Disclosure of Evidence by the
                                 Govt & Memo in support.

     10/21/88       36      REQUEST (BILGRAMX) for Discovery & Inspection.
                                                             ...   ·-·---------------------- ---
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     10/24/88       37       ORDER SBTTIHG TRIAL
                                  Trial set for 12/5 & 12/88
                                  Status set for 11/15/88 @ 9:00 a.m.
                                  (AMAN, BUSSAIR, BILGRAMI, HASSAN, BOWARD
                                  BCCI, INT'L, BCCI, OVERSEA)

    10/24/88       38      MOTJ:On            (HASSAN) to Modify Bond.

    10/24/88       39      MOTION (HASSAN) for Oral Argument.

    10/25/88       40      RESTRAINING ORDER (BCCI) returned executed on 10-11-88

    10/25/88       41      HOTJ:CB (AWAN) of Withdrawal

    10/25/88       42      MOTION (AWA&) for Reconsideration of Qrder of
                                Detention.

     10/25/88      43      MOTION (HASSAN) for Discovery, Inspection & MEmo
     '•                         in Support.

     10/25/88      44      PROCBBDJ:HGS (BOWARD) Bail Review before TGWilson
                                Bond set: $1 million cash or corp. surety.

      10/25/88     45      PROCEEDINGS (BILGRAMl'.) Bail Review before TGWilson
                                Bond Set @ $1,000,000 cash/corp. surety.

    10/25/88       46      PROCBEDINGS (HASSAN) Bail Review before TGWilson
                                Motion to review bond DENIED. Not enough
                                collateral. Court gives further instructions
                                as to conditions of release. To report
                                to Pre-Trial by phone everday except Weds.
                                Weds in person.




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 10/26/88              47    TRANSCRIPT (AWAN B'l' AL) of Initial Hearing held
    *16/team                      October 11, 1988

     10/26/88          48    TRANSCRIPT (AllAR, B'l' AL) of Initial Hearing held
                                  October 13, 1988

     10/26/88          49    TRANSCRIPT (BCCI) of Hearing held 10/11/88 @1:15p.m.

     10/26/88          50    TRANSCRIPT (BCCI) of Hearing held 10/22/88 @3:30 pm.

     10/26/88          51    PROCEEDINGS Bail Review(AWAN)

     10/28/88          52    ORDER('IW) Waivers of conflict-free counsel SEE ORDER
                                  (AllAB,BILGRAMI,BUSSAIB,BASSAR,BOWARD)

     10/28/88          53    MOTION for reconsideration of Detention order(BUSSAIR)

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     10/28/88          55     APPEARANCE BOND signed 10/28/88 $1,000,000.00 and
                                   $250,000. See Bond(BASSAR)

     10/28/88          56     MOTION for expedited status conference(ALL)

     10/31/88          57     MOTION for Rule 16 Discovery(BUSSAIR)

  *10/28/88            58     PROCBBDIHGS Motion for reconsideration of Detention(BD;SAIH)

     10/28/88          59     MOTION to reconsider Denial of Govn Motion for Nebia H1aring
                                   DENIED (RSO) ORDER 'l'W(BASSAR)

     10/28/88          60     MOTION for Nebbia Hearing by Govn Denied ORDER('l'N) RSO

     10/31/88          61     ORDER('l'N)Motion to modify Bond Granted see    Order(HASS~~)


      11/01/88         62     MOTION (BOWARD) to Modify     Conditions of Bond.

        11/02/88       63     ORDER s/GC.C Joint Motion for Expedited Status
                                  Conference DENIED.

        11/2/88        64     RESPONSE (GOV'!') to Deft Howard's Motion to Modify
                                  Bond.

        11/2/88         65     MOTION (AWAR, HUSSAIN, BILGRAMI, HASSAN, BOWARD,
                                    BCCI, BOTH) Joint Agreed for Extension of
                                    Time in Which to File Pretrial Motions.

        11/2/88         66     NOTICE (HUSSAIN) of Appearance - Terrence Bostic

        11/3/88        67     AMENDED JOINT AGREED MOTION (SAMB AS DOC. ¢1)
                                  for Extension of Time in Which to File
                                  Pretrial Motions & Withdrawal of Previous
                                  Motion for Extension.
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      11/3/88        68         ORDBR S/TGWilson Amended Joint Motion for Extension
                                     GRANTED.

    11/3/88          69        NOTICB of Arraignment before TGWilson on
                                    11/14/88 @ 10:45 am        (ASBRAP,IQBAL)

    11/3/88          70        ORDER S/'.l'GW Motion to Modify Conditions of
                                    Bond on Ian Howard DENIED.

      11/3/88        71        RESPONSE (GOVT) to Certain Discovery Motions.

      11/3/88        72        ORDBR s/GCC Trial Calendar.

      11/4/88        73        MOTION (GOVT) to Retain Funds Into Registry of Court

      11/7/88        74         PAPERWORK (C.D.OP CAL.) (ASBBAP,I)
                                                                 ·------------~--l--------t--                            __ ,"
f--                                  orrgrnareond-included.
       11/9/88        75       MOTION (AWAH) for Amendment of Condition of
                                    Release for Deft Awan.

      11/8/88         76       WABRANT OP ARREST (I ASHRAF) returned executed

.     11/10/88        77        MOTION (GOVT) for "Nebbia" Hearing.

      11/10/88        78        MOTION (AWAN) to Permit Posting Additional
                                     Ltr of Credit on Behalf of Deft Awan.

      11/10/88        79        ORDBR s/'l'GW Motion for Amendment of Condition
                                     of Relase for Deft Awan DENIED.

    11/14/88              80   RESPONSE (GOVT) to Deft Ashraf's Ex Parte Application
                                    for Order Shortening Govt•s time to Respond
                                    to Defts Motion to Compel Discovery.

      11/14/88            81 ARRAIGNMENTProceedings(ASHRAF)
                                arraigned and plead not guilty
                                 Defts have until 12/2/88 to file motions

      11/14/88            82    MOTION to compel discovery & dlsclosure(ASHRAF)

      11/14/88            83   MEMO in support of Motion to compel(ASHRAF)

      11/14/88            84 DECLARATION of rlchard Kendall in support of Motion to cbmpel(ASHRAJ)

      11/14/88            85   DECLARATION of John F. Kovin

      11/14/88            86   RESPONSE by Govn to Ashraf expart appllcaion for order
                                  to shorten govn time to respond to Motion to compel

      11/14/88            87 APPLICATION for order to shorten response time of govn ti~"
                               RSO ORDER(TW) Denied(ASHRAF)
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 11/14/88             88    MEMO in support of Application for order shortention Govn
                              Response time(ASHRAF)

 11/14/88             89    RESPONSE of BCCI to Govn Motion to retain funds in registq
                              of Court

    11/14/88          90    PROCEEDINGS Conditions of release(HUSSAIN,BILGRAMI,HC WARD)

 11/14/88             91    APPEARANCE BOND singed 11/14/88 $1,200,000. w/$200,000 ca1 h
                              & secured by a letter of credit $1,000,000.(HUSSAIN)

 11/14/88             92    APPEARANCE BOND signed 11/14/88 $1,025,000. w/$25,000 cash and
                              secured by letter of credit $1,000,000.(HOWARD)

 11/14/88             93    RULBS for housing and care(HUSSAIN,HOWARD BILGRAMI)

 11/14/88             94    APPEARANCE of Counsel(ASHRAF)
               ---·
 11/14/88             95    APPEARANCE BOND signed 11/14/88 $200,000secureaoy-nll•a8c1;;c(BltGltJ MI ---

 11/15/88             96    APPEARANCE of non resident attorney & designation of counsel(BCCI)

    11/15/88          97    APPEARANCE of nonresident atty & designation of counsel(B ~Cl

 11/15/88             98    APPEARANCE of non residenct atty & designation of counsel BCC :I)

 11/15/88             99    ORDER(GCC)Trial contined and to be restatused(ALL)

 11/15/88       •·
                      100 PROCBBDINGS Status conference

    11/15/88          101 TRANSCRIPT of hearing for reconsideration dated 10/28/88
                            ,....-
 11/15/88             102TRANSCRIPT of hearing arraignmentdated 10/19/88

 11/15/88             103 TRANSCRIPT of hearing ball dated 10/24/88

 11/15/88             104 TRANSCRIPT BAIL review 10/24/88(

    11/15/88          105 TRANSCRIPT Ball review 10/25/88

    11/15/88          106 TRANSCRIPT of conditions of release dated 10/26/88
    11/15/88          107     HOTICB (BUSSAIH) of Appearance of Counsel

    11/15/88          108     'l'RARSCRXPT Conditions of Release Hrq.   10/28/88
                                        (HASSAN)

     11/16/88         109     ORDBR SETTING TRIAL & STATUS
                                    Trial set for weeks of March 6, 13 & 20, 1989
                                    Status set for February 21, 1989 @ 9:00 a.m
                                        (ALL DBPTS)




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 11/15/88          110     MOTION (ASBRAP') to Change conditions of Bail.

 11/15/88          111     MEMORANDUM (ASBRAP) in Support of Motion to Change
                              Conditions of Bail.

 11/16/88          112     ORDBR s/'l'GWi1son Granting Deft Ashraf's Motion to
                              Change Conditions of Bail.

    11/15/88       113     MOTION (AWAH) for Declaration of Conditions of
                              Release & Release of Deft Amjad Awan.

    111/15/88      114     MEMORANDUM (AWAD) in support of Motion for Declaration
                              of Conditions of Release & RElease of Deft Awan.

    11/16/88       115     APP'IDAVJ:T (HUSSAIN) of Nazmul Hussain.

     11/17/88      116      ROTICB (AWAH) OF Letter of Credit.              -
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      11/21/88     117       BO'UCB (GOVT) of Related Cases.

      11/18/88     118       MOTION (BOWARD) to Release Property.

      11/17/88     119       ORDER s/'l'GWi1son   Deft Ashraf's Waiver of Counsel
                                  Accepted.

      11/21/88     120      MOTION to extend time to meet special conditions of re~ea: e
                                 (BILGRAMI)

      11/22/88     121      RBSPOHSB by Govn to Deft Awans Motion for declaration bf
                                 conditions of release

      11/22/88     122      AP'PIDAVIT of DeftBilgrami

      11/22/88      123     TRANSCRIPT of Arraignment Hearing before TGW 11/14/88
                                  (ASHRAF)

      11/22/88      124     TRANSCRIPT of Conditions of Release Hearing before TG1
                                 on 11/14/88 (HUSSAIN, BILGRAMJ:, BOWARD)

      11/21/88     125      ORDBR s/'l'GWi1son Motion to Extend Time to Meet
                                 Special Conditions of Release GRANTED.

      11/23/88       126    APPEARANCE OP COUNSEL (Bii.GRAM!) Co-Counsel Carl S. Re uh

      11/23/88       127    MOTION (ASHRAF) to Suppress Evidence & Request for
                                 Hearing.

      11/23/88       128    MEMORANDUM (ASBRAP') in Support of Motion to Suppress
                                 Evidence.

      11/23/88       129    DECLARATION (ASHRAF) of Richard B. Kendall in Support
                                 of Motion to Suppress Evidence

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     11/28/88       130    APPBARAlilCB BORD (AWAR)
       16/team
     11/28/88       131    MOTION (ASBRAP) for Waiver of Local Counsel
                              Requirement.

     11/28/88       132    MBMORARDOM (ASBRAP) in Support of Motion for Waiver
                              of Local Counsel Requirement.

     11/29/88       133    PROCBBDIHGS Motion for Declaration of Conditions
                              of Release Hearing before TGWilson
                              Court requires deft to file sworn
                              affdt of assets not reported to Court.
                              All other conditions of release the
                              same as other defts in house arrest.

     11/29/88       134     PROCBBDINGS Conditions of Release Hearing before TGW.

µi.,t29,t'.88-- _J.35-MOT.IO!L(ASJIR.llP) for Bill of Particulars
                                       ~~-==--=====-==-~=-'=-==-=::.:::.:~--~-~----ll---+------1-~~


     11/29/88       136     MBMORARODM (ASBRAP) in Support of Motion for Bill
                               of Particulars.

      11/29/88      137     DECLARATION (ASBRAP) of Richard B. Kendall in Support
                               of Motion for Bill of Particulars.

     11/30/88       138     RESPONSE (GOVT) to Defts Howard's Motion to Release
                               Property.

       11/30/88     139     MOTION (GOVT) for Extension of Time in which to
                               Respond to Deft Ashraf's Motions to Compel
                               Discovery & to Suppress Evidence.

      12/02/88      140    MOTION for Bill of Particulars: memo (AWAN)

       12/2/88    141     MOTION (BOllARD) for Severance & Memo of Law.

       12/2/88    14~     MOTION (BOWARD) for Bill of Particulars & Memo of Law.

       12/2/88    143     MOTION (AWAN) for Discovery Pursuant to Rule 16 &
                               Brady v. MAryland.

       12/2/88    144     MOTION (BILGRAMI) for Severance & Separate Trial of
                               Deft & Evidentiary Hearing & Memo.

       12/2/88    145     MOTION (BILGRAMI) for Bill of Particulars & Memo.

       12/2/88    146     MOTION (BILGRAMI) Pursuant to Rule 803(24), Fed.Rules
                               of Evidence for     u. s.   Courts & Magistrates.

       12/2/88    147     MOTION (BILGBAMI) for Information Favorable to Deft,
                               Bilgrami, & Memo of Law.


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     12/2/88            148 MOTION (BILGRAMI) to Compel Production of Rule 16 Materjal.

     12/2/88            149 MOTION (BILGRAMI) to Permit Counsel to Participate in
                                 Voir Dire Examination.

     12/2/88            150 MOTION (HASSAN) for Disclosure of Mail Cover & Memo.

     12/2/88            151 MOTION (BASSAH) for Bill of Particulars & Memo.

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     12/2/88            152 MOTION (BASSAR) for Disclosure of Unindicted Co-
                                 Conspirators.

     12/2/88            153 MOTION (BASSAR) for Disclosure of Govt's Instructions
                                 to Confidential Informants & Memo.

     12/2/88            154 MO'J!IOR (HASSAN) for Severance.
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     12/2/88            156 SOPPLBMBRTAL MEMORANDUM (HASSAN) in Support of Defts
                                 Joint Motion for Disclosure of Confidential
                                 Informants.

     12/2/88            157 MO'J!IOR (BOSSAIR) to Bifurcate Forfeiture Proceedings
                                   from Trial & Memo.

     12/2/88            158 MOTIOR (BOSSAIR) for Limited Disclosure of Grand Jury
                                 Transcripts & Memo •

     12/2/88            159 MOTION (BOSSAIR) for Severance & Memo of Law.

     12/2/88            160 MOTION (BOSSAIR) TO Permit Filing of Motions in
                                 Excess of Twenty Pages & Memo of Law.

         12/2/88        161 MOTION (BOSSAIR) to Compel Discovery & Memo c·f Law.

         12/2/88        162 MOTION (HUSSAIN) for a Bill of Particulars & memo of La II.

         12/2/88        163 MO'lIOR (ASBRAP) for Leave to File Memo of Law in
                                  Excess of Twenty Pagest plus memo in support

         12/2/88        164 MOTION (ASBRAPl for Severance & Change of VEnue; plus
                                 Memo in support.

         12/2/88        165 MOTION (ASHRAP) for Disclosure of Confidential
                                 Informants, plus Memo in Support.

         12/2/88        166 MOTION (ASHRAF) for Production of Gov't Inununity
                                 Papers; plus Memo in Support.




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    12/2/88       167     MOTION (ASBRAP) for Disclosure cf Jencks Act Material;
                                 plus Memo in Support.

    12/2/88       168     MOTION (ASBRAP) for Retention & Preservation of
                               Agents' Rough Notes & Memoranda: plus Memo in
                                 Support.

    12/2/88       169     MOTION (ASBRAP) for Names & Addresses of Witnesses
                                 & Informants; plus Memo in Support.

    12/2/88       170     MOTION (ASDRAP) to Produce Grand Jury Transcript &
                                 Grand Jury Information: plus Memo in Support.

    12/2/88       171     MOTION (ASDRAP) to Identify Electronic Surveillance
                               & Affirm or Deny the Occurrence of Unlawful
                                 Surveillance plus Memo in Support.

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    12/2/88       173     MOTION (ASDRAP) for Production & Disclosure of
                                 Favorable & Impeaching Information: plus Memo
                                 in Support.

    12/2/88       174     MOTION (ASBRAP) for Notice of the Govt's Intention
                                 to Use Specific Evidence: plus Memo in Support.

    12/2/88       175     MOTION (ASBRAP) for Disclosure of Similar Acts; plus
                                 Memo in Support.

    12/2/88       176     MOTION (ASBRAP) to Dismiss: plus Declaration of
                                 Richard B. Kendall In support of Motion.

    12/2/88       177     CERTIPICATB (ASBRAP) of Service.

    12/2/88       178     MOTION (DCCI, S.A. ' OVBRSBA) for Severance.

    12/2/88       179     MOTION (BCCI,S.A. 8 OVERSEA) to Dismiss the Indictment.

    12/2/88       180     MOTION (BCCI,S.A.& OVBRSBA) for Bill of Particulars
                               & Memo in Support.

    12/2/88       181     MOTION (BCCI,S.A.& OVERSEA) to Suppress & for Return
                                 of Property Seized Pursuant to Restraining Order.

    12/2/88       182     REQUEST (BCCI,s.A.&OVBRSBA) for Oral Argument.




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                  TJIB POLLOWIHG MOTIONS WBRB PILED JOIBTLY BY THE POLLOWIBG
                  DBPBNDANTS: AMJAD AllAH, SYBD AP'l'AB BUSSAJ:N, AKBAR A.
                  BILGRAMI, SIBTB HASSAN, IAN HOWARD, BCCI, S.A. Ii BCCI,
                  OVBRSBAS. Docket entries 183 through 205.

   12/2/88        183 JOINT MOTIOB & Memo for Production of Govt Immunity
                           Papers.

   12/2/88        184 JOIRT MOTIOB for Adoption.

   12/2/88        185 JOIRT MOTIOB for Names & Addresses of Witnesses &
                           Informants & Memo in Support.

   12/2/88        186 JOINT MOTION for Notice of the Govt's Intention to
                           Use Specific Evidence.

   12/2/88     187 JOINT MOTION & Memorandum for a Pre-Trial James Hearing
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                           Statements.

   12/2/88        188 JOIRT MOTIOB for Retention & Preservation of AGents'
                           Rough Notes & Memoranda & Supporting Memeorandum.

   12/2/88        189 JOIRT MOTION for Disclosure of Jencks Act Materials
                           & Memo in Support.

   12/2/88        190 JOIRT MOTION to Produce Grand Jury Transcripts &
                           Grand Jury Information.

   12/2/88        191 JOINT MOTION   FOR Disclosure of Confidential Informants

   12/2/88        192 JOIRT REQUEST for Oral Argument.

   12/2/88        193 JOIRT MOTION for Disclosure of Similar Acts & Memo
                           in support.

   12/2/88        194 JOIRT MOTION for Production & Disclosure of Favorable
                           & Impeaching Information & Memo in Support.

   12/2/88        195 JOINT MOTION to Identify Electronic Surveillance
                           & Affirm or Deny the Occurrence of Unlawful
                           Surveillance.

   12/2/88        196 JOIRT MOTION FOR Discovery Pursuant to Rule 16 &
                           Brady v. Maryland.

   12/2/88        197 JOIHT MOTION for Leave to Move, at a later date,
                           to date Depositions Pursuant to Rule 15(a)
                           & to Seek the Issuance of Letters Rogatory
                           Pursuant to 28 u.s.c. Sec. 1781.
   12/2/88        198 JOINT MOTION for Leave of Court to File Motion in
                           Excess of Twenty Pages.

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  12/2/88         199      JOINT MOTION to Dismiss Counts One & Two of the
                                Indictment as Multiplicous & Memo in Support.

  12/2/88         200      JOINT MOTION to Dismiss Counts Three through Sixteen
                                of the Indictment as Duplicitous & for Lack
                                of Jurisdiction & VEnue & Memo in Support.

  12/2/88         201      JOINT MOTIOH to Permit Filing of Motions in Excess
                                of Twenty Pages & Memo in Support.

  12/2/88         202      JOINT MOTION to Dismiss Counts One & Two of the
                                Indictment for Failure to State Offenses &
                                Memo in support.

  12/2/88         203      JOINT MOTIOH to Dismiss Counts Two Through Sixteen
                                of the Indictment Because they and Section
                                1956 are Unconstitutionally Vague & Overboard
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  12/2/88         204      JOINT MOTIOH to Dismiss Counts Three Through
                                Sixteen of the Indictment for Failure to State
                                Offenses & Memo in Support.

   12/2/88         205     JOINT REQUEST for Oral Argument on Joint Motions
                                to Dismiss the Indictment 7 Memo in Support.

    12/8/88         206 MOTION (BCCI,S.A.&OVERSBA) for Order Establishing
                               Escrow Account & Memo in Support.

    12/7/88       207      ORDBR s/TGW Deft Howard's Motion to Release Property
                                GRANTED.

    12/9/88       208      MOTION to change conditions of bail(ASBRAP)

    12/9/88       209      MEMO in support of Mot to change bail(ASBRAP)

    12/12/88      210      ORDBR('l'lf) Motiion to change conditions of Bail Granted
                                (ASBRAP)
    12/12/88      211      OPPOSITION to Govn Motion for extension of time to respbnd
                                to Motions to compel discoveyr and to suppress evia.
                                w/memo(ASBRAP)

    12/12/88      212      CBR'l'IPICATB of Service(ASBRAP)

    12/12/88      213      DECLARATION in support of opposition to Govn Motion for
                                extension of time(ASBRAP)


    12/15/88        214 MOTION (GOVT) for Extension of Time in which to respond
                             to Def ts Matins.




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 12/22/88              215      M~OH   (HASSAN) to Suppress or in the Alternative
                                     Dismiss the Indictment and Request for Hearing.
    12/28/88            216     Response to motion for order establishing escrow
                                    account by govt.

 12/29/88              217      NOTICE of filing corrected response to motion for order
                                    establishing escrow account by govt.

12/29/88              218       CORRBCTBD response to motion for order establishing
                                   escrow account by govt.

 12/30/88             219       BRIBP in oppostiion to Govn Motion for extention of
                                     time to respond to Motions(ASBRAP)

 1/3/89               220       ORDBR('l'll) Motion for extention of time Granted(GOVR)
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                      221       JOIBT MOTIOIL(AWAH.._BDSSJU8-BILGRAIG-,-BASSARrH011ARD-,~·+----<-----·~
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                                    BCCI, OVERSEAS & S.A.) for Appointment of
                                    Additional or Alternate Court Reporter. ·

     01/06/89         222       JODrl' MOTION (HASSAN, AWAH, BILGRAMI, HOllABD, BCCI)
                                    for Porduction of Ebidence or, in the alternative
                                    for In Camera Review.

    01/06/89          223       JOIBT MOTION (AliAN, BILGRAMI, HASSAN, HOWARD, BCCI)
                                    to ENforce Complaince with Court's Order.
    01/06/81          224       MOTION {ASHRAF) for Adoption        &.   Memo of Law.
                                        I

    01/09/89          225       RESPONSE to defts.' joint motion and deft. Ashraf's
                                    motion for disclosure of Jencks act material by
                                    the govt.
    01/09/89          226       RESPONSE to defts.' joint motion for names and addre-
                                    sses of witnesses and informants by the govt.

    01/09/89          227       RESPONSE to defts.' joint motion and deft. Ashraf's
                                    motion for disclosure of similar acts by the govt.

    01/09/89          228       RESPONSE to defts.' joint motion and deft. Ashraf's
                                    motion for notice of the govt.'s intention to use
                                    specific evidence by the govt.

    01/09/89          229       RESPONSE to deft.'s joint motion and deft. Ashraf's
                                    motion for disclosure of confidential informantCs:
                                    by the govt.
    01/09/89          230       RESPONSE to defts.' joint motion and deft. Ashraf's
                                    motion for order requiring preservation of agents'
                                    rough notes and memoranda by the govt.
    01/09/89          231       RESPONSE to Hassan's supplemental memo. in support of
                                    deft.'s joint motion for disclosure of confiden-
                                    tial informants by the govt.
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 01/09/89            232     RESPONSE to deft. Ashraf's motion for production and
                                 disclosure of favorable and impeaching information
                                 by the govt.
 01/09/89            233     RESPONSE to defts.' joint motion and deft. Iqbal Ashr-
                                 af's motion for production of govt. immunity papers
                                 by the govt.
 01/09/89            234     RESPONSE to defts.' joint motion and deft. Ashraf's
                                 motion to produce grand jury transcripts and grand
                                 jury information by the govt.
 01/09/89            235    RESPONSE to defts.' joint motion and deft. Ashraf's
                                motion to identify electronic surveillance and
                                affirm or deny the existence of electronic survei-
                                llance by the govt.
 01/09/89            236     MOTION for enlargement of time in which to file answer
                                  to deft.'s motion to compel disclosure of matters
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  01/12/89            237    MOTION (ASllRAP) to Change Conditions of Bail w/Memo
                               & Declaration of Randall J. Sunshine.
  01/10/89            238    ANSWER (GOVT) to Deft Iqbal Ashraf's Motion to
                               Suppress Evidence.

  01/12/89            239      ORDER s/'l'GWilson Motion for Enlargement of Time
                                    in which to file Answer to Deft Ashraf's Motin
                                    to Compel Disclosure of Matters before the
                                    Grand Jury Granted.

    01/12/89          240      MOTION (BILGRAMI) to Suppress or in the Alternative
                                    Dismiss the Indictment, & Request for Hearing.


  01/13/89            241      ORDER s/'l'GWilson Various Rulings regarding motions
                                   submitted by Defts Awan, Bilgrami, Hassan &
                                   Hussain.


  01/13/89            242      ABSWBR (GOVT) to Deft Ashraf's Motion to Compel
                                   Disclosure of Matters Occurring Before Grand
                                   Jury.

    01/13/89          243       RESPONSE (GOVT) to Deft Awan's Motion for Discovery
  16/team                            Pursuant to Rule 16 & Brady v. Maryland.

      01/13/89        244       RESPONSE (GOVT) to Deft's Joiint Motion for Discovery
                                     Pursuant to Rule 16 & Brady v. Maryland.

    01/13/89          245       RESPONSE (GOVT) to Deft Bilgrami's Motoin to Compel
                                     Production of Rule 16 material.



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 01/18/89              246   HOTICB (HASSAN) of Govt's Non-Opposition to Defense
                                Motions.

     01/18/89         247    JOD1'.r RBQUBST for Leave to File Brief Reply Memoranda
                                to the Govt's Discovery Responses.

    01/18/89          248    ANSWER to deft. Ashraf's motion to change conditions
                                 of release by the Govt.
    01/18/89          249    RESPONSE to Hassan's motion for disclosure of mail
                                 cover by the Govt.
    01/18/89          250    RESPONSE to deft. Bilgrami's motion for information
                                 favorable to the deft. by the govt.
    01/18/89          251 DBPT.'S joint notice of govt.'s non-opposition to
                              defense motions. (AWAN, HUSSAIN, BILGRAMI, HASS-
                              AN, INA HOWARD, BANK OF CREDIT & COMMERCE INTL,__ "--•----·- '-- -
. ...__ ------~-t---·--·-------~ A-;--&- BANl\OY-CREO'IT & COMMERCE INTL. LIMITED)

    01/19/89          252    DBPT.'S second supplemental memo. of law in support
                                of motion to change conditions of bail.(ASHRAF)

    01/23/89          253    ORDER s/'l'GWilson Clerk of C.D.of Cal. Directed to
                                surrender the passport of Aqbal Ashraf to a
                                respresentative of Shearman & Sterling for
                                transmittal to the office of Mag. Wilson.

    01/23/89          254    ORDBR s/'l'GWilson Def ts Joint Request for Leave to
                                FileBrief Reply Memoranda to Govt's Discovery
                                Responses DENIED.

    01/23/89          255    ANSWER (GOV'!') to Deft Hussain's Motion for Disclosure
                                 of Matters Occurring Before the Grand Jury.

    01/23/89          256    MOTION (GOVT) for Extension of Time in Which to File
                                 Govt's Response to Deft Hussain's Motion to Compel
                                 Discovery of Documents Relating to Retrieval
                                 of currency Transaction Reports.

    01/23/89          257    RESPONSE (GOVT) to Defts Joint Request to file Brief
                                 Reply Memoranda to the Govt's Discovery REsponses.

     01/23/89         258    RESPONSE (GOV'!') to Deft Hassan's Motion for Disclosure
                                 of Unindicted Coconspirators.

01/23/89              259    MOTION (GOVT) to Accept Filing of Responses to
                                 Certain Pleadings Out of Time & Govt's
                                 Response to Defts' Joint Notice of Govt
                                 Non-Opposition to Deft Hassan~s Noticew of
                                 Govt's Non-Opposition to Defts Motions.



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    01/23/89           260     INITIAL RBSPORSB (GOVT) to Motions for Bill of
                                  Particulars.

    01/23/89           261     INITIAL RBSPORSB (GOVT) to Deft Hassan•s Motion for
                                  Disclosure of Govt•s Instructions to Confidential
                                  Informants.

    01/23/89          262      RBSPORSB (GOVT) to Deft 1 s Joint Motion to Move, at a
                                  Later Date, to Take Depsoitions Pursuant to
                                  Rule 15 (a) and to Seek the Issuance of Letters
                                  Rogatory Pursuant to 28 u.s.c. Sec. 1781.

    01/23/89          263      RESPONSE (GOVT) to Deft Bilgrami's Motion Pursuant
                                  to Rule 803(24) Federal Rules of Evidence for
                                  United States Courts & Magistrates.

   01/24/89           264      ORDER s/TGWilson of Change of Conditions of Bail
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                             ------(ASBRAP-)--· - - - - - - - - - - - - - - - - - - - - - - - - - - ------...--- ---

    01/24/89          265      PROCEEDINGS Bond Hearing on Ashraf before TGWilson
                                   Deft advised of conditions of release
                                   Passport returned to Deft.

    01/25/89          266      RBQUBST (ASBPRAP)for Leave to File Reply papers in
                                   Support of Motion to Suppress & REquest for
                                   Hearing.

     01/26/89         267      APPBARANCB BORD (IQBAL ASBRAP') for $2,000,000.00
                                   on property in Agoura Hills Calif. &
                                   London, England.

    01/26/89           268     PROCEEDINGS Motion for Bond (IQBAL ASBRAP')

    01/26/89         269       JOINT MOTION for RBconsideration of Magistrate's
                                    ORder.

    01./26/89        270       JOINT REPLY to Govt's Response to Defts Joint Motion
                                    for Disclosure of Similar Acts.

    01/26/89         271       JOINT REPLY to Govt's Response to Defts Joint Motion
                                    for Production of Govt Immunity Papers.

    01/26/89         272       JOINT RBPLY to Govt's Response to Defts Joint Motoin
                                    for Production & Disclosure of Favorable &
                                    Impeaching Information.

    01/26/89          273      JOINT REPLY to Govt's Resposne to Defts' Joint Motion
                                    for Disclosure of Jencks Act Materials.

    01/26/89          274      JOINT RBPLY to Govt•s Response to Defts Joint Motion
                                    for Order Requiring Preservation of Agents'
                                    Rough Notes & MEmoranda.

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    01/26/89          275    RBPLY MEMORANDUM (AWAN, BUSSAIB, BILGRAMI, BASS.AB,
                                  HOWARD, DCCI, INT•L & DCCI, OVERSEAS) in Support
                                  of Defts Joint Motion for Disclosure of
                                  Confidential Informants.

     01/26/89         276    RBPLY MBMORARDUM (AllAH, BUSSAIN, BILGRAMI, HASSAN,
                                  HOWARD, DCCI (BOTH)) in Support of Defts' Joint
                                  Motion for Notice of the Govt's Intention
                                  to Use Specific Evidence.

    01/26/89         277     ORDER s/GCC Case to be restatused on March 7, 1989
                                  alonq with 888-329-CR-T-13. Govt has until
                                  March 1, 1989 to respond to defts motions filed
                                  in both cases.

     01/26/89         278     ORDER s/GCC Joint Motion to Permit filing of Motins
                                   in Excess of 20 2!9es granted.                              1----1-~~---1--1--~-
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    01/27/~9         279      REQUEST (IQBAL AHSRAP) for Leave to File Reply
                                   Papers in Support of Motion to Compel Discovery
                                   & Disclosure of Matter Occuring before the
                                   Grand Jury. Affidavit & Memo in Support
                                   plus Certificate of Service attached.
    01/31/89         280    MOTION (GOVT) for Summons upon Indictment.

    01/31/89         281    JOIRT REQUEST for Leave to File Reply Memorandum
                                 to the Govt's Response to Defts Joint Motion
                                 for Discovery Pursuant to Rule 16 & Brady
                                 v. Maryland.

    02/2/89          282    OPPOSITION to deft. Hussain's motion to compel disco-
                                very by the Govt.
    02/01/89         283    ORDER Stamp Sigued/TGWilson Motion for Summons upon
                                Indictment GRANTED. See Docket Entry i 280

     02/06/89        284    INI'l'IAL RBPLY (HOSSAIN) to Govt's Initial Reponse
                                   to Deft's Motion for a Bill of Particulars
                                   & Memo of Law.

    02/06/89         285    REPLY (HUSSAIN) to Govt's REsponse to Deft's Motion
                                 for Limited Disclosure of Grand Jury Transcripts
                                 & Memo of Law.

    >2-06-89         286    REQUEST (HASSAN) for Leave to File Reply Memorandum
                                 in Support of Motion for Disclosure of Govt's
                                 Instructins to Confidential Informants & under-
                                 cover Operatives.

      02/08/89       287    MBMORAHDOM (ASBRAP) in Support of Motion to Dismiss.


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    02/10/89       288   'l'RANSCRIP'l' of Bail Modification Hearing before Mag.
                               Wilson on 1/20/88. (ASBRAP)
    02/10/89       289   MO'l'IOH for Adoption and Incorporated Memo of Law (ASBRAJ!)

    02/13/89       290   MO'l'IOH for Adoption and Incorporated Memo of Law (ASHRAE)

    02/13/89      291    'l'RABSCRIPT of Conditions of Bail Hearing before Mag.             Wil~on
                                on 11/28/88 (AWAR)
     02/13/89      •     SUMMONS issued as to BCCI HOLDINGS (LUXEMBOURG) S.A.
                                c/o New York, New York as for 3/1/89 before
                                TGW at 10:00 A.M. Issued: R. Davis

    02/15/89      292     MO'l'IOH (GOVT) to Extend Time in Whcih to File Rejoinde s
                            to Deft Ashraf's Reply Memoranda •

. -02,llS,lB~L- 129i____ LB'l'lBR_(l\S~L from Sherman & Sterling returning
                             Deft Ashraf's Paassport w/ letter from          Consulat-e~-­
                             in Pakistan.

     02/21/89     294    MO'l'IOR (HASSAN) to Suppress Property Seized from Hotel
                             Room and Derivar,~ve. Evide~cE7.~~ M;mo ~ll-~Support.

     02/21/89     295    MO'l'IOH (ASllRAP) to Change Conditioris'cif .Bail.

     02/21/89     296    MEMORANDUM (ASBRAP) in support of Motion to change
                            Conditions of Bail.

    02/21/89      297    DECLARATION (ASBRAP) of R.J. Sunshine in support of
                            Motion to· Change Conditions of Bail.

    02/21/89      298    MO'l'IH (ASHRAF) for Expedited Hearing & Resolution of
                            Motoin to Suppress Evidence.

     02/21/89     299    MEMORANDUM (ASBRAP) in Support of Motion for Expedited
                            Hrg & Resolution of Motion to Suppress Evidence.

     02/21/89     300    DECLARATION (ASBRAP) in Support of Motion for Expedited
                            Hearing & Resolution of Motion to Suppress Evidence.

    02/23/89      301     MO'l'IOH (HUSSAIN) to Permit the Filing of Reply Pleading;
                            to all Govt Presponse & MEmo in Support. Attached
                            is Reply Motion.
     02/28/89     302    MO'l'IN (GOVT) for Leave of Court to File Motion in Excess
                             of Twenty Pages. Govt's Emergency Motion for Hearing
                             to Determine Deft's Compliance with F.R.Cr.P 17(c)
                             & for Stay pending Outcome of Hearing attached.
     03/01/89     303    MO'l'IOH for leave to file pleading in excess of (20)
                               pages in length by the govt. (ASHRAF)


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             Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 34 of 101 PageID 48

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET         vs ~U.S.                                     -·u
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r     DATE                                             PROCEEDINGS (continued)                                         V. EXCLUDABLE DELAY
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    03/01/89         304        ORDBR(TW) M/for leave to file motion in excess of (20)
                                    pages by the Govt. = granted. M/for emergency hear-
                                    ing to determine deft.'s compliance with F.R.CR. P.
                                    17(c) and for stay pending outcome of hearing = de-
                                    nied.
    03/01/89         305        MOTION for emergency motion for hearing to determine
                                    deft.'s compliance with F.R. CR. P. 17(c) and for
                                    stay pending outcome of hearing by the govt.


    03/01/89         306        DECLARATION of Randall J. Sunshine in opposition to
                                    govt.'s motion to extemd time in which to file
                                    "Rejoinders"
    03/01/89         307        MBMO. in opposition to govt.'s motion to extend time
                                    in which to file "Rejoinders" to Mr. Ashraf's reply
                                    memo. (ASHRAF)
    03/01/89         308        PROCEEDINGS: Arraignment (B.C.C.I. SA Luxenburq)
                                    Defts. not present. Summons issued - execution in
                                    question.

    03/02/89     309              MBMO IB RESPONSE (GOV) to Joint Motion to Dismiss
                                       Indictment for outrageous GOV Conduct.

 03/06/89            310         MOTION (AWAH&BILBRAMI) to Suppress with Memo of Law
                                      & Request for a Hearing.

    03/06/89     311             NOTICE (ASHRAP) of Govt's Non-Opposition tyo Motion
                                      for Severance & Transfer of Venue and Motion for
                                      James Hearing.

 03/07/89        312        SUPPLBMBH'l'AL MEMORANDUM (GOVT) IN Opposition to Joint
                                 Motion to Dismiss for Outrageous Govt Conduct.

 03/07/89        313        CONSOLIDATED RBSPOHSE (GOVT) to Motions for Severance
                                 filed on Behalf of Various Defts.

 03/07/89        314        NOTICE (GOVT) of filing of Govt's Initial Response
                                 to Certain of Def ts Motions & Request for
                                 Continuance.

 03/07/89        315            ORDBR s/WTB Trial shall not begin before 09/15/89 &
                                    case shall be restatused on May 12, 1989@ 10:00 a.n.

    03/08/89     316        TRANSCRIPT of Status Conference before Judge Hodges
                               held on March 7, 1989.  (ALL DBPTS)

03/08/89         317            SUPPLBMBNTAL MEMORANDUM (ASHRAP) OF Law in Support
                                     of Motion to Change Conditions of Bail.

    03/08/89     318            ORDER s/'l'GWilson Motion to change Bail Conditions is
                                     Granted to extent that Deft may travel to Georgia
                                    -·--   --·----      ,   __ ,,
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  03/09/89      319    MOTION (BOWARD) to Modify Conditions of Bond.
  03/14/89      320    DBP'l'.'S notice of govt.'s non-opposition to defense
                           motions. (HASSAN)
  03/14/89      321    DBP'l'S.' joint notice of govt.'s non-opposition to defen-
                             se motions. (AWAH, HUSSAIN, BILGRAMI, HASSAN, HOW-
                             ARD & BOTH BANKS)
  03/14/89      322    MOTION to modify conditions of bond. (BILGARMI)
 03/14/89       323    REQDBST for oral argument on deft.'s motion to modify
                           conditions of bond. (BILGRAMI)

   03/15/89     324    MOTION (ASHRAF) to Change Conditions of Bail.

 03/15/89       325    MEMORANDUM (ASBRAP) of Law in Support of Motion to                         Chang~
                          Conditions of Bail.

 03/15/89       326    DECLARATION (ASHRAF) of Randall J. Sunshine in Support
                          of Deft Ashraf Motion to Change Conditions of Bail.

  03/15/89      327     ORDER s/TGW Motion to Modify Conditions of Bond
                            DENIED. (BILGRAMI

   03/16/89     328     MOTION (ASHRAF) for Leave to File reply Papers in
                               Support of Motion to Dismiss & Motion for
                               Severance & Transfer of venue.

  03/17/89      329      REQUEST (AWAH) for Oral Argument on Deft Awan's Motiop
                              to Modify Conditions of Release.

 03/17/89       330      MOTION (AWAN) to Modify Conditions of Release &
                              Memo of Law Incorporated.

 03/20/89        331     MOTION (ASBRAP) to Obtain Origianl I-94 Immigration
                             Form.

 03/20/89        332     JOINT MOTION (AWAN, HUSSAIN, BILGRAMI, HASSAN, BOWARD
                              & BCCI) to Strike Govt•s Notice of Filing &
                              Cross Referenced "Initial" Alleged Response to
                              Joint Motions or in the Alternative, Deft's
                              Joint Motion to Permit "Initial" Reply to
                              Govt's "Initial Response" to Joint Motions &
                              Memo of Law.
 04/04/89       333      ORDER s/TGWilson Motion to Change Conditions of
                              Bail on Deft Iqbal Ashraf GRANTED.

 04/04/89       334    MOTION (GOVT) for the Issuance of an International
                         Letter Rogatory.                         I       of l tr                                   ~ogatory.
                334A   MEMORANDUM (GOVT) in support of Motion for ssuance
  04/04/89
  04/04/89      335    ORDER s/'l'GWilson Deft Ashraf's Motion to Obtain origina
                         I-94 Immigration Form GRANTED. Deft's Attorney to
                         contact clerk of court to make arrangements to pick u1
                         document.     (ASHRAF)                               Interval                               Stan Date   Ltr. Total
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              Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 36 of 101 PageID 50
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     04/05/89      336    ORDBR(TW) motion to modify conditions of release     =
                              denied. (AWAH)

      04/07/89    337     ORDER s/'l'GWilson various discovery motions filed by
                               Defts Hussain, Awan, Bilgrami, Hassan, Howard &
                               DCCI.

       04/07/89    338 ORDER s/'l'GWBilson Motoin to compel discovery &       :
                            Dislcosure of Matter Occurring before the Grand
                            Jury filed by Deft Ashraf is Denied.     Deft Ashraf s
                            Motin for Retention & Preservation of Agents' Roug~
                            Notes, etc. Granted to extent that all Govt law
                            enforcement officers invovled are required to
                            retain any rough notes & memoranda peraining to
                            this case. In all other respsects motions are
                            DENIED.
--1-------r---------------------------- -·---------                                        L - - . - 1 - - - - - - -·--            ~·--
     04/10/89      339    SUPPLBMBN'?AL MBMORAJIDUM (GOV'!') in Support of Motion for
                                Issuance of Letters Rogatory.

     04/10/89      340    NOTICE (GOVT) of Service List.

     04/11/89     341     DiTBRNATIORAL (GOV'.I!) Letter Rogatory.

     04/11/89     342     MEMORANDUM (GOVT) in Response to Joint Motion to
                               Dismiss Counts Three through Sixteen of the Indict
                               ment as Duplicitous & for Lack of Jurisdiction
                               & Venue.
      4/13/89      343     ORDBR('l'W)Discovery Motions SEE ORDER (ALL)

      4/13/89      344     ORDBR ( '1'W) Motion to modify conditions of Bail GRANTED
                                   See Order(BOWARD)

     04/17/89      345     MOTION (DCCI) to Suppress Evidence Obtained in
                               Paris, France.

     04/18/89     346      JOilft' MOTION (WAH, HUSSAIN, BILGRAM:r, HUSSAR, BOWARD,
                                  & BOTH BCCis) in Opposition to the Govt's
                                  Motion for the Issuance of an International
                                  Letter Rogatory & Proposed International Letter
                                  Rogatory.

     04/18/89      347     MOTION (HUSSAIN) to Modify Conditions of Release
                                & Incorporated Memo of Law.

      4/19/89      348     ORDBR('l'W) Motion to Modify Conditions of Release
                               DENIED(HUSSAXH)




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    04/24/89           349    JOINT MOTION (AHAB, BUSSAIN, BILGRAMI, BASSAH, BOWARD
                                  BOTH BCCI) to File a Reply to Govt's Response
                                  Concerning Duplicity, Jurisdiction & Venue &
                                  Incporated Memo of Law.

    04/24/89           350    MOTION (ASBRAP) for Adoption of Deft's Joint
                                  Opposition to the Govt's Motion for the Issuance
                                  of an International Letter Rogatory & Proposed
                                  International Letter Rogatory & Incorporated
                                  Memo of Law.

     04/25/89          351    INTERNATIONAL LB'l"l'Bll ROGA'l'ORY s/WTB

    04/25/89           352               ORDBR s/WTB Motion for Issuance of a Letter Rogatory
                                                filed by the Govt is GRANTED. Ordered to be
                                                submitted to the Court in France, l original
                                                to be retained in the court's files & other
·----·    -    - - - > - - - - - - - - - - - __ original_to_bL_S!lbl!litted to the us Attorney's
                                                                                                    1----..- - - - - 1 . · - - - - -   -·-
                                                Office for translation & delivery to France.

     04/26/89          353    RBSPONSB(GOVT) to Defts BCCI, S.A. & BCCI Overseas'
                                   Motion to Dismiss the Indictment.

    04/28/89           354    APPEAL (BUSSAIR) of Magistrate's Order Denying
                                  Deft's Motion to compel Discovery.

    05/02/89           355    MOTION (BUSSAIN) for Amendment of conditions of
                                  Release.

     05/04/89          356    MOTION (ASBRAP) to Change conditions of Bail and
                                  memo of Law.

    05/04/89           357    DECLARATION (ASBRAP) of Randall J. Sunshine in
                                  Support of Deft Ashraf's Motion to change
                                  Conditions of Bail.

    5/4/89             358     SECOND SUPERSEDING INDIC'i'MBHT (5 defts Added)

    5/5/89             359     WARRANT issued(SBAPI)

    5/5/89             360     WARRANT issued(SINGB)

    5/5/89             361     WARRANT issued(QAZI)_

    5/8/89             362     NOTICB(TW) of arraignment set for May 24, 1989 at
                                    10:00 am(AWAN,HUSSAIN,BILGRAMX,BASSAN, BOWARD,
                                    ASBRAP,BCCI,S.A. ,BCCI, LTD,MORA,ARMBRBCBT,)

    05/09/89            363     TRANSCRIPT of Status Conference held 11/15/88
                                   before Judge Carr. (ALL DBPTS)



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  05/12/89          364       RO'l'ICB (MORA) of Appearance - Joel N. Rosenthal.

 05/12/89           365      CLERK's MINUTE: STATUS CONFERENCE. Arraignment
                                 set May 24, 1989 on Superseding Indictment.
                                 Trial Time 4 - 6 months. Govt. suggest late
                                 this year or early next year for trial. Re-
                                 lated case set for trial July t, 1989. Counsel
                                 has conflict 1st week of Jan. 1990 due to othet
                                 trial connnittments.

   5/16/89          366    RBTURHBD I-94 Immigration Form to Counsel Wm. Flynn (AS mAI )

  05/16/89          367    PROPOSED (ALL DBPTS) Schedule for Discovery, Hearings
                               & Trial date.

  05/19/89            ORDER s/TGWilson Motion for .Amendment of conditions of
                    368
                          Release filed by Deft Hussain DENIED. Mailed to
                ---- ---a:n counseroii-057!9789.

 05/18/89           369    MO'l'IOR (ASBRAP) to Change conditions of Bail & Memo
                                 of Law.

 05/18/89           370    DBCLARATIOH (ASBRAP) of Randall J. Sunshine in
                               Support of Deft Ashraf's Motion to change
                               Conditions of Bail.

 05/22/89            371    ORDER s/'l'GWilson Motion to Change Conditions of Bail
                                filed by Deft Ashraf l.lGRANll'ED.
 05/23/89           372     ORDER(TN) motion to change conditions of bail                 = grant
                                ed. (ASHRAP)
  05/23/89          373    'l'RANSCRIPT of Status Conference Before WTH on 5/12/89 (ALL)

  05/23/89          374    APPBARAHCB (ASBRAP)

  05/24/89          375    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (BOWARD

  05/24/89          376    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (HASSAN

  05/24/89          377    ABRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (BI --- "•)

  05/24/89          378    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (BOSSAI11)

  05/24/89          379    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (AWAB)

  05/24/89          380    ARRAIGRMBNT before TGW 5/24/89 on 2nd Superseding
                               Indictment: Plea of not guilty entered. (ASHRAF

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 05/24/89       381    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                            Indictment: Plea of not guilty entered.   (BCCI ove seas)

 05/24/89       382    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                            Indictment: Plea of not guilty entered.   (BCCI S.A                  Ballks)

 05/24/89       383    ARRAIGNMBNT before TGW 5/24/89 on 2nd Superseding
                            Indictment: Plea of not guilty entered. (ARMBRBCBT

 05/24/89       384    ARRAIGNMENT before TGW 5/24/89 on 2nd Superseding
                            Indictment: Plea of not guilty entered. (MORA, JR.

  5/25/89       385    TRANSCIUPT of ReArraignment and motions dated 5/24/89

  05/25/89       386    ORDER s/TGWilson Hearing scheduled for Friday, June
                              9, 1989 at 11:00 a.m. (ALL DBP'l'S)

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                               am, Docket entries, 135, 142, 145, 151, 158, 162
                               170, 180, 190 DENIED. (ALL DBP'l'S)


  06/01/89      388    MOTION (ARMBRBCBT) for Pretrial release & Memo of Law.

06/01/89        389    MEMORANDUM (ARMBRBCBT) in Support of Motion for Pretrial
                            Release & Memo of Law.

 06/01/89       390    EXHIBITS (ARMBRBCBT) for Motion for Pretrial Release
                            & Memo of Law. (SEE SBPARA'l'B FOLDER FOR BXBIBITS)

 06/05/89       391    RESPONSE (ARMBRBCBT) to Magistrate's Order of May 25,              19~9.


 06/12/89       392     ORDER s/TGWilson Hearing scheduled for Friday, June 16,
                             1989 at 10:00 a.m. for the purpose of discussing
                             approaches to eliminating the scheduling conflict.
                             (ALL DEP'l'S)

 06/14/89       393    MOTION (BILGRAMI) for Continuance, Severance & Status
                          Conference & Memorandum in Support Thereof.

  06/14/89      394     PROCEEDINGS Status of Counsel Hearing before Mag.
                            Wilson.    (ALL DEPTS)

 06/19/89       395     PROCEEDINGS Status of Counsel before Mag. Wilson
                            Status conference set for July 17, 1989 at 10:00 am
                            to evaluation prograes of Jakeway case.
                            (ALL DEP'l'S)

  06/20/89      396     NOTICE of Status conference to be held July 17, 1989 at
                            10:00 a.rn. before Mag. Wilson (ALL DEPTS)



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     6/19/89            397 ORDBR(TW) Motion for Pretrial Release Denied without prejud ce
                              (ARMBRBCHT)
     6/20/89        398        TRANSCRIPT of status of counsel conference dated 6/ 16/89

     6/20/89        399        TRANSCRIPT of status hearing dated 6/9/89

 06/20/89           ~00        ORDBR s/'l'GWilson Status Conference set for July 17, 198'
                                    at 10:00 a.m. in Rm 218. (ALL DEPTS)


 06/22/89           1401       MOTION (ARMBRBCBT) for Hearing on Deft's Previously
                                    Filed Motion for Pretrial Release.

 6/23/89                402     MOTION       TO continue and sever w/memo(S.BASSAN)

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06726/89-· · ' -403             MOTION (BILGRAMI) to Modify Conditions of Release
                                     & Memo of Law.
    06/27/89            404      REQUEST for oral argument. (BILGRAlll)

     06/30/89           405      APPBAL (ARMBRBCBT) from Magistrate's Order of
                                      June 15, 1989 Denying Deft's Motion for Pretrial
                                      Release Without Prejudice.


     07/10/89           406      JOIHT MOTION (AWAN, BUSSMB, BILGRAMI, HASSAN, BOWARD
                                     & BCCI) & Memoandwn for Enforcement of Compliance
                                     with Court Order.

    07/12/89            407     MOTION (ARMBRBCBT) to Consolidate Indictments or in
                                    the Alternative, to Dismiss Case No. 88-329-CR-T-13
                                    & Incorporated Memo of Law.

    07/18/89            408      PROCBBDIHGS Status of Counsel hearing before Mag. Wils n.
                                      Counsel directed to file motins to withdraw from
                                      the Jackeway case, & if not w/in 10 days
                                      defts will be brought in to court & advised
                                      they must get new counsel. (ALL DEPTS)

     07/19/89           409      ORDBR s/'l'GWilson Regarding Trial conflict with 88-233-
                                      CR-T-l 7, counsel directed to file statement
                                      showing that the trial conflict has been
                                      satisfactorily resolved or a motion to withdraw
                                      has been filed in us v. Jakeway. CALL DEPTS)

    07/21/89             410     NOTICE (GOV'l') of Intention to use Evidence.

    07/25/89             411     MOTIH (AWAN) for Partial Return of Property &
                                     Accompanying Memorandwn.


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    07/27/89       412     MOTION (HASSAN) for a Bill of Particulars.

    07/28/89       413     ORDBR s/TGWilson Def ts Joint Motion & Memorandum for
                               Enforcement of Compliance with Court Order DENIED.

    07/28/89         414   STATBMEH'.r (AWAH) of No Conflict.

    07/28/89         415   JOINT MOTION (AWAH, HUSSAIN, _BILGRAM:I, HASSAN, BOWARD ·
                               & BCCI) to Dismiss Counts Nineteen through
                               twenty-five, twenty-seven through twenty-nine
                               & thirty-one through thirty-four for
                               multiplicity and for failure to state an offense.

    07/31/89         416    SUPPLEMENT to defts.' joint motion and memo. for pre-
                                trial James Hearing regarding admissibility of
                                co-conspirators' statements.(BILGRAMI,BOWARD,MORA)
    07/31/89         417    SUPPLBMBH'l' to defts.' joint motion, pursuant to 18,
,____    - - - - --· -- -- ----------USG- 8-3504(a-)+1)-,-to-identif..y-electJ;oniC-   Sw:.ll"'c'.o.=~-_._--t------ _ _ _ _
                                llance and affirm or deny the occurence of unlaw-
                                ful surveillance. (HASSAN)
    07/31/89         418    JOINT motion to dismiss counts 1 & 2 for duplicity.
                                (AWAN, HUSSAIN, BILGRAMI HASSAN, HOWARD, BARK
                                 BCCI OVERSEAS, BARK BCCI LIMITED)
    07/31/89         419    SUPPLBMBH'l' to deft. Hassan's motion for severance.

    08/01/89        420    MOTION (ARMBRECBT) to Adopt Motions filed in
                               Related Case & Motions, Replies & Supplements
                               of Co-Defendants & Incorporated Memo of Law.

    08/01/89        421    RBNBWED MOTION (HUSSAIN) for a Bill of Particulars
                               & Incorporated Memo of Law.

    08/01/89        422    SUPPLBMBNT to Joint Motion to Dismiss "Money Launderiug
                               Counts of the Indictment Because they and Section
                               1956 are Unconstitutionally vague & overboard.
                                (AWAH, HUSSAIN, BILGRAMI,HASSAH, BOWARD, BCCI)

     08/01/89       423    SUPPLBMBH'l' to Joint Motion to Dismiss "Money
                               Laundering Counts of the Indictment for Failure
                               to State Offenses. (AWAH, HUSSAIN, BILGRAMI,
                               HASSAN, BOWARD, DCCI)

     08/01/89       424    SUPPLBMBN'l' to Joint Motion to dismiss Counts One & Tw~
                               of the Indictment as Multiplicous. (AWAN, HUSSAIN,
                               BILGRAM:I, HASSAN, BOWARD BCCI)

    08/01/89        425    CERTIFICA'l'B of Service.

    08/01/89        426    RENBWBD JOINT MOTION for Limited Disclosures
                               of Grand Jury Transcripts & Incorporated Memo
                               of Law. (AWAN, HUSSAIN, BILGRAMI, BASSAH,BOWARD
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    08/01/89    427        JOINT MOTION to Permit Filing of Supplemental
                              Motion in Excess of Twenty Pages & Incorporated
                              Memo of Law. (AWAN, HOSSAIN, BILGRAMI, HASSAN,
                              BOWARD, DCCI)  (Seupplement to Joint Motion to
                              Dismiss Money Laundering Counts as Duplicitous &
                              for Lack of Jurisdiction & Venue.(Filed on left
                              side of Volume 14 until Order is entered as to
                              filing in excess of 20 pages)

    08/01/89     428       MOTION for Issuance of Subpoena Duces Tecum Pursuant
                              to rule 17(c). (AWAN,BOSSAIR, BILGRAMI, HASSAN,
                              BOWARD & DCCI)
     OB/01/89    429      MOTION for Leave to file Supplement (Motion to dismis1 )
                              in Excess of Twenty Pages. {AWAB, HUSSAIN, BI~~--- ,
                              HASSAN, BOWARD, DCCI) Joint Motion to Dismiss the
                              Indictment the Indictment because of Outrageous
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                              Volume 14 until order is entered.

    08/01/89     430        MOTION for Leave to File Supplement (Severance) in
                               Excess of Twenty Pages. (BILGRAMI, AKBAR)
                               Supplement to Deft Bilgrami's Motions for Severance
                               filed on left side of Volume 15 until order is
                               entered.

    08/01/89     431      MOTION (AWAH&BCCI) to Sever Offenses & Defts.
                          MOTION Joint & Memorandum for Enforcement of
     08/01/89    432
                              Compliance with Court order. (AWAB, HUSSAIN,
                              BILGRAMI, HASSAN; BOWARD & BQC)
                                                                                         ..
    b8/0l/89     433      MOTION (ASBRAP') to Dismiss the Second Superseding
                             Indictment for Vagueness of 18 use 1956 as applied
                             to Him.

     08/01/89    434       MOTION (ASHRAF) for Adoption of Defts Joint Motion
                              to Dismiss Counts One and Two for Duplicity and
                              to dismiss the Indictment Because of Outrageous
                              Govt Conduct.

     08/02/89     435      MOTION (ASRAP) for a Bill of Particulars.

     08/02/89     436      RENEWED MOTION (ASBRAP) for Severance &Transfer of
                              venue & supporting Memorandu.

     08/02/89     437      MOTION for Leave to file Supplemental Motion for
                              Brady & Rule 16 Discovery & Jencks Act Material
                              & Incorporated Memo of Law in Excess of the Page
                              Restrictions of Local Rule lO(C). (AWAN, BILGRAMI,
                              bassan, hussain, howard, bcci) Filed on left
                              side of folder # 15


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    08/07/89                      438        EMERGENCY MOTION (ARBRBCBT) for Forthwith Ruling on
                                                  Def ts Motions for Pre-Trial Release &Memo of
                                                  Law.

     8/7/89                       439            MOTION for continuance(ASHRAF)

    08/09/89                      440       JOINT MOTION for Reconsideration & Clarification
                                                 of August 1, 1989 Order. (AWAH, HUSSAIN,
                                                 BILGRAMI, HASSAN, BOWARD, BCCI)

 08/14/89                     441         ORDBR s/'l'GWilson Status conference will be conducted
                                              ON Friday, August 25, 1989 at 10:00 a.m. to
                                              confirm the information received & to discuss
                                              deadlines for making arrangements to eliminate
                                              the scheduling conflict. (ALL DBPTS)

    08/17/89                      442       MOTION (HASSAN) & Memorandum for Enforcement of
                                                Compliance with Court Order.
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    08/23/89                 443            MOTi:Dl!I (GOVT) for Extension of Time-In which to
                                                    File Answers to   Deft~·   Pretrial Motions.


    08/24/89                 444            MOTION (HASSAN) & Memorandum for Enforcement of
                                                Compliance with Court Order of April 7, 1989.

    08/28/89                445              ORDBR s/H'l'B Govt ordered to respond to motions submit ed
                                                 by Defts Armbrecht, Bilgrami, & Hussain
                                                 regarding modification of conditions of release.
                                                 ARMBRECBT, HUSSAIN, BILGRAMI)

    08/28/89                 446             ORDBR Govt ordered to respond to Defts pretrial
                                                 motions within 20 days from the date of this Orde-.
                                                    (ALL DBFTS)


    08/25/89                 447             ORDBR s/'l'GWilson Hearing scheduled for 09/01/89
                                                at 3:30 p.m. for the purpose of discussing the
                                                status of the Govt•s compliance with its
                                                discovery obligations in this case. (ALL DBPTS)

    08/25/89                448              PROCEEDINGS status Conference on Substitution of
                                                 Counsel. (ALL DEFTS)

    08/25/89                449              MOTION (BILGRAMI) to Modify Conditions of Release
                                                & Incorporated Memo.

    08/31/89                450              ANSWER to deft.•s motion for pretrial release by the
                                                 govt. (ARMBRECB'l')


     09/01/89               451                  SUPPLEMENT (HASSAN) to relief Request in Deft's
                                                   Notion for Enforcement of Compliance with Court
                                                   Order of April 7, 1989.


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 09/05/89        452      TRAHSCRIPT of Motion Hearing held 09-01-89 before
                              Mag. Wilson.

 09/05/89        453      REPORT (GOVT) Concerning Tapes to Be Enhanced.

 09/07/89        454      ORDER s/'l'GWilson regarding discovery material due
                              to Defts from Govt as stated in Deft Hassan's
                              Motion for Enforcement of Compliance with Court
                              Order of April 7, 1989. (Docs 444 and 451)

 09/08/89        455       PROCBBDIRGS of Status of Discovery hearing held
                              before Mag. Wilson. (ALL DBPTS)

 09/11/89        456       AHSWBR (GOVT) to Defts' Motion to Sever Offenses &
                              Defts and Attacking Counts One & Two for
                              Alleged Duplicity.

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                                  Amendment of Conditions of Release.

 09/11/89         458      RBSPONSB (GOV'l') to Deft Bilgrami's Motion for
                                  Amendment of Conditions of Release.

  09/11/89        459      NO'.rICB (GOVT) of Additional Concerning Tapes to be
                               Enchanced.

  09/13/89        460      HO'.rICB (GOVT) of Additional Discovery.

  09/13/89        461      AHSWBR (GOVT) to Defts' Renewed Joint Motion for
                               Limited Disclosure of Grand Jury Transcripts
                               and Incorporated Memo of Law.

 09/13/89       462        RBSPOHSB (GOVT) to Deft Hassan's Motions for Enforce-
                                   ment of Compliance with Court Order, Motions for
                                   Enforcement of compliance with Court order of
                                   April 7, 1989: Memorandum Correcting Deft
                                   Hassan's Motion & MEmorandum for Enforcement
                                   of Compliance with Court Order of April 7, 1989
                                   : Supplement of Relief Requested in Deft Hassan's
                                   Motion for Enforcement of Compliance with Court
                                   Order of April 7, 1989.

 09/13/89       463        ABSWBR (GOVT) to Supplement to Joint Motion to
                               Dismiss Money Laundering Counts for Vagueness
                               and Overbreadth.

  09/13/89      464        NOTICB (GOVT) of Additional Discovery (Substituted)
                               Draft Transcript List No. 20 - 09/12/89.

  09/13/89      465        MEMORANDUM (GOVT) Supplementing Govt•s Response to
                               Deft Bilgrami's & Deft Hussain's Motions for
                               Amendment of Conditions of Release.

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 09/13/89         466        RESPONSE (GOVT) to Joint Motion to dismiss Counts 19-
                                 25, 27-29 and 31-34 for Multiplicity & for
                                 Failure to state an offense.

 09/13/89         467        RESPONSE (GOVT) to deft Awan's Motion for Partial
                                 Return of Property.
 09/14/89         468        NOTICE of additional discovery by the govt.
 09/14/89         469        JOINT MOTION (MIAN, HUSSAIN, BILGRAMI, HASSAN, BOWARD.
                                 DCCI) To Suppress Post-Indictment, Pre-Arrest
                                 Evidence & Request for Hearing.

 09/14/89         470        JOINT MOTIONS (AWAN, BILGRAMI, HASSAN, BUSSAIN,BOWARD.
                                 & BCCI) & Memorandum for Permission to file a
                                 Motion & Memorandum Exceeding Twenty Pages.
                                 (Joint Motion to suppress Evidence Obtained in
                                 France & Switzerland)
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 09/14/89         471        ORDBR s/GCC Joint Motin to file a Motion & memorandum
                                 in excess of 20 pages GRANTED. (See Doc. 470)

 09/14/89         472        MOTION (AWAN) for Leave to File Motion in Excess of
                                 Twenty Pages. (Motion to suppress Post-Arrest
                                 Statement & Request for HEaring attached &
                                 Received on 09/14/89.)


 09/15/89         473        MOTION (BCCI)to Permit Filing of Motion & Memorandum
                                in Excess of Twenty Pages. (Motion to Suppress
                                Evidence Seized Pursuant to the Search Warrant
                                Executed at the Miami Offices of BCCI on 10/9/88)


  09/15/89        474        ORDBR s/GCC Motion to Permit Filing of Motion & Memo
                                in Excess of Twenty Pages. (Motion to Suppress
                                Evidence) GRANTED. (DCCI)

  09/15/89         475       MOTION (BCCI) to suppress Evidence Seized Pursuant
                                to the Search Warrant Executed at the Miami
                                Offices of BCCI on 10/09/88.

  09/15/89         476       MEMORANDUM (BCCI) of Points & Authorities in support
                                of Motino to suppress Evidence Seized Pursuant to
                                the Search warrant executed at the Miami Offices
                                of BCCI on 10/09/88.

  09/15/89         477       JOINT MOTION (AWAN, BOSSAIN, BILGRAMI, HASSAN, BOWARD
                                & DCCI) to suppress Evidence Obtained in France
                                & Switzerland & Request for Hearing.

  09/15/89         478       MOTION (BILGRAMI) for Leave to file a Reply to the
                                Govt's Response to Motion to Modify Conditions
                                of Release & REquest for Hearing on Modifying
                                - ,~...... - ~  , --- CResoonse attached)
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    09/15/89          479   JOUIT RO'l'XCB ( AWAR, ASBRAP 1 BOSSllH, BILGRAMI:, BASSAii,.
                               BOWARD & BCCI) that Outrageous Govt Conduct
                               Supplements Will not be Filed by September 17,
                               1989 due to the Govt's failure to complete
                               Discovery.

    09/15/89          480   JOJ:NT MOTIOB (AWAR, BOSSAJ:R, ASllRAP, BILGRAMJ:,. BASSA!,
                                BOWARD & BCCJ:) for Change of Venue & Incorporated
                                 Memorandum of Law.

    09/15/89          481   MOTJ:OH (BILGRAMI:)to Suppress Post-Arrest Statements,
                               & Incorporated Memo of Law.

    09/15/89          482   SUPPLBMBH'f (BILGRAMI) to Motion to Suppress Statements
                               Made Post-Indictment But Prior to Arrest.

 09/15/89     483  APPLICATI:OH for Special Admission -~aul M. Pilchen
---------------------with Co-Counsel Bennie Lazzara, Esq. (BILGRAMJ:)

    09/15/89          484   RBSPOBSB (GOVT) to Supplement to defts' Joint Motion
                               to Dimiss Indictment for Outrageous Govt Conduct.

    09/15/89          485   RBSPOBSB (GOVT) to Deft Armbrecht's Motion to Consolic-
                               ate Indictments in the alternative to Dismiss
                               Case No. 88-329-CR-T-13(A).

      09/15/89        486   RBSPOBSB (GOVT) to defts Hassan & Ashraf's Motions foJ
                               Bill of Particulars.

    09/15/89          487   RBSPORSB (GOVT) to Deft Ashraf's Motion for a Contin-
                               uance.

 09/15/89             488   RBSPOBSB (GOVT) to Deft's Motion for Issaunce of Sub-
                               poena Ducas Tecum Pursuant to Rule 17(e).

    09/15/89          489   RBSPOBSB (GOVT) to Defts' Joint Motion Pursuant to
                               18 USC Sec. 3504(a)(l) to Identify Electronic
                               Surevillance and Affirm or Deny the Occurrence
                               of Unlawful Surveillance.

    09/15/89          490   BO'l'J:CB (GOVT) of Additional Discovery.

 09/15/89             491   RBSPOHSB (GOVT) to Defts' Joint Motion for Reconsider·
                               ation & Clarification of 08/01/89 Order.

    09/15/89          492   RBSPONSB (GOVT) to Deft Hassan's Motion to Suppress
                               Property Seized from Hotel Room and Derivative
                               Evidence.

    09/15/89          493   RESPONSE (GOVT) to Deft's Supplemental Motion for
                               Brady & Rule 16 Discovery and Jencks Act Material.


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 09/15/89        494    RESOBSB (GOVT) to Defts• Supplement to Joint Motion
                              to dismiss Money Laundering Counts as Duplici-
                              tous and for Lack of jurisdiction & VEnue.

 09/15/89        495    ANSWER (GOVT) to defts• Supplement to Joint Motion
                              to Dismiss Counts one and two of the Indictment
                              ad Multiplicious.
 09/15/89        496    ANSWER (GOVT) to defts• Supplement to Joint Motions
                              to dismiss "Money Laundersing" Counts of the
                              Indictment for Failure to State Offenses.

 09/15/89        497    ANSWER (GOVT) to Bilgrami & Awan's Motion to Suppress
                              Evidence.

 09/19/89         498   RESPONSE (GOVT) to Deft Awan•s Motion to Withdraw
                             and/or Strike Attachment to Pleading.

_Q9/19/8_9        499   ANSWER (GOVT) to Deft Ashraf•s Motion to Dismiss
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                               Vagueness as Applied to him.

 09/18/89         500   AMENDED ANSWER (GOVT) to Bilgrami and Awan's Motion
                            to Suppress Evidence.

 09/18/89         501   MOTIOB (A11AN) to Withdraw and/or Strike Attachment
                            to Pleading.
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 09/18/89         502   MOTION (GOVT) for Leave to File Amended Answer to
                            Bilgrami & Awan's Motion to Suppress Evidence.

 09/18/89         503   APPEARANCE (BILGRAMI) of Saul M. Pilchen as        co-counse~.



 09/18/89         504   APPEARANCE BILGRAM.I) of Non-Resident Attorney &
                            Designation of Local Counsel - Saul M. Pilchen

 09/19/89        505    ORDER s/WTB Motion to Withdraw filed by deft Awan
                           on Motion to Suppress.GRANTED. Exhibit to be
                           returned to defense counsel.   (AWAN)

 09/20/89         506   JOINT RBQOEST (A11AN, ET AL) for leave to file reply
                           Memorandum in Support of Motion to Dismiss Counts
                           Nineteen through Twenty-Five, Twenty-Seven
                           through twenty-nine and thirty-one through thirty-
                           four for multiplicity & for failure to state an
                           offense. (Memorandum attached)

  09/22/89      507     CONSOLIDATED MOTION (AWAN, HUSSAIN, BILGRAMI, HASSAN,
                          BOWARD, BCCI) to Permit the Filing of Reply and
                          Reply to Govt•s Answer to Joint Motion to Dismiss
                          Money Laundering Counts for Vagueness and Over-
                          bread th and Incorp. Memo of Law.

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    09/22/89         508    JOIH'l MOTION (AWAR, BUSSAIR, BILGRAMI, BASSAR, BOWARD         ~
                                BCCI) to Strike Govt's Answer to defts' Renewed
                                Joint Motion for Limited Disclosure of Grand Jury
                                Transcripts & Incorporated Memo of Law.

     9/22/89         509     ORDBR(WTll) Appeal of Magistrate Order dated 6/19/89
                                  Deft file within 10 days a memo support his posit~on
                                  and govn to with withn 10 days of deft memo it's
                                  response with citation of legal authoritiex(AB:MBIRl!:cllri')

     9/22/89          510     ORDBR(w.rll) Motion for amendment of conditions of re-
                                 lease DENIED(HUSSAIH)

     9/22/89          511     ORDBR(1fl'll) Motion for amendment of conditions of
                                 release DENIED and Deft further motion to file a
                                 reply to Govn response is DENIED. (BILGRAMJ:)
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                                 memo. of law. (ASBRAP)
     9/27/89          513     CERTIFICATE of service. (ASBRAP)
     9/27/89          514     DECLARATION of Randall J. sunshine in support of
                                  deft.'s motion to change conditions of bail. (AS-
                                  HRAF)
     9/28/89          515     MOTION to adopt motions filed in related case and
                                  motions, replies and supplements of co-defts. and
                                  incorporated memo. of law. (MORA)

    09/28/89          516    JOINT MOTIOR (AWAN, ASHRAF, BUSSAIR, BILGRAIU, HASSAN
                                 BOWARD 6 BCCI) for REconsideration of Discovery
                                 Order & Request for a Hearing.

    10/02/89          517    ROTICB (GOVT) of Additional Discovery.
    10/03/89          518    MOTION to change conditions of bail and incorporated
                                 memo. of law.(ASBRAP)
    10/03/89          519    DECLARATION of John F. Lauro in support of deft.'s mo-
                                 tion to change conditions of bail. (ASBRAP)
    10/03/89          520    ANSWER to defts.' motion for change of venue and inco-
                                 rporated memo. of law by the govt. (DEPTS.)
    10/04/89          521    SUPPLEMENTAL memo. in support of motion for retrial
                                 release. (ARMBRBCBT)

     10/04/89        522    NOTICE (GOV'!') of Additional Discovery.

    10/03/89         523     MOTIOR (GOV'!') to Strike Deft Bilgrami's Reply to the
                               Govt's Response to Motion to Modify Conditions of
                               Release.



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        10/05/89              524          JOINT motion for a status conference addressing disc-
                                               overy problems. (AWAB, ASBRAP, BUSSAXN,BXLGRAM.I,
                                               BASSAN,BOWARD & BOTH BANKS)
        10/06/89              525          ORDBR(TW) MOTION TO CHANGE conditions of bail =
                                               granted, deft. permitted to travel(Doc. 518); Mo-
                                               tion to change conditions of bail(Doc. 512) = wi-
                                               thdrawn. (ASBRAP)


        10/06/89          526              M<>Tl:OR (HUSSAIN) for Extension of Time for Filing of
                                              Notice of APpeal.

        10/10/89          527              ORDER s/WTB Motion for Extension of Time for Filing
                                              Notice of Appeal GRANTED. to cob 10/10/89.(BUSSAIN)

        10/06/89          528              ORDER s/WTB Deft Ashraf's Motion for Continuance of
                                              trial is denied.
    ~--   -   ~-   -~-   --         --   ----   ------   ------------------   -------- --------                         --
        10/10/89              529          NO'l'XCB of Hearing set for October 26, 1989 at 4:30 p.m
                                                before Judge Hodges re: Govt's Motion to Retain
                                                Funds into Registry of the Court & BCCI's Motion
                                                for Order establishing escrow account.

        10/06/89              530          LB'l"TER   regarding change of address of Attorney              Terranc~
                                                  A. Bostic. (HUSSAIN)

        10/10/89              531          MO'l'XON (AWAN,ASBRAP,BOSSAIN, BXLGRAMJ:, KASSAB, BOWARD
                                                &BCCX) to Treat Defts' Motion for Issuance of
                                                Rule 17(c) Subpoenas as conceded.

*       09/29/89              532          NO'l'XCB OP APPEAL from D.C. Order Denying Motion for
                                                Amendment of conditions of Release entered on
                                                09/22/89. (BXLGRAMJ:, AKBAR) AIS given to Mr. Lazza~a
                                                same day. APPEAL NO. 89-3861
        10/10/89              533          NO'l'XCB OP APPEAL from D.C. Order Denying Defts Motion
                                                for Amendment of Conditions of Release entered
                                                09/22/89. (HUSSAIN, SYED) AIS sent to Mr. Bostic
                                                this same date.   APPEAL NO. 89-3862

     10/10/89                 534           RESPONSE (GOVT) to Defts' Jofnt Motion to Dismiss Courts
                                               3 through 16 of the Indictment for Failure to State
                                               Offenses and Incorporate Memo of Law.
        10/11/89          535                   'l'RANSMX'l'TAL SBBBT forwarding appeal package to 11th
                                                     Circ. BXLGRAMJ:, BOSSAIN)

*    10/06/89            536                    MO'l'XON (ASBRAP) to Consider ORder of October 5, 1989.

        10/06/89         537                    ORDER s/'l'GWilson Deft Ashraf's Motin to Change
                                                   Conditions of Bail GRANTED and deft permitted to
                                                   travel throughout California & Nevada during the
                                                   months of October, November, & December.

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                Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 50 of 101 PageID 64
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UNITED STATES DISTRICT COURT                                                               MAfERIA lflLED S£PAiV\fEL~ I .
CRIMINAL DOCKET ~ U. S. vs                                                                         ~ 88-330-ca-T-'j)t(s)
                                  AWAH, AMJAD, et a1.                                                       Yr.       Docket No.         Def.
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                                            PROCEEDINGS (continued)                                       V. EXCLUDABLE DELAY
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    10/13/89           538    HOTICB (GOVT) of Additional Discovery.

    10/13/89           539    MOTION (GOVT) for Extension of Time to File Govt•s
                                 Response to Deft's Supplemental Memorandum in
                                 Support of Motion for Pretrial Release.

 10/13/89              540    ORDER s/GCC Motion for Extension of Time GRANTED
                                 Govt shall file its response within 5 days of this
                                 Order. (ARMBRECHT, Rudelph)


    10/17/89          541     DBCLARATIOR (.AWAN) of Randall J. Sunshine.

    10/17/89          542     RBSPONSB (GOVT} to Deft Armbrecht's Supplemental
                                 Memorandwn in Support of Motion for Pretrial
                                 Release.
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~   10/f9/89 - "543- -- NOTicB(AWAH) Of Filing of attachments to Awan' s
                          Motin to Suppress filed 09-14-89.

     10/23/89         544    ANSWER by Govn to Awan and Bilgraml Memo in support of
                               Motion to suppress post-arrest statements & request for
                               hearing

    10/19/89          545     NOTICE (GOVT) of Additional Discovery.


 10/25/89             546    JOINT MOTION (AWAH, ASllRAP, BUSSAIH, BILGRAMI, HASSAN
                                & BCCI) for Immediate Inspection of Original
                                Audiotapes.

     10/26/89         547    RBSPOHSB (GOVT) to Defts Joint Motions for (1) Status
                               Conference, (2) Reconsideration of Discovery Order,
                               and (3) Immediate Inspectionof oroginal Audio Tapes,
                               & Govt•s Motion for Pretrial Conference Under Rule
                               17 .1.

    10/26/89          548    PROCBBDINGS on Motion to transfer money in registry
                                 bofore WTH on 10/26/89.

    10/27/89          549    ORDER s/W'l'H Regarding Hearing held as to Motion to
                                  Retain funds in Registry of Court. (DCCI)

    10/27/89          550    HOTICB (GOVT) of Additional Discovery.

    11/02/89          551    HOTICB (GOVT) of Additional Discovery.

    11/06/89          552    LB'l'TBR from Martha P. Rogers to AUSA Mark Jackowski
                                  regarding Governments Response to Def ts Joint
                                  Motions.


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              Case 8:88-cr-00330-RAL Document1. AMJAD
                                             1362      AWAN,
                                                   Filed     et al.Page 51 of 101 PageID
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UNITED      STATES DISTRICT COURT
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CRIMINAL DOCKET
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        DATE                                                   PROCEEDINGS (continued)                                                         V. EXCLUDABLE OELA'1
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  11/09/89                    553      ORDBR s/'l'GWilson Hearing set for 11/17/89 at 11:00 a.n
                                          to setting a scheduled for establishing a final
                                          version of the transcripts. (ALL DBFTS)

   11/09/89                  554         SUPPLBMBHTAL RBSPONSB (GOV'!') to defts Motion for
                                           Issuance of Rule 17(c) Subpoenas.

   11/13/89                  555         ORDBR s/WTB Court agrees with the MagistFate
                                            that the better approach is to require the Deft ~o
                                            first seek release in the earlier filled case.
                                            Accordingly Order of the Magistrate dtd 06-19-89
                                            is Affirmed. (RUDOLPH ARMBRECB'l'()

   11/14/89                  556         NO'l'ICB (BCCI) of Compliance.

   11/15/89                  557        ORDBR s/'l'GWilson Various Pretrial motions filed by
                                           All defts.
· -1-1/1~5:::·;-=-s=-9·-----t--5=-5-s-=---o".:".RD=--BR--s-/'l'GW--i~l~s-o_n_D_effB' Mollo""'n;;;-cfco""'r~IT'Cs=-s=u~a=n=c=e=-o=f_,S""'u~b.,,...-- 1 - - - - 1 - - - - - - - ~-~
                                               poena Deces Tecum DENIED.

   11/16/89                  559        MOTION by Deft for Amendment of conditions of Release
                                               (AWAN)

   11/16/89                  560         HO'l'ICB BY Govt of Designation of Transcripts of Tape
                                             Recordings (ALL)

   11/16/89                  561        NO'l'ICB by Govt of Additional Discovery (ALL)

   11/17/89                  562         PROCBBDINGS of Hearing to Set Final Version: of
                                             Transcripts held before TGWilson. (ALL DEFTS)

   11/17/89                  563         PRBBEARING MBMRAONDOM (BCCI) Regarding Production of
                                             Tape Transcripts.

   11/20/89                  564         ORDBR s/WTll Govt ordered to file responses to
                                             several motions filed by various defts within
                                             10 days. Deft Bilgrami's motion to file a
                                             supplement to this earlier motion for severance i~
                                             excess of 20 pages GRANTED. Deft Awan's motion
                                             to file a motion to suppress in excess of 20 page
                                             GRANTED.

    11/20/89                  565        MO'l'ION (AWAN) for Amendment of conditions Of Release

    11/20/89                  566        TRANSCRIPT of Pretrial Hearing held 11/17/89 before
                                             Mag. Wilson. (ALL DBFTS)

    11/21/89                   567        RBSPOHSB (GOV'!') to Deft Bilgrami's Motion to Permit
                                             Counsel to Participate in Voir Dire Examination.



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                Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 52 of 101 PageID 66
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UNITED STATES DISTRICT COURT                                                                       r ... ':   ;'!   ,,! c: r; ~D sc:l:\;~,\TELY
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 11/21/89         568       NOTICE {GOVT) of Additional Discovery.

 11/21/89         569       RESPONSE (GOVT) to deft Ashraf's Motion and Defts'
                                Joint Motion for Pretrial Determiantion of
                                Admissibility of Co-conspirators' Hearsay State-
                                ments.

 11/22/89          570       NOTICE by Govn of additional Discovery dated 11/22/89

 11/22/89          571       OBJECTION to and appeal from renewed Motion for Bill                                   o~
                                 Particulars(BUSSAIN)

 11/22/89          572       OBJECTIONS to and appeal from Magistrate recommendatio1
                                 to deny them limited access to Grand Jury TranscriJts
                                 CAWAN,BUSSAIH,BILGRAMI,BASSAN,BOWARD BCCI,BCCI)

 11/22/89           573      ORDBR('MTB) setting status conference at 3:00 pm,
                  ______ .Oecemb~lZ.,-l..989(ALL)-----·-·                    ···-----------._____-~- ------~---                                      -------


 11/22/89           574      NOTICE of Appeal{AWAN,BILGHAIU,BASSAR,BUSSAIH,BOWARD,
                                 DCCI INT'L,BCCI OVERSEAS)

 11/27/89           575      LB'!TBR     from M.P.Rogers to AUSA Jackowski 11/21/89

 11/27/89           576      MOTION for use of proposed Jury questionnaire(BUSSAIR)

 11/27/89           577      MEMO in support of Proposed Questionnaire(BUSSAIN)

     11/20/89       578      NOTICE OP APPEAL filed.  (RUDOLPH ARMBRECBT) Appeal
                                 from the order dated 11/13/89 denying him bond.
                                 Appeal fee paid 11/20/89. AIS forwarded to
                                 counsel on 11/29/89.

 11/28/89           579      ORDER s/TGWilson regarding the differences concerning
                                 the transcripts of recorded conversations.
                                     (ALL DBP'l'S)

 11/29/89           580       NOTICE (GOVT) of Additional Discovery.

     11/29/89       581       RESPONSE     (GOVT~    to Ntoice of Compliance.

 11/30/89          582        TRAHSMI'l'TAL SBBBT forwarding complete appeal package
                                on appeal filed by Rudolph Armbrecht on 11/20/89.
                                Docket entries forwarded were 578, 555, 542, 540,
                                539, 521, 509, 450, 445, 438, 405, 401, 397, 391,
                                390, 389 and 388, plus a copy of the entire docket
                                sheet. APPEAL NO.                  •   (ARMBRBCIR)

     11/30/89      583       ORDBR Motion for bail is DENIED for Deft AKBAR BIT___ -
                                Entered on 11/28/89 by Circuit Judges. mfflm 9'7 t fl! 7:f

     11/30/89      584       ORDER Motion to Modify Conditions of Release is DENIEb.
                                Entered on 11/28/89 by Circuit Judges. (A.
                                                                        ·- BILGRAMI)- ~
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         AO 256A
/                                           PROCEEDINGS (continued)                                  V. EXCLUDABLE DELAY
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    11/30/89       585    ORDER Motion for Release Pending Trial is DENIED.
                             Entered 11/28/89 by Cirucit Judges. (S. A. HUSSAIN)
                             n1 f:,T;n 97, .P.t/'41 •
     11/30/89      586    ANSWER to BCCI'S motion to suppress documents and re-
                              cords obtained by the U.S. pursuant to execution
                              of restraining order by the govt.
    11/30/89       587    RESPONSE to defts.' motion to suppress evidence seized
                              pursuant to the search warrant executed at the Mia-
                              mi offices of Bank of Credit & Commerce Intl. on
                              10/9/89 by the govt.
    11/30/89       588    RBSPONSB to deft. Hussain's objections to order denying
                              access to grand jury transcripts by the govt.
    11/30/89       589    RBSPONSB to deft. Ashraf's renewed motion for severance
                              by the govt.
    11/30/89               590 RBSPONSB to deft. Hussain's appeal from order denying
- --·-    --- -·. - -- -- --· - ·---------_- -renewed motTonfor bfflof particu!ars-oy the govt. - - - - - ----· ,_____ - -

     11/20/89      591    NOTICE (GOVT) of Partial Modification of Designation of
                             Transcripts of Tape Recordings.

     11/30/89      592    RESPONSE (GOVT) to (1) Deft Bilgrami's Motion to Suppre1 s
                             or, in the Atlernative, Dismiss the Indictment
                             (Docket# 240); (2) Deft Bilgrami's Supplement to
                             Motion to Suppress Statements Made Post-Indictment
                             but Prior to Arrest (Docket# 482 and (3) Deft's Joi1t
                             Motion to Suppress Post-Indictment, Pre-Arrest
                             Evidence.

     11/30/89      593    MOTION (GOVT) of Partial Relief from court;s Order of
                             11/28/89, Concerning Exhibit Lists.

     11/30/89       594   ANSWER (GOVT) to Defts' Joint Motion to Suppress Eviden1 e
                             Obtained in France and Switzerland and Request for
                             Hearing and Motion of Defts BCCI to Suppress
                             Evidence Obtained in Paris, france.

     11/30/89       595   JOINT MOTION (AWAN, ASBRAP, HUSSAIN, BILGRAMI,BASSAN,
                             BOWARD, BCCI) for Extension of Time within which
                             to File Non-Binding Exhibit Lists.

     11/30/89       596   JOINT MOTION (AWAB, ASBRAP, HUSSAIN, BILGRAMI, HASSAN,
                             BOWARD, BCCI) for Brief Extension of Time within
                             which to file Tape Transcript Designations.

     11/30/89       597   JOINT NOTICE (AWAN, ASBRAP, HUSSAIN, BILGRAIMI, HASSAN,
                             BOWARD, BCCI) Regardin g Review of Govt Tape
                             Transcripts •

     .:2/01/89     598ORDER s/WTB Deft Awan's !>loti·:m for Amendment of Conditicns
                         of Release GRANTED. Deft given leave to travel under
    '-~~~~--'1...-~~~__..~he escort of 1 pnljce offjcer to meet wjth attorneyd.
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12/04/89                   599    NOTICE {GOVT) of Additional Discovery.

  12/05/89                 600    ORDER s/W'.fB Deft Rudolph Armbrecht's Motion to
                                     consolidate or in the alternative to dismiss
                                     case no. 88-329-CR-T-13 DENIED.

  12/05/89                 601    ORDER s/WTll BCCI's motion to dismiss the indictment
                                      and request for oral argument are DENIED.

  12/05/89                 602
                      ORDER s/WTH Deft Ashraf's Motion for Waiver of Local
                          Counsel Requirement is GRANTED. Deft Ashraf's
                          Motion for a Pre-Trial James hrg and request for
                          oral argument DENIED. Defts Joint motion for
                          ADOPTION (doc. 184) is GRANTED. Defts' Joint
                          Motion for a pretrial james hrg & request for
                          oral argument is DENIED. # 187, 192 & 418.
                          Def ts' Joint motion for appointll!!.J'.!..Lq~___1!9gi_ti_Qnal ___ --- ---- ->----                           --
- - - - - - - - ------    or alternate court-reporter # 221 DENIED.
                          Deft Ashraf's motion for adoption # 224 is GRANTEI •
                          Deft Hussain's Motion to permit the filing of
                          reply pleadings to all Govt responses DENIED.#301
                          Deft Armbrecht's Motion to Adopt # 420 GRANTED.
                          Govt's motion for leave to file an amended
                          answer to the motion to suppress filed by defts
                          Bilgrami and Awan is GRANTED # 502. Deft Bussain'1
                          Motion for use of proposed jury questionnaire
                          # 576 is DENIED. Plus several other motions that
                          will be carried over to trial for final ruling.

   12/05/89                603    ORDBR. s/WTB Deft Ashraf's Motion to Dismiss and
                                      Request for oral argument are DENIED.

  72/05/89                 601/   ORDER $/WTH Defts' Joint Motion to Dismiss the second
                                    superseding indictment considered by this court in this
                                    order are DENIED. Defts remaining joint motion is to
                                    dismiss Counts 1 & 2 for duplicity on the ground that
                                    those counts improperly charge at least ttiree separate
                                    and distinct conspiracies. The motion is DENIED
                                    without prejudice to renewal at the close of the trial.

  T2/05/89                 605    ORDER SJWTH Counsel for respective defts are directed to
                                    prepare and have available at the status hearing set
                                    for 72/12/89 at 3:00 pm an inventory of all motions
                                    previously made by each such deft which have not been
                                    been disposed of or specifically acknowledged by prior
                                    Order reserving ruling and carrying such motions for
                                    determination at trial.

  72/05/89                 606    ORDER SJWTH Governing Proceedings at Trial. (ALL           DEFT~       J

   12/06/89                607    NOTICE (MORA, GONZALO,         JR)   of Designation of   Transcri~ts
                                     of Tape·Recordings.
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        12/04/89        608       LETTER from Peter George to AUSA Jackowski regarding
                                       Trial Stipulations.

        12/07/89        609       LETTER    from Martha P. Rogers to AUSA Jackowsk                          regarding
                                        telephone conversations.

        12/07/89        610       ORDBRS?W'l'H Motion for Partial Relief from Cou 's ORder
                                       of 11/28/89 Concerning Exhibit Lists GRA TED.

        12/07/89        611       JOINT RBQUBST for Leave to File Reply Memorandum in
                                       Support of Motion to Suppress Evidence Obtained in
                                       France and Switzerland & Request for Hearing.

        12/08/89        612       NOTICE (AWAN, ASHRAF, HUSSAIN, BILGRAMI, HASSAN, BOWARD,
                                       DCCI) of Joint Defense Designation of Tape Recording1.

        12/08/89        613       NOTICE (GOVT) of Additional discovery.
     ,__   ___ -·----   -   ----------------------------------
                                  ORDER s/W'l'll Govt directed to file affidavits within 10-d lYS___                               - - - - - - ----
        12/11/89        614
                                       as to Joint motion to suppress obtained in FRance
                                       & Switzerland.

        12/11/89        615       MOTIOH (BILGRAIU) for Production of Subpoenaed Documents
                                       Pursuant to Rule 17(c) and for In camera Presentatio~
                                       & Hearing.


t       12/08/89        616       ORDER s/WTB Motion for Leave to file a reply is GRANTED
                                       defts are directed to file w/in 10 days of service oF
                                       the Govt's affidavits a legal memorandum not to
                                       exceed 10 pages and any opposing affidavits.


        12/12/89            617    MOTION (DCCI) to Require the Govt to Produce More Detail• d
                                       Identification of Documents on its Exhibit List.

        12/12/89            618 MOTIOH (GOVT) for Order with Respect to Introduction in
                                     Evidence of Matters Arguably Subject to Attorney-
                                     Client Privilege and for Return of Exhibit Previous!,
                                     Filed.

        12/11/89            619    PROCEEDINGS of Status Conference before Judge Hodges.
                                      Seating requirements 6 for Govt 28 for Defts.
                                      Deft Mora requires interpreter.
                                      Motion to Suppress requires evidentiary hrg.
                                      Govt to submit to court a summary of the indictment
                                      by 01/05/90. Deft to respond by 01/16/90.

        12/12/89            620    MOTION (GOV'l') for Clarification.

        12/13/89            621    PTITION (ARMBRBCBT) for Writ of Habeas Corpus
                                      TRANSFERRED to the us.D.C. for the Middle District
                                      of Florida. Petition for Writ of Mandamus is carried
                                      with the Case. Parties to file status reports w/in 1• da>'s •
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                  Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 56 of 101 PageID 70
UNITED STATES DISTRICT COURT                                                          SfAl[~ND/OR IN CAMfRA
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                               u. s.   v. AMJAD AWAH, et al.                                                               ~I
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/'     DATE                                 PROCEEDINGS {continued)                              V. EXCLUDABLE DELAY


 12/13/89             622    ORDER s/W'l'B Deft Hassna' Motion to Suppress Personal
                                 Property Seized is DENIED.

 12/13/89             623    ORDER s/W'l'B case is called on January 16, 1990 at
                                 9:00 a.m. to conduct hearings. Jury Selection
                                 will begin January 18, 1990 at 9:00 a.m.
 12/13/89             624    ORDER s/W'l'B Clerk of Court is to deliver $14,816,71! .18
                                 to the Barnett Bank in Jacksonville for purchase
                                 of a 90 day Certificate of deposit.

     12/15/89         625     NOTICB   (GOVT)   of Additional   Discove~y.


     12/15/89         626     ORDER s/TGWilson Brq scheduled for 01/03/90 at 9:30 < .m
                                  for the purpose of resolving appropriate time
                                  for playing the various tapes and portions
                                  designated by defts during trial.

 12/15/89-        -627~     - -ROTJ:CB-(JOIHT>--ot- objections-to- -ea -Gc>vt~TranscriiifS      -
                                  as Required by Court's 11/128/89 Order.

     12/15/89         628     NOTICE (JOINT) of Disclosure of Classified Informati1•n.

 12/15/89             629     JO:nr! ADDITIOHA HOTICB ( AWAR, ASBRAP', HUSSAIN, BIT - '· ,
                                  BASSAR, BOWARD, BCCI) of Designated Telephone Ta1~es.

     12/15/89         630     MOTION (GOVT) for an order Allowing the Govt
                                  Reciprocal Discovery & Memo in Support.

     12/15/89         631     TRANSCRIPT of Status Conference before Judge Hodges
                                  and Judge Wilson held 12/12/89.

     12/15/89         632     MOTION (HUSSAIN) for Release of Jury Panel List and
                                  Incorporated Memo in Support.

     12/19/89         633     ORDER s/'l'GWilson Joint Motion for Extension of
                                 time within which to file non-binding Exhibit Lis~
                                 is hereby Moot.     Order of 11/28/89 is moedified
                                 regarding govt's exhibit list.

     12/20/89         634    RESPONSE (GOV'l') to Deft Bilgrami's Motin for Producti~n
                                 of subpoenaed Documents Pusuant to Rule 17(c) and
                                 for in Camera Presenation and Hearing.

     12/21/89         635    NOTICB (JOINT) of Errata on Joint Notice of Objections.

     12/21/89         636    MOTION (HASSAN, HUSSAIN, ASBRAP) & MEmorandum for
                                 Enforcement of the Court's 11/14/89 ORder.

     12/21/89         637    MOTION (GOVT) for Summons Upon Indictment.

     12/21/89         638    HBMO.RANDUM (GOVT) in Support of Motion for Sununons
                                 Upon Indictment with Exhibits (Exhibits filed
                                  ~- aonarat folder)
                                                                                            Interval      Start Date   Ltr. Total
                                                                                     (per Section Ill       End Date   Code Oavs
         Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 57 of 101 PageID 71
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UNITED STATES DISTRICT COURT                                               Ml\TERl1\LS Fii.ED ~E '. '.'                                 1


CRIMINAL DOCKET
                                    U. S.       v. AMJAD AWAN, BT AL.                                                          88-330-CB
        AO 256A
r     DATE                                                    PROCEEDINGS (continued)   V. EXCLUOABLE DELAY
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    12/22/89      639        MOTION (AWAH) for Production of Evidence Pursuant to
                                Brady v. Maryland and Incorp. memo of law.

    12/22/89      640        MOTION (JOINT) in Limine to exclude Evidence REgarding
                                (a) General Manuel A. Noriega and (b) Steven Kalish an
                                Jaime Weisner.

    12/22/89      641        MEMORANDUM (JOINT) in Support of Motin in Limine to
                                Exclude Evidence regarding (a) General Noriega and
                                (b) Steven Kalish and Jaime Weisner.

    12/22/89      642        BMBRGBHCY MOTION (HUSSAIN) for Inunediate Release of Jury
                                    Panel List and Memo of Law.

    12/21/89      643        NOTICE (GOVT) of Filing Exhibits.

    12/22/89      644        NOTICE (GOVT) of ADditional discovery.
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    12/22/89      645        ORDER s/TGWi1son re: Deft Bilgrami-, Motion for -:ProductTc n
                                  of subpoenaed Documents Prusuant to Rule 17(c) for
                                  and for in camera presentation & Hrg. Deft ordered
                                  to file a reply memo to govt's request to examine
                                  documents produced by subpoenas.

    12/22/89      646        NOTICE (MORA) of Appearance - Virginia Lee Stanley for
                                  Gonzalo Mora.
    12/27/89      647        LB'l'TER from martha P. Rogers to AUSA Jackowski re:
                                      recordings of telephone converdations in Switzerland,

     12/27/89     648        ORDER s/WTB Clerk of Court is relieved of the directive
                                  in the court's orde rof 12.12.89. Clerk to deliver
                                  the amoyunt of $14,816,719.18 to NCNB Bank of
                                  Florida Tampa Florida. (BCCI)

    12/27/89       649        REPLY (BILGRAMX) to Govt's Response to Deft Bilgrami's
                                      Motion for Production of subpoenaed Documents
                                      Pursuant to Rull 17(c) and for In Camera Presentatior
                                      and Haring.

    12/27/89       650        JOINT EMERGENCY MOTION (Awan, Hussain, Bi1grami, Hassan,
                                  Boward, BCCi) to Preclude Filing of Affidavits or
                                  Testimony or in the Alternative, to STrike affidavite
                                  and Preclude TEstimony in Support of Govt's Answer
                                  to Defts' Joint Motion to Suppress Evidence
                                  Obtained in France and Switzerland.

    12/28/89       .651 HOTICB (GOVT) of Filing Exhibits.

    12/28/89       652 NOTICE (GOVT) of Filing of Certain Affidavits.




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                          U. S. v. AWAN, et al.                                                                 ~ aa-lJO-CR-T-
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r     DATE                                   PROCEEDINGS (continued)                                             V. EXCLUDABLE DELAY
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12/28/89           653     RESPONSE (GOVT) to deft's Motion to Require the
                              Govt to Produce More Detailed Identification of
                              Documents on its Exhibit List.

12/29/89           654   JOINT response to govt.'s motion for "Clarification"

1/2/89             655   MEMO in support of Joint BCCI Request that designated
                             tapes be played during Govn Case-in Chief under FRevid 106

1/2/90             656    LB'l'TBll   to Mr. Schmitz from John Hume dated 12/28/89

1/2/90             657    RESPONSE to Govn Motion for disclosure of Attorney-=
                             Client Privileged materials(BILGRAMI)

1/2/90             658    RESPONSE to deft. Hussain's motions for release of
                              jury panel list by the govt.
1/2/90             659     PARTIAL amended designations by the govt.(Tapes/Tra-
                               nscripts)
-172;9·0- ---- .   660     P.R.E. 106 submissions by the govt.

 1/2/90            661     NOTICE of compliance with Magistrate's order of Nov.
                               14, 1989 by the govt.

    01/03/90       662     PROCEEDINGS of Tape Designation before MAg. Wilson.
                              (ALL DEP'l')

    01/03/90       663     ORDER s/WTB Govt filed amotion to have returned to
                             the Court file for use at trial a document referred
                             to as "the Awan'Bilgrami" memorandum. The court
                             finds that in all fairness to the parties, the
                             Govt cannot now be heard to argue that the
                             document should be returned to it because at the tjme
                             of its consent it may have held an erroneous view
                             concerning the application and scope of the
                             attorney-client privilege.

    01/04/90       664      OPPOSITION (AWAN) to Govt's Motion for ORder with
                              respect to introduction in evidence of matters
                              subject to Attorney-client provilege and for
                              return of exhibit previously filed.


    01/03/90       665     JOINT MOTION (DCCI, SA/DCCI LTD)for Extension of
                             Time or in the Alternative, Waiver of Court's
                             Order.

    01/03/90       666     JOINT MOTION (WANA, BILGRAMI, HASSAN, HUSSAIN, BOWARD•
                             ASBRAP, DCCI, SA & DCCI LTD) to Compel.

    01/03/90       667     JOINT RESPONSE (AWAN, BILGRAMI, HASSAN, HUSSAIN, BOWARD,
                             ASBRAP, DCCI BOTH) to Govt's Motion for an Order
                             Allowing the Govt Reciprocal Discovery.


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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
         AO 256A
r      DATE                                               PROCEEDINGS         (continued)                                            V. EXCLUDABLE DELAY
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    01/04/90             668          MOTION (GOVT) to Quash Subpoenas.

    01/04/90              669         TRANSCRIPT of designation of transcript of tape
                                         recordings hearing held 01/03/90 before Judge
                                         Wilson.

    01/04/90             670          MOTION (HOSSAIN) to Sequester Govt Witnesses and
                                         Memo of Law in Support.

    01/04/90             671          MOTION (HOSSAIN) in Limine to Permit References to
                                         Guideline Sentences in Opening Statements and Closing
                                         Arguments and Incorporated Memo of Law.

    01/04/90             672          MOTION (HOSSAIN) in Limine to Bar Mis-Use of Tape
                                         Transcripts or in the atlernative Motion to
                                         Permit Defense Counsel to Utilize trial Transcripts
                                         & Memo of Law.

    01/04/90             673          MOTION (HOSSAIN) in Limine to E~clude References to
                                         Pleas of Co-Defts & MEmo of Law.

    01/04/90              674         CERTIPICA'l'B (HOSSAIN) of Service.

    01/05/90            675           ORDER s/'l'GWilson Motion for Production of Subpoenae1
                                         Documents Prusuant to Rule 17(C) & for In Camera
                                         Presentation of Hearing filed by Deft Bilgrami
                                         GRANTED, Clerk to issue subpoenas, in all respectJ
                                         motion DENIED. Motion to Require the Govt to
                                         Produce More Detailed Identification of Documents
                                         on its Exhibit List is GRANTED to the extent
                                         indicated herein. In all respects DENIED. (DCCI)
                                         Govt's Motion for an Order Allowing Govt Reciproc 1
                                         Discovery GRANTED & defts shall provide the Govt
                                         within 10 days, any material discoverable pursuan
                                         to Rule 16{b).   Motion for Enforcement of the
                                         Court's 11/14/89 Order is DENIED as Moot (&assn,
                                         Ashraf) Motion for Production of Evidence Pursuan
                                         to Brady v. Maryland is GRANTED. (AWAR)

    01/05/90                676       ORDER s/'l'GWi1son Named Govt agencies & departments
                                         are excused from taking any steps necessary to
                                         comply with the subpoenas until the Court renders
                                         a ruling on the Govts motion to Quash Subpoenas.

    01/05/90                  677     NOTICE (GOVT) of Filing of Summary of Indictment.

    01/09/90                  678     MOTION (HOSSAIN) for Extension of Time.

    01/09/90                  679     JOINT MOTION (AWAH, BILGR.AMI:, HASSAN, HOSSAIN, BOWAR~,
                                         ASHRAF, BCCI) for Evidentiary Hearing on Defts
                                         Motion to Dismiss for Outrageous Govt Conduct.


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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET          ~ U. S. vs                                                                                        ~ f.
                                                                                                          88-330-cR-~).ltj(B)
                              u. s.   v. AMJAD AHAB, et al.
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         DATE                                PROCEEDINGS (continued)                                V. EXCLUDABLE DELAY
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 01/09/90          680        JO.INT MOT.ION (AWA&, BILGRAMI, KASSAB, BUSSA.IR, HOWARD,
                                  ASBRAP, DCCI) to Declare the Federal Sentencing
                                  Guidelines Inapplicable to this Case.

 01/09/90          681        JOINT MOTION (AWAN, B.ILGRAMI, HASSAN, BUSS.AJ:H, BOWARD
                                 ASBRAP, DCCI) for Reconsideration.

 01/09/90          682        RERBWD MOT.IOB (DCC.I) for Immediate     R~turn   of Property
                                 Seized by the US.

 01/09/90          683        HO'l'.ICB (ARMBRBCBT) of Possible unavailability of Counsel.

  01/10/90 684                 JOINT NOTICE (AWAN, HUSSAIN, BILGRAMI, HSSAN,
                                  HOWARD, ASHRAF, BCCI) of Filing of Object~
                                  ions to Remaining Govt Transcripts.

01/10/90             685       JOINT MOTION (AWAN, HUSSAIN, BILGRAMI, HASSAli,
--   -    ------   -- --
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                                   to a Person in a Foreign Country.
01/04/90           686        ORDER s/TGWilson Motion for Protective Order
                                 In camera is GRANTED and the Govt may
                                 withhold from disclosure the transcripts
                                 ~ubmitted'for in camera review.

01/10/90           687        ORDER s/TGWilson Deft Hussain's Motion for
                                 Release of Jury Panel List and Deft
                                 Hussain's Emergency Motion for Immediate
                                 Releas of Jury Panel List is dENIED.

01/11/90           688        ORDER s/Johnson, Hatchett & Edmondson Order
                                 of the District Court denying Armbrecht's
                                 Motion for Pretrial Release is AFFIRMED.

01/11/90             689      MOTION (STEVEN        M. KALISH) to Quash          Subpoena~

01/11/90             690      MEMORANDUM (STEVEN M. KALISH) of Points &
                                 Authorities in Support of Motion to
                                 Quash Subpoena.               ·

01/11/90             691      CONSOLIDATED OBJECTIONS (ARMBRECHT) To and
                                 Appeal from Magistrate's Order of 01/03/9)
                                 and Motion to Disclose Transcripts and
                                 Pleadings Filed Ex Parte and in camera
                                 & Incorporated Memo of Law.
01/11/90             692      MOTION' (HUSSAIN)for Disclosure of Jury
                                 Summonses and Questionaires.

01/11/90             693      MOTION (MORA)for Permission to Use Tape
                                 Recorder and for Relaxation of Dress
                                 Code.

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r     DATE                          PROCEEDINGS (continued)                           V. EXCLUDABLE DELAY
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 1/11/90          694   MOTION requesting a Pretrial hearing on admisi ib lity o
                             of the Govn evidence involving Noriega,~ lii,h
                             & weisner(BILGRAMI)

 1/11/90          695    MEMO in support of Motion requesting pre-tri. 1
                           hearing on admissibility of govn evidence
                           w/appendix filed in separate folder

 01/12/90         696    EMERGENCY OBJECTIONS (HUSSAIN) to and Appeal
                           from Order Denying Unopposed Motion for
                           Release of Jury Panel List to Assure
                           Compliance with 26 USC 6103(b)(5).

 01/12/90         697    MOTION (GOVT) TO QUASH SUBPOENAS ISSUED
                            to f lorida National Bank, Financial
                            Consulting, Inc., Russo Securities John
                           Tribiano, Eric Wellman and Amity Federal
                        ___ Sa_yi_ng.$ •_____
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    01/12/90 698         MOTION (BILGRAMI) for Severance or      Alternativ~ly
                           for Exclusion of Evidence or For      Continuanc~.

    01/12/90 699         JOINT (AWAN, HUSSAIN, BILGRAMI, HASSAN, BOWAR>,
                           ASHRAF, BCCI) Trial Brief.

    01/12/90 700         PROPOSED (BILGRAMI) Voir Dire Questions.

    01/12/90 701         JOINT (AWAN, HUSSAIN, BILGRAMI, HASSAN, HOWARl,
                            BCCI) Reply Memorandum in Support of
                            Motion to Suppress Evidence Obtained in
                            France & Switzerland.

    01/12/90 702         ORDER s/TGWilson Govt's Motion to Quash
                           Subpoenas Issued to Florida National Bank,
                           Financial Consulting, Inc., Russo Securitie;
                           John Tribiano, Eric Wellman & Amity Federal
                           Savings DENIED.

    01/12/90     ~03    MOTION (GOVT) to Quash Subpoenas issued for
                          Edwin Meese, Richard Bessenger, John E. Otte
                          and any other govt officials.

    01/12/90     ~04    MOTION (GOVT) to Quash Subpoena directed to
                          the Custodian of Records, US Marshals Ser.

    01/12/90     ~05    MOTION (GOVT) to Quash Subpoena on Gregory
                          Passic.

    01/12/90     ~06    NOTICE (GOVT) of Filinig of Cerain Affidavits.

    01/12/90     ~07    PROPOSED ORDER Granting Deft Iqbal Ashraf's
                          Motion to Suppress EVidence.

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UNITED STATES DISTRICT COURT
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CRIMINAL DOCKET      U. S. vs                                                                                                                            l.. J
                                     U. S. v. AMJAD AWAN, et al.
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01/16/90                 708         MOTION (ASHRAF) for Disclosure of Specific
                                        Exculpatory Material & Brady Information
                                        and Pretrial Evidentiary Hearing with
                                        Supporting Memorandum of Law.

 01/16/90                    709      MEMORANDUM (Awan, Bilgrami, Hassan, Bussain 1
                                        Boward, Ashraf, BCCI) in Support of Defts'
                                        Opposition to Govt's Motion to Quash
                                        Subpoenas.

01/16/90                     710      MOTION (GOVT) to Quash Subpoenas directed tc
                                        the USCustoms Service.

01/16/90                     711      MOTION (GOVT) for REconsideration of the
                                        Court's Order Denying the Govt's Motion
                                        to Quash.
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 01/16/90                    712      ORDER s/WTB Clerk is ordered to execute the
                                        necessary documents to transfer the owner·
                                        ship of the Certificate of Deposit to
                                        the US Marshal.

 01/16/90                    713      PLEA AGREEMENT FILED. (BCCI, SA)

 01/16/89                    714      PLEA AGREEMENT FILED.                  (BCCI,OVERSEAS)
                                                                                                                                                   I-,
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    01/16/90             715         PROCEEDINGS OF REARRAIGNMENT before Judge
                                       Hodges.  Plea agreement filed.   Deft
                                       sworn Baji A. Palkhiwale. Plea of not
                                       guilty withdrawn and plea of guilty entered
                                       as to counts 2, 12 & 27 of the indictment.
                                       Factual basis established. Adjudication
                                       of guilt made. Referred to PO for PSI.
                                       Sentencing to be scheduled by separate
                                       notice. Second Superseding Indictment.
                                       C/R Carol Jacobs.   (BCCI, INT'L, S.A.)

    01/16/90                 716      PROCEEDINGS of REARRAIGNMENT before Judge
                                        Hodges.  Plea Agreement filed.   Deft
                                        Baji A. Palkhiwale sworn. Plea of not
                                        guilty withdrawn and plea of guilty enterEd
                                        us to counts 2, 3-9, 11-13, 15-18, 18-24,
                                        26-28, 30-33 of the Second Superseding
                                        indictment. Factual basis established
                                        and adjudication of guilt made. Referred 1o
                                        PO for PSI.   Sentencing to be scheduled
                                        by separate notice.   (BCCI, OVERSEAS. LTD

    01/16/90                 717      PROCEEDINGS of Hearing on Motions before
                                        Judge Hodges. Motions to Suppress:
                                        Def ts Motions to Suppress Post Indictment
                                                                                                                Interval      Start Date          Ltr. Total
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r     DATE                                        PROCEEDINGS (continued)                             V. EXCLUOABLE DELAY
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    01/16/90              717      PROCEEDINGS CONTINUED •••
                                      Statements - Moot
                                      Deft BCCI O/S M/Suppress Documents - Moot
                                      Defts Awan & Bilgrami M/Suppress Personal
                                      Property - DENIED.
                                      Def ts Awan & Bilgrami M/Suppress Post-
                                      Arrest Statements -
                                      Deft BCCI O/S M/Suppress Documents -
                                      Defts Awan, Hussain, Bilgrami, Hassan,
                                      Howard & BCCI M/Suppress Evidence Obtained
                                      in France & Switzerland -
                                      Govt's Motion to Dismiss Indictment as to
                                      Deft Iqbal Ashraf with Prejudice = GRANTED.
                                      Bail Released.

    01/17/90              718      MOTION (GOVT) for Issuance of Protective
                                      Order •
._.,.__ -   --- ·----   ---·-------~-----------~---·   ----------~--   -----   ~-------
    01/17/90              719      NOTICE of Sentencing set for February-2-;1990-~----------                                   -
                                      at 8:45 a.m. before Judge Hodges.
                                      (BCCI OVERSEAS, LTD/BCCI, S.A.)

    01/17/90              720      PROPOSED (AWAN) Voir Dire Questions.
    01/17/90              721      PROPOSED (AWAN, HASSAN, HUSSAIN, HOWARD)
                                      Voir dire.
    01/17/90              722      MOTION (AWAN, BILGRAMI,BSSAN, HUSSAIN &
                                      HOWARD) IN Limine to Exclude Evidence
                                      Regardi~g BCC-Luxembourg Accounts.

    1/17/90               723      RESPONSE to defts.' motion in limlne· to exclude evid-
                                       ence regarding General Manuel Noriega, Steven
                                       Kalish & Jaime Weisner by the govt.

    01/17/90              724     PROPOSED (HUSSAIN) Jury Voir Dire Questions.
    01/18/90               725    PROPOSED (GOVT) Voir Dire Questions.
 01/18/90                  726    MEMORANDUM (AWAN, BILGRAMI, HASSAN, HUSSAIN,
                                    HOWARD) in Support of Joint Defts Motion
                                    for Individualized Vair Dire.
    01/17/90               727    MOTION (BILGRAMI) to Reopen the Record on thE
                                    Fourth Amendment Motion to Suppress Evidence.
    01/17/90               728    NOTICE (BILGRAMI) of Filing of Attachments
                                    to his Motion for Severance, or Alternative ly
                                    for Exclusion of Evidence or for Continuance.
    01/18/90               729    ORDER S/WTH All trial subpoenas heretofore
                                    issued at the request of the BCCI defts
                                    shall remain in full force & effect.
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET             ~ U. S. vs
                                            U. S. v. AMJAD AWAN, et al.
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 01/17/90 1730                      PROCEEDINGS OF REARRAIGNMENT BEFORE WTH.
                                       No plea agreement filed.  Deft Sworn.
                                       Plea of not guilty withdrawn and plea of
                                       guilty entered as to counts 1 thru 33 of
                                       the Superseding indictment. Factual
                                       basis established/Adjudicationn of guilt
                                       made. Referred to PO for PSI. Sentencing
                                       to be set upon notice. Factual basis
                                       as to count 1 to be established at trial
                                       Ruling reserved as to count 1.
                                       (GONZALO MORA, JR)

 01/18/90 731                       MOTION (GOVT) to Amend Second Superseding
                                       Indictment.

 01/18/90 732                       PROCEEDINGS of Jury trial Resumed from
                                       01/17/90. Jury Selection Begin.
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 01/18/90 733                       PROPOSED (GOVT) Witness List.

 01/18/90 734                       PROCEEDINGS of Hearing on Motions resumed
                                       from 01/16/90., Deft M/Suppress Post
                                       Arrest Statements DENIED. Deft M/Suppress
                                       Documents Obtained in France & Switzerlard
                                       DENIED. Deft M/Limine to Exclude
                                       Evidence Regarding Noriega, Kalish &
                                       Weisner DENIED. Deft M/Limine
                                       Permit References to Guideline Sentences
                                       DENIED.
     1/19/90            735         SUPPLEMENTAL Proposed Voir Dire Question
                                         (AWAN)

     1/19/90            736         PROTECTIVE ORDER S/Wm Terrell Hodges
     1/19/90            737         MOTION for further voir dire examination
                                         regarding Manual Noriega(AWAN,BILGRAMI.
                                         HASSAN,HUSSAIN,HOWARD,BCCI DFTS)
     1/19/90            738          PROCEEDINGS Jury Trial resumed from 1/17/90
                                        CR-Carol Jacobs
     1/22/90            739          PROPOSED Preliminary Jury instructions(HUSS.~IN•
     1/22/90            740         MOTION by Govn for leave to file reply brie1

     01/23/90           741         REPLY (GOVT) to Defts' Response to Motion
                                     to Quash.

     01/22/90          742          PROCEEDINGS of Jury Trial resumed from
                                       01/18/90. Jury selection continues.


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    01/23/90     743    ORDER from 11th circuit Motion for Bail DENIEI •
                             Motion to Modify Conditions of Release if
                             DENIED.  (AKBAR A. BILGRAMI)

    01/23/90     744    MOTION (BILGRAMI) for Preliminary jury
                             Instruction.

    01/24/90     745    PROCEEDINGS of Jury Trial. Jury Selected.
                             Court in recess until 01/29/90.

    01/24/90     746    RESPONSE (GOVT) to Deft Armbrecht's Appeal
                             of Magistrate's Order concnerning
                             Govt In camera Motion for Protective
                             Order.
    01/24/90     747   RESPONSE (GOVT) to Defts' Motion for Disclosuze
                             of Specific Exculpatory Material and
                  _ _        Brady Information and Pretrial Evidentiazy
                      - - - -:Hear ingwrt11-supportn1crMernorandunr-or fia\'I •           -- -   --- -


    01/24/90     748    ORDER s/WTB Various motions filed by Defts.
                             (ALL DEFTS)
     1/25/90      749   NOTICE of Errata (ALL DEFTS)

     1/25/90      750   MOTION to Produce rough notes of       interrogatio~
                            (BOWARD)

     1/25/90      751   VOUCHER for Interpreter C.Arroyo $205.00

     1/25/90      752   VOUCHER for Interpreter S.Hamer $450.00

    01/25/90      753    MEMORANDUM (GOVT) Regarding Admissibility of
                             Expert Testimony with rEspect to Economics
                             of the Cocaine Business.

    01/25/90      754    MEMORANDUM (GOVT) of Law on Admissiblity of
                             Tape rEcordings.

     01/26/90     755    MOTION (ARMBRECBT) for Continuance of Trial
                             Date.
    01/26/90      756    REQUESTED AMENDEMENT (HASSAN) to court's
                             Proposed Preliminary Jury Instructions.

     01/26/90     757    NOTICE of SEntencing Reset for 02/02/90 at
                             4:30 p.m. before Judge Hodges. (BOTH BCCl)

     01/26/90     758   PROPOSED (GOVT) Preliminary Jury Instructions




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           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 66 of 101 PageID 80

                   ~ u. s.
 UNITED STATES DISTRICT COURT
 CRIMINAL DOCKET         vs                                                                                 1L
                                                                                                 8-330-CR-T.:;§
                         U. S. v. AMJAD AWAN, ET AL.
  ,,,,..---Ao_2_s&_A1• - - : . . - - - - - - - - - - - - - - - - - - - - - - - - -               I
                                                                                           Docket No !Def
 /                                        PROCEEDINGS (continued)                  V. EXCLUDABLE DELAY
           DATE
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     01/29/90    759    MOTION (govt) to Quash Subpoenas Issued to
                          Dennis Martino and Prudential Bache Securit~es.

     01/29/90    760    NOTICE of Sentencing reset for February 5, 1990
                          at 4:30 p.m. before Judge Hodges. (BOTH DEl~S)

* 01/26/90       761    MOTION (HUSSAIN/BILGRAMI) to Modify Proposed
                          Jury Book Instructions.

     01/30/90    762    SENTENCING MEMORANDUM        (GOVT)

     01/30/90    763    PROCEEDINGS of Jury tRial resumed from
                          01/23/90.

     01/31/90    764    PROCEDINGS of JUry Trial Resumed from 01/30/90.

     01/31/90
     02/01/90    766    JOINT EMERGENCY MOTION (AWAN, HUSSAIN, BILGRJMI
                           HASSAN & HOWARD)to Compel Discovery Under
                           Rule 16 and Brady v. Maryland.

     02/02/90    767    PROCEEDINGS of Jury Trial Resumed from 02/01190.

     02/05/90    768    NOTICE (AWAN, HUSSAIN, BILGRAMI, HASSAN, HOW~kU>)
                           of Filing Original Affidavit to Defts'
                           Joint Emergency Motion to compel Discovery
                           Under 16 and Brady v. Maryland.

     02/05/90    769    MEMORANDUM (AWAN) in response to Govt's Motin
                          to Quash Subpoenas Directed to Edwin Meese,
                          eta 1.
      02/06/90    770    PROCEEDINGS of Jury trial Resumed from 02/02.~90

      02/07/90    771    PROCEEDINGS of Jury Trial resumed from 02-05 90

      02/06/90    772    PROCEEDINGS of Sentencing before Judge Hodgek.
                           Forfeit CD - per Order entered 12127/89.
                           Placed on probation for a period of 5 yrs
                           as to corporations and deft to comply with
                           May 1989 Orders of Board of Governors of
                           Federal Rerserve System. Count one
                           dismissed upon motion of us Attorney.
                           ( BCCI , S • A. )
     02/07/90     773    JUDGMENT S/WTH SAme as above. mfilm 97, Doc.
                           # 1781. (DCCI, S.A.)

     02/06/90     774    PROCEEDINGS of Sentencing before Judge Hodge;.
                           Forfeit CD - per Order entered 12/27/89.
                           Placed on probation for a period of 5 yrs
                                                                                    Interval     Starr Date   Ltr. Total
                                                                             fper Section 11 I     End Date   Codi Oav1
                     Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 67 of 101 PageID 81
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
                                        U. S. V. AMJAD AWAN, ET AL.                                                             88-330-
               AO 256A
r          DATE                                       PROCEEDINGS (continued•                               V. EXCLUDABLE DELAY
,.__ _ _ _,,...(Document No.)             ------------------------t-..:(~al-+--...!lb::.:.l_-+-....:;lc::!.l.j...l:::.:...dl
    02/06/90                      774    PROCEEDINGS of Sentencing CONTINUED:
                                            as to corporation and deft to comply
                                            with May 1989 Orders of Board of
                                            Governors of Federal reserve System.
                                            Upon motion of US attorney count one
                                            dismissed. C/R. Carol Jacobs.
                                             (BCCI, OVERSEAS, LTD.)

    02/06/90                      775    JUDGMENT S/WTH Same as above. Mfilm 97,
                                            Doc. # 1783. (BCCI, OVERSEAS, LTD.)
02/07/90                          776    SUPPLEMENTAL MOTION (AWAN) for Brady Materi< 1.

 02/08/90                         777    PROCEEDINGS of Jury Trial Resumed 02/06/90.

    02/08/90                      778    EMERGENCY MOTION (NBC) to Intervene Broad-
                                            casting Co. to Intervene and to Inspect
                                            & Copy Videotapes, Autdiotapes & Photo-
1----- -   -    --   - - - - --
                                  --------- 9-i:;aphs-Admitted. int0-E.vidence__ &-~~mo__qj___________                          ~   __
                                            Law in Support.
    02/09/90                      779    TRANSCRIPT of Non-Jury Proceedings before
                                            Judge Hodges held 01-16-90.
    02/09/90                      780    TRANSCRIPT of Non-Jury Proceedings before
                                            Judge Hodges held 01/17/90.
    02/09/90                      781    TRANSCRIPT of Jury Vair Dire before Judge
                                            Hodges held 01/18/90.
    02/09/90                      782    TRANSCRIPT of Jury Vair Dire before Judge
                                            Hodges held 01/19/90.
    02/09/90                      783    TRANSCRIPT of Jury Voir Dire before Judge
                                            Hodges held 01/22/90.
    02/09/90                      784    TRANSCRIPT of Jury Voir Dire before Judge
                                            Hodges held 01/23/90.
    02/09/90                      785    TRANSCRIPT of Trial Proceedings before
                                            Judge Hodges held 01/30/90.
    02/09/90                      786    TRANSCRIPT of Trial Proceedings Volume 8
                                            before Judge Hodges held 01/31/90.
    02/09/90                      787    TRANSCRIPT of Trial Proceedings Volume 9
                                            before Judge Hodges held 02/01/90.
    02/09/90                      788    TRANSCRIPT of Trial Proceedings Volume 10
                                            before Judge Hodges held 02/02/90.
    02/09/90                      789    TRANSCRIPT of Trial Proceedings Volume 11
                                            before Judge Hodges held 02/05/90.

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                                                                                              (per Section 11 I    End   Date   Codt   Dav•
                  Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 68 of 101 PageID 82
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET                     ~ U. .S: vs                                                                          ~ -330-CR=T-~
                                              U. S. V. AMJAD AWAN, ET AL.
 ,.--A;..;.0;.._25.;..;6_.AT•-~-------------------------                                                                         I   Oocket No     !Def.
/'                                                                                                                         V. EXCLUOABLE DELAY
            DATE                                            PROCEEDINGS (continued!
i------+-,IOoc:umenl No.I - - - - - - - - - - - - - - - - - - - - - - . . . . . . _ : : l a : . : . l . . + - _ . . ! ! ( b : . ! . . . l_-4-~(cl~(d!l.)
  02/09/90                   790              TRANSCRIPT of Sentencing Proceedings held
                                                  February 5, 1990 before Judge Hodges.
                                                  (BOTH BCCI)

  02/09/90                   791              TRANSCRIPT of Trial Proceedings Volume 12
                                                  before Judge Hodges held 02/06/90.

  02/09/90                   792              TRANSCRIPT of Trial Proceedings Volume 13
                                                  before Judge Hodges held 02/07/90.

     02/09/90                793              TRANSCRIPT of Trial Proceedings Volume 14
                                                  before Judge Hodges held 02/08/90.

     02/08/90                794               RESPONSE (GOVT) to Defts' Joint Emergency
                                                  Motion Under Rule 16 & Brady v. Maryland.

     02/08/90                795               PROCEEDINGS OF Jury Trial resumed from
                                                 02107/_90                                                                - -·- --------- ---
r--·- - -   ---   --   -
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                                                      - -            -··    -- - - - - - - ---
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 02/09/90                    796               AMENDED JUDGMENT S/WTH in a Criminal Case.
                                                 Special Assessment amount amended.
                                                 (BCCI, INT'L, SA) mfilm 97 f 1871

     02/09/90                    797           AMENDED JUDGMENT S/WTH in a Criminal Case.
                                                 Special Assessment amount amended.
                                                 (BCCI, OVERSEAS) MFILM 97, 11873

     02/12/90                    798           JOINT MOTION (HUSSAIN, BILGRAMI, HASSAN,
                                                  & HOWARD) for Limiting Instruction.
     02/12/90                    799           RESPONSE (AWAN, HUSSAIN, BILGRAMI, HASSAN
                                                  & HOWARD) in Opposition to Emergency
                                                  Motion of National Broadcasting Company
                                                  to Intervene, Inspect & Copy Evidence.

     02/12/90                    800            ORDER S/WTH NBC's Motion to Inspect & Copy
                                                  Videotapes, audiotapes & photographs is
                                                  denied so long as the trail remains in
                                                  progress.

     02/13/90                    801            PROCEEDINGS of Jury Trial Resumed from
                                                  02/08/90. Emergency motion of NBC to
                                                  copy evidence is dENIED.
     02/13/90                802               PROCEEDINGS of Jury Trial resumed from 02/12190
                                                 Deft Bilgrami's Motion for Mistrial or
                                                 Severance is DENIED.
     02/14/90                803               PROCEEDINGS of jury Trial Resumed from 02/13,90




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                                                                                                              (per Section 111     End Date   Codi Davi
           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 69 of 101 PageID 83
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
     AO 256A

                                      PROCEEDINGS (continued)                           V. EXCLUDABLE DELAY
    DATE
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 2/16/90       804       TRANSCRIPT of trial proceedings Dated 2/12/9)
                             Volume xv

 2/16/90       805       TRANSCRIPT of trial proceedings dated             2/13/9~
                             Volume XVI.

 2/16/90        806      TRANSCRIPT of trial proceedings dated 2/14/90
                             Volume XVII

 2/16/90        807      TRANSCRIPT of trial proceedings dated 2/15/90
                             Volume XVIII
  02/15/90     808        PROCEEDINGS of Jury Trial resumed from
                             02/14/90.

  02/16/90     809        MOTION (DEPT OF BANKING & FINANCE) for
                             Protective Order Motion for Order
                             Modifying Subpoena, or to Quash Sarne.
                                         -        ·-- --------- ------- ·------
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 02.20/90      810        PROCEEDINGS of Jury Trial resumed from
                             02/15/90.

  02/21/90     811         PROCEEDINGS of Jury Trial resumed from
                              02/20/90.

  02/21/90     812        MOTION (AWAN) for Modification of Conditioni
                             of his Release.
   2/22/90     813     JOINT MOTION for enforcement of Compliance with Court
                         order dated 11/28/89(AWAN,HUSSAIN,BILGRAMl,HASSAN,
                         HOWARD}

   2/22/90      8111   PROCEEDINGS Jury Trial resumed from 2/21/90

   2/23/90      815    LETTER from USCA to A tty T. Bostic dated 2/20/90

   2/23/90      816    ORDER(WTH} Motion for entry of protective order o or quashi1 g
                          subpoena Granted in part SEE ORDER

   2/23/90      817    PROCEEDINGS Jury trial resumed from 2/22/90

   2/23/90      818    ORDER(WTH) Motion for modification of conditions of release
                          GRANTED SEE ORDER(AWAN}

 02/26/90       819 PROCEEDINGS of Jury Trial resumed from 02/23/90.
 02/27/90       820 NOTICE (hussain) of Dismissal of Appeal from
                      the Order of the US D. c .. denying Appellant'~
                      Motion for AMendrnent of Conditions of Releas~
                      entered on 09/22/89.
 02/27/90       821 MOTION (AWAN) for Clarification of Order.

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                                                                            (per Section Ill     End Date   Cod~ Dav
              Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 70 of 101 PageID 84
UNITED STATES DISTRICT COURT
                     ~U.S. vs                                                             ~
                                                                                                   8-330-CR-T~(B
CRIMINAL DOCKET
                              U. S. v. AMJAD AWAN, ET AL.
 ,,___A_o_2_s_6A-r•---:..--------------------------                                                I   Docket No   je>er
/'    DATE                                 PROCEEDINGS (continued)                          V. EXCLUDABLE DELAY
.,__-----+-(Oocumenl No.I     ------------------------4~1!.!al-+--~(~bl!.___!_l~cl!_Llld:!l.I
 02/27/90           822      AMENDED ORDER S/WTH Law Firm of Smith &
                               Fuller as trustee of the letter of credit
                               in the amount of $192, 462. 02 shall. release
                               the sum of $10,946.00 each month for the
                               payment of monthly expenses on behalf
                               of Deft Awan.

 02/27/90           823     PROCEEDINGS of Jury Trial Resumed from 02/2D/9D.
     2/28/90        824     MO'l'IOH to Modify conditions of release(BOWARD)
                                w/memo

     2/28/90        825     ORDER ( W'l'll) Modify conditions of release referred to
                                 u. s. Magistrate(DOWARD)
     2/28/90        826      PROCEEDINGS Jury trial resumed from 2/27/90

     3/1/90         827      PROCEEDINGS Jury trial resumed from 2/28/90

     3/2/90         828      PROCEEDINGS Jury trial resumed from 3/1/90

     3/2/90         829      MO'l':COH by Govn for temporary trans of custody from
                                    u. s. Marshal to Customs or IRS for pretrial
                                    preparations

     3/2/90        830    PETITION for Writ of HCaT S.M.Kalish

     3/5/90        831    WRIT of HCaT Kalish

     3/6/90        832    MEMO in opposition to Govn Motion to Quash Subpoenas issuec
                             to Dennis Martino and Prudential Bache Securities(AWAN,
                             BIL GRAM/,AFTAB,H USSAIN,HASSAN,HOWARD)

     3/5/90        833    PROCEEDINGS Jury trial resumed 3/2/90

     3/7/90        834    MANDA TE from USCA Entry of Dismissal of appeal(HUSSAIN

     03/06/90      835     PROCEEDINGS of Jury Trial resumed from
                              03.05/90.
     03/07/90      836     PROCEEDINGS of Jury Trial resumed from
                              03/06/90.
     03/08/90      837      PROCEEDINGS of Jury Trial resumed from
                               03/07/90.
     03/12/90      838     MOTION (RUDOLPH ARMBRECHT) to Exclude Un-
                              charged Acts or in the alternative, for
                              a Continuance & Memo of Law.

     03/12/90      839      MOTION (GOVT) on behalf of the Board of
                               Governors of the Federal Reserve System,
                               to Quash the Deft's Trial Subpoena Ouces
                                'T'o~11m

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                          Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 71 of 101 PageID 85
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
           AO 256A
                                     U. S. V. AMJAD AWAN, ET AL.                                           88-330-CR-T-13
    /     DATE                                   PROCEEDINGS (continued)                            V. EXCLUOABLE DELAY
    1-------+-IDocument No.I           ------------------------1-1;.31; .:4----'(=cbl~--J.~l~cl~(d~)
    03/12/90                 840    MEMORANDUM (GOVT) Concerning Admissibility
                                      of Certain Evidence.
*       03.02/90             841    TRANSCRIPT OF Trial Proceedings held 02/20/90
                                       Volume XIX.

~       03/02/90             842    TRANSCRIPT of Trial Proceedings held 02/21/90
                                       Volume XX.

        03/02/90             843    TRANSCRIPT of Trial Proceedings held 02/22 & :3/~0
                                       Cross & Recross Examination of Nelson Chen.

        03/02/90             844    TRANSCRIPT of Trial Proceedings held 02/26/90
                                       Testimony of Roberto Alcaino.

*       03/02/90             845    TRANSCRIPT of Trial PRoceedings held 02/28/90
                                       Testimony of Roberto Alcaino.

        03/02/90             846    TRANSCRIPT of Trial Proceedings held 03/01/90
                                       Testimony of Roberto Alcaino.

        03/02/90             847    TRANSCRIPT of Trial Proceedings held 02/27/90
                                       Testimony of Roberto Alcaino.

        03/13/90             848    TRANSCRIPT of Trial Proceedings held 02/26/90
                                       Testimony of Sharon Hackleman.

        03/13/90              849   TRANSCRIPT of Trial Proceedings held 03/06/90
                                       Partial Testimony of David H. Burris.

        03/13/90              850   TRANSCRIPT of Trial Proceedings held 03/07/90
                                       Partial Testimony of David H. Burris

        03/13/90              851   TRANSCRIPT of Trial Proceedings held 03/08/90
                                       Partial Testimony of David H. BUrris.

        03/13/90              852   TRANSCRIPT of Non-Jury Proceedings held
                                       01/16/90 before Judge Hodges.

        03/12/90              853   PROCEEDINGS of Jury Trial resumed 03/08/90.
        03/14/90              854   ORDER(TW) motion to modify conditions of release.
                                        granted. (HOWARD)
        03/14/90              855   PROCEEDINGS: motion to release funds. (HOWARD)
        03/14/90              856   PROCEEDINGS: Jury trial resumed from 3/12/90.
        03/15/90              857   PROCEEDINGS: Jury trial resumed from 3/14/90.
        3/16/90               858    MOTION in limine w/memo(BILGRAMI)
        03/19/90              859   ORDER S/WTH Deft Bilgrami's Motion seeking to
                                         ensure that statements obtained from him
                                         after the grand jury voted to indict him
                                         is moot.
                                                                                              lnte"'al     Stan Dare   Ltr. Total
                                                                                        (per Sec1ion Ill    End Date   Codi Davs
           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 72 of 101 PageID 86
UNITED STATES DISTRICT COURT                                                                            '.l
                  ~                                                            ~
                                                                                        8-330-CR-T-~(:
CRIMINAL DOCKET      U. S. vs
                       U. S. v. AMJAD AWAN, ET AL.
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r                           PROCEEDINGS (continued)                              V. EXCLUDABLE DELAY
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  03/19/90     860     PROCEEDINGS of Jury Trial resumed from
                         03/15/90.

  03/20/90     861     PROCEEDINGS of Jury Trial REsumed from
                         03/19/90.

  03/20/90     862     OBJECTIONS (AWAN) to Govt Exhibits.

 03/23/90      863     TRANSCRIPT of Trial Proceedings held 03/14/9kl
                         Volume 33.

 03/23/90      864     TRANSCRIPT of Trial Proceedings held 03/15/9 o.
                         Volume 34.

 03/23/90      865     TRANSCRIPT of Trial Proceedings held 03/19/9 b.
                         Volume 35.
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 -0.3/23/90    866- -- TRANSRIPT-of" T.r-un-Proceedlngs-held 03/20/90
                         Volume 36.

  03/23/90     867     TRANSCRIPT of Trial Proceedings held 03/21/9 o.
                         Volume 37.

  03/23/90     868     TRANSCRIPT of Trial Proceedings held 03/22/9 o.
                         Volume 38.

  03/21/90     869    PROCEEDINGS of Jury trial held 03/211/90
                         c/r Carol Jacobs.

  03/22/90     870    PROCEEDINGS of Jury Trial held 03/22/90.
                         C/R Carol Jacobs.

  03/26/90     871    PROCEEDINGS of Jury Trial held 03/26/90
                         C/R Carol Jacobs & Norma Hatfield.

  03/27/90     872    PROCEEDINGS of Jury6 Trial held 03/27/90.
                         C/R Carol Jacobs.
  03/28/90     873    PROCEEDINGS of Jury trial resumed from 03/211 90
                         C/R Carol Jacobs.

  03/29/90     874    PROCEEDINGS of Jury trial resumed from 03/28, 90
                         C/R Carol Jacosb.
  04/03/90     875    PROCEEDINGS of Jury Trial resumed from 03/29, 90
                         C/R Carol Jacobs.

  04/03/90     876    PROCEEDINGS of Jury Trial resumed from 03. 301 90
                         C/R Carol Jacobs.

  04/04/90 . 877      PROCEEDINGS of Jury Trial resumed from 04/02, 90
                        C/R Carol Jacobs.

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           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 73 of 101 PageID 87

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
     AO 256A                    u. s. v.   AMJAD AWAN, et al.                                 88-330-CR-T-l
    DATE                            PROCEEDINGS (continued)                          V. EXCLUOABLE OE LAY
                                                                                      lal

  04/04/90 878        PROCEEDINGS of jury Trial resumed from 04/03/9(                .
                        C/R Carol Jacobs.
  04/05/90 879        TRANSCRIPT of Trial Proceedings held 03/26/90
                         before WTH - Volume 39.
04/05/90       880    TRANSCRIPT of Trial Proceedings held 03/26/90
                         before WTH - Volume 39 PM session.
  04/05/90 881        TRNASCRIPT of Trial PRoceedings held 03/27/90
                         before WTH - Volume 40.
  04/05/90 882        TRANSCRIPT of Trial Proceedings held 03/28/90
                         before WTH - Volume 41
04/05/90       883    TRANSCRIPT of Trial Proceedings held 03/29/90
                         before WTH - Volume 42.
'-o-4; o57 9o S8~4~RANSCRf i>TC>rTr ia I  Pt-oceeoinq-s-hela-- 0-3i3 0-/90- > - - 1- - - --              - --   - --

                         before WTH - Volume 43.
  04/05/90 885        TRANSCRIPT of Trial Proceedings held 04/02/90.
                         before WTH - Volume 44.
  04/05/90 886        TRANSCRIPT of Trial Proceedings held 04/03/90
                         before WTH - Volume 45.
  04/05/90 887        TRANSCRIPT of Trial Proceedings held 04/04/90
                         before WTH - Volume 46.
 04/05/90      888    TRANSCRIPT of Trial Proceedings Testimony
                         of Michael Hamric held 03/19/90 before
                         WTH.

   04/09/90 888        PROCEEDINGS of jury Trial resumed from 04/04/90
                         before WTH C/R Carol Jacobs.
  04/10/90      889    PROCEEDINGS of Jury Trial resumed from 04/09/cio
                         before Judge Hodges C/R Carol Jacobs.
  04/11/90      890    WRIT returned executed by the US Marshals
                         on Stephen Michael Kalish on 04/04/90.
  04/11/90      891    ORDER S/TGWILSON Order of 03/14/90 on Deft Howard
                         Motion to Modify Conditions of Release is
                         Amended in pertinent part to provide that
                         the Clerk shall disburse to Mr. Doherty
                         the amount of $25,910.43 together with all
                         interest accrued as ot the date of disbursa •
                         (IAN HOWARD)

  04/11/90      892    JOINT MOTION and Incorporated Memo for Pro-
                         duction of Materials Pursuant to 18 USC 350,~.
                                                                               Interval     Stan Date    Ltr. Total
                                                                        lper Section 11 I     End Date   Codi Davi
                      Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 74 of 101 PageID 88
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET      U. S. vs          ~                                                                    ~                    J. I
                                              U. S. V. AMJAD AWAN, et al.                                   ,       88-330-CR-T-1).t
 ,,,.--..;.A0.;......2_56_A 41
                             _    _.::_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ '"                     Yr.    1   Docket No       1Def
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I'                                                                                                              V. EXCLUDABLE DELAY
         DATE                                             PROCEEDINGS (continued)
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 04/11/90                        893       PROCEEDINGS of Jury Trial resumed from            04/10/~0.
                                              C/R Carol Jacobs.

 04/11/90                        894       PROCEEDINGS of Jury Trial resumed from            04/11/~0.
                                              C/R CArol Jacobs.
 04/13/90                        895       'l'RAHSCRIPT of trirl proceedings on 4/12/90.

   04/16/90 896                            NOTICE (BILGRAMI) of Co-Counsel's Change of
                                              Firm and Address.

04/16/90                     897           PROCEEDINGS of Jury Trial resumed from 04-±12-90.
                                              C/R Carol Jacobs.

     04/17/90 898                          PROCEEDINGS of Jury Trial resumed from            04/16/~0.
                                              C/R Carol Jacobs.
     04/19/90                899           PROCBBDIHGS of jury trial resumed from 4/18/90.                          ---------~          -   -
.,__...___ ______    --     ·-- -          ---e-/r-caro-r.---Jacobs-;---~--------------~------------       ---

     04/23/90                    900       MEMO. concerning jury instructions under title 18, USC
                                               section 1956, and motion to rreclude evidence igno·
                                               ranee of law.  (AWAN)

*04/18/90                    901           PROCEEDINGS: ju~y trial resumed from 04/17/90.
                                              ·c/r Carol Jacobs.
  04/20/90                   902           PROCEEDINGS::  jury trial resumed from 04/19/90.
                                               c/r Carol Jacobs.

   04/23/90                  903           PROCEEDINGS: jury trial resumed from 04/20/90.
                                               c/r Carol Jacobs.

  04/24/90 904                             MOTION (GOVT) to Quash Subpoenas Issued to
                                              Chase BAnk of Florida, First National Bank
                                              of Clearwater and NCNB Bank of Florida.

   04/25/90 905                             PROCEEDINGS of Jury Trial Resumed from
                                              04/23/90. C/R Carol Jacobs.

     04/25/90 906                          PROCEEDINGS of Jury Trial Resumed from
                                             04/24/90 C.R Carol Jacobs.
     04/25/90 907                          NOTICE_(.GOVT) of Supplemental Filing.
     04/30/90 908                          PROCEEDINGS of Jury Trial resumed from 04/25/~0
                                               C/R Carol Jacobs.

     04/30/90 909                          PETITION (GOVT) for Writ of HACT. for
                                               Stephen Michael Kalish for May 14, 1990
                                               at 9:00 a.m

     04/30/90 910                          WRIT S/TGWILSON of HCAT for Stephen Kalish
                                               for May 14, 1990 at 9:00 a.m.

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r     DATE                             PROCEEDINGS (continued)                     V. EXCLUOABLE DELAY
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                 !Document No.I
    05/04/90     911      TRANSCRIPT of Trial Proceedings held April 9
                             1990 - Volume 48.

05/04/90          912     TRANSCRIPT of Trial Proceedings held April 10,
                             1990 - Volume 49.

    05/04/90      913     TRANSCRIPT of Trial Proceedings held April 11,             -·
                             1990 - Volume 50.

    05/04/90      914     TRANSCRIPT of Trial Proceedings held April 12
                             1990 - Volume 51.

    05/04/90      915     TRANSCRIPT of Trial Proceedings held April 16,
                             1990 - Volume 52.

 05/04/90         916     TRANSCRIPT of Trial Proceedings held April 17
                             1990 - Volume 53.
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                            1990 - Volume 54.

    05/04/90      918     TRANSCRIPT of Trial Proceedings held April 19.
                             1990 - Volume 55.

    05/04/90      919     TRANSCRIPT of Trial Proceedings held April 20.
                             1990 - Volume 56.

    05/04/90      920     TRANSCRIPT of TRial Proceedings held April 23.
                             1990 - Volume 57.

    05./04/90 921         TRANSCRIPT of Trial Proceedings held April 24j
                             1990.- Volume 58.

    05/04/90      922      TRANSCRIPT of trial Proceedings held April 25,
                              1990 - Volume 59.

    05/04/90      923     TRNASCRIPT of Trial Proceedings held April 30,
                             1990 - Volume 60.

    05/04/90      924     TRNASCRIPT of Trial PRoceedings held May 1,
                             1990 - Volume 61.
    05/04/90      925      TRANSCRIPT of Trial Proceedings held May 2,
                              1990 - Volume 62.

    05/04/90      926      TRANSCRIPT of trial Proceedings held May 3,
                              1990 - Volume 63.
*   04/30/90      927      PETITION (GOVT) for Writ of HCAT on May 14,
                             1990 for Deft James Douglas Wilson.

*   05/01/90      928      WRIT S/TGWILSON of HCAT for May 14, 1990 with
                              James Douglas Wilson.

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UN ITED STATES DISTRICT COURT
CRIMINAL DOCKET ~ U. S. vs
                             u. s. v.    AMJAD AWAN , ET AL .                          ~ 8 8- 3 30-CR-'1·1k
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   DATE                     PROCEEDINGS (continued) V. EXCLUDABLE DELAY
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 05/01/90           929 PROCEEDINGS of Jury Trial Resumed from 04/30/90 .
                          C/R Car.oL.Jacobs .

 05/02/90           930 PROCEEDINGS of Jury Trial Resumed from 05 / 01/90
                          C/R Carol Jacobs .

 05/04 /9 0         931 PROCEEDINGS of Jury Trial Resumed from            05/03 / ~0 .
                          C/R Carol Jacobs .

 05/04/90           932 PROCEEDINGS of Jury Trial resumed from 05/03/90 .
                          C/R Carol Jacobs. Oral Order - Upon motion
                          by Govt the Court s uspended the requirement
                          to comply with defense subpoena to Chase
                          Bank pending ruling by Magistrate on the
                          04 - 24 - 90 Motion to Quas h by US Attor n ey .

  05/10/90          933 WRIT of HCAT for James Douglas Wilson r e turne~
                           cancelled by the US MArshal per instr u ctio 1
                           of AUS on 05/08/ . 90 .

  05/10/90          934 WRIT of HCAT returned cancelled by the US
                           Marshal per AU SA on 05/07 /9 0 f or Stephen
                           Mich a el Kalish .

 05/14/90           935      MEMORANDUM ( HUSSAIN) concerning Jury Instruc~­
                               ions Under Section 1956 and Opposing th e
                               Govt ' s Request t o Amend the Second
                               Supe rs eding Indictment .

 05/14/90           936      PROCEEDI NGS of Jury Trial Resumed£ rom
                               May 4, 1990 . C/R Carol Jacobs

  05/15/90          937      PROCEEDI NGS of Jury Trial Resumed fro m
                                May 1 4 , 1990 : C/R Carol~Jacobs

  05/16/90          938      PROCEEDINGS of J ury Trial Resumed fr om
                                May 15 , 1990 . C/R Carol Jacobs

  05/15/90          939      PETI'l'ION for Writ of HCAT for James Douglas
                                Wilson for May 29 , 199 0 at 9 : 00 a . m.

   05/16/90         940      WRIT S?TGWILSON for HCAT for James Douglas
                                Wi lson for May 2 9 , 1990 at 9 ; 00 a .m.

  05/17/90          941       PROCEEDINGS of Jury Trial resumed fr om
                                05/16/90 . C/R Carol Jacobs .

  05/18/90          <j"-1.                     HUSSAI N, BILGR.i"\MI, HASSAN, lIO~ARI
                              t<\O'rION ( AWAN ,
                                 ~ 1\R.MBECBT) to Produce Govt Records Per-
                                 tai ning to Eric Wellman and John Tribiano
                                 and fol: nearing .


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                         U. S. V. AMJAD AWAN, ET AL.                                            88-330-CR-T-j
         AO 256A

                                    PROCEEDINGS (continued)                            V. EXCLUDABLE DELAY
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 05/18/90          943    PROCEEDINGS of jury Trial resumed from
                             May 17, 1990 C/R Carol Jacobs.
"5/21/90           944    PROCEEDINGS of Jury Trial Resumed from
                             May 18, 1990 C/R Carol Jacobs.

 05/22/90          945    PROCEEDINGS of Jury Trial resumed from
                              May 21, 1990 C/R Carol Jacobs.

  05/23/90         946     TRANSCRIPT of Trial Proceedings held
                             May 4, 1990 before WTH Volume 64.

  05/23/90         947     TRANSCRIPT of Trial Proceedings held
                             May 14, 1990 before WTH Volume 65.

  05/23/90         948     TRANSCRIPT of Trial Proceedings held
                             May 15, 1990 before WTH Volume 66.

  05/23/90         949     TRANSCRIPT of Trial Proceedings held
                             May 16, 1990 before WTH Volume 67.

  05/23/90         950     TRANSCRIPT of Trial Proceedings held
                             May 17, 1990 before WTH Volume 68.

  05/23/90         951     TRANSCRIPT of Trial Proceedings held
                             May 18, 1990 before WTH Volume 69.

  05/23/90         952     TRANSCRIPT of Trial Proceedings held
                             May 21, 1990 before WTH Volume 70.
    -.
  05/22/90         953     PROCEEDINGS of Jury Trial resumed from
                               May 22, 1990. C/R carol Jacobs.

  05/24/90         954     PROCEEDINGS of Jury Trial resumed from
                               May 23, 1990. C/R Carol Jacobs.

   05/24/90        955    DEFT HASSAN' EXHIBIT LIST -Motion to Suprpess
                               Hearing.
 05/24/90          956    DEFT BILGR1\MI'S EXHIBIT LIST       - Motion to
                                Suppress Hearing.
 05/24/90          957    GOVT'S EXHIBIT LIST - Motion Hearing.

 05/24/90          958    GOVT'S EXHIBIT LIST - MOTION to Suppress
                                Hearing.
 05/24/90          959    DEFT AWAN'S EXHIBIT LIST -Motion Hearing.
   5/29/90         960    NOTICE and motion with respect to introduction of co-
                              caine seized from BILGRAMI residence by the govt.
  5/29/90          961    NOTICE OF INTENT to offer proof of foreign law by the
                              govt.
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UNITED STATES DISTRICT COURT                   AMJAD AllAN, et.al.                         ~ 88-330-0:- 1 I (Bl
CRIMINAL DOCKET          ~
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r                                          PROCEEDINGS (continued!                             V. EXCLUDABLE DELAY
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    5/29/90            962   RESPONSE to defts.' motion to produce govt. records
                                 pertaining to BRIC WELLMAN and JOBR 'l'RIBIAHO and
                                 for hearing by the govt.
    5/30/90            963   PROCBBDINGS: Jury trial resumed from 5/29/90.
    5/30/90            964   ORDBR(w.rll) joint motion to produce govt. records per-
                                 taining to BRIC WBLLMAN & JOHN 'l'RIBIAHO for hearin~
                                 = denied.
    05/29/90           965   MOTION (HUSSAIN) in Limine to Exclude Evidence
                              of Alleged Foreign Crimes and Memo in support.

    05/30/90           966   PROCEEDINGS of Jury Trial Resumed from 05/29/90
                               C/R Carol Jacobs.

     06/01/90 967            PROCEEDINGS of Jury trial resumed from 05/31V90
                               C/R Carol Jacobs.

    06/01/90           968   NOTICE (GOVT) of Intent to Offer Proof of
                               Foreign Law.

    05/31/90           969   PROCEEDINGS OF JURY TRIAL RESUMED from 05/30/BO
                               C/R Carol Jacobs.
    06/05/90           970   MOTION to suppress extrinsic evidence and request for
                                 a hearing. (BILGRAMI)
    06/05/90           971   RESPONSE to govt.'s motion to introduce extrinsic evi-
                                 dence. (BILGRAMI)

    06/04/90           972   PROCEEDINGS of Jury Trial resumed from 06/01/90
                                C/R Carol Jacobs.

    06/05/90           973   PROCEEDINGS of Jury Trial resumed from 06/04/90.
                                C/R Carol Jacobs.

    06/06/90           974   PROCEEDINGS of Jury Trial resumed from 06/05;90.
                                C/r Carol Jacobs in morning, Billie Meyers
                                in Afternoon Session.

    06/07/90           975   PROCEEDINGS of Jury Trial resumed from
                                06/06/90. C/R Carol Jacobs-Morning session
                                Billie Meyers, Afternoon session.
    06/12/90           976   REPLY to deft. BILGRAHI'S memo. regarding introduction
                                 of cocaineby the govt.
    06/12/90           977   NOTICE of intent to offer statements under rules 803
                                 (24) or 804(5) of Federal rules of evidence by
                                 the govt.
    06/11/90 978             NOTICE (GOVT) of Intent to Offer Proof of
                                 French Law.


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r     DATE                             PROCEEDINGS (continued)                        V. EXCLUOABLE DELAY
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    06/12/90      979   PROCEEDINGS of Jury Trial resumed from 06/07/90
                          C.R Carol Jacobs PM Billie Meyers.

    6/13/90       980   PROCEEDINGS: Jury trial resumed from 6/11/90.
    6/14/90       981   SUPPLEMENTAL memo. on proper evidence predisposition.

 06/15/90         982    MOTION (HUSSAIN) in Limine to Exclude Further
                          Evidence Concerning "Operations Pisces" &
                          Memo of Law.

    06/18/90      983 PROCEEDINGS of Jury Trial resumed from 06/12/91 •
                        C/R Carol Jacobs.

    06/19/90      984    MOTION (AWAN} to Consolidate Govt Exhibit
                          135B with Deft Awan's Exhibit 11.

 06/21/90         985 PROCEEDINGS of Jury Trial resumed from 06/15/90.
                        C/r Carol Jacobs & Jean Wilkes in PM

 06/21/90         986 PROCEEDINGS of Jury Trial resumed from 06/18/90.
                        C/R Carol Jacobs & Norma Hatfield PM.

    06/21/90      987 PROCEEDINGS of Jury Trial resumed from 06/19/90
                        C/R Carol Jacobs & Jean Wilkes PM

 06/21/90         988 PROCEEDINGS of Jury Trial resumed from 06/20/90.
                        C/R Carol Jacobs & Norma Hatfield PM.

    06/21/90 989 REQUEST (hussain} Instruction Pursuant to Rule
                   615 Fed. Rules of Evidence - Instruction Rule
                   of Sequestration.

     06/25/90     990   MOTION for judgment of acquittal. (HASSAN)

    06/22/90      991    MOTION (BILGRAMI} for Judgment of Acquittal or
                            International Trnasporation Accounts
                            (18 USC 1956(a)(2)).
     06/22/90 992       PROCEEDINGS of Jury Trial resumed from 06/21/90.
                           C/R Carol Jacobs Linda Frecka- PM
     06/26/90 993 PROCEEDINGS of Jury Trial resumed from 06/22/90.
                     C/R Carol Jacobs PM Bill Wilkes.
    06/27/90      994    PROCEEDINGS of Jury Trial resumed from 06/25/90.
                           C/R Carol Jacobs.

    06/27/90      995   PROCEEDINGS of Jury Trial resumed from 06/26/90.
                          C/R Carol Jacobs - Billie Wilkes PM

    06/28/90      996   PROCEEDINGS of Jury Trial resumed from 06/27/90
                          C/R Carol Jacobs .
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UNITED STATES DISTRICT COURT                                                                                               d /.
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                     U, S"'  AMJAD AWAN ET AL                                                     ~     88-330-Cr-T=jtll'

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       DATE                               PROCEEDINGS (continued)
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 6/29/90     997     PROCEEDINGS Jury trial resumed from 6/28/90
                         CR:Carol Jacobs

    7/3/90          998     PROPOSED Jury Instructions by Govn

    7/5/90          999      PROPOSED Defense Instructions(BILGRAMI)
    7/5/90         1000     JOINT requested uury instructions.{HOSSAIN, AWAN,
                                BASSAI & BOWARD)
     7/5/90        1001     RBQOBSTBD Jury instructions. {AWAN)

     7/5/90        1002      OBJECTIONS to court's proposed instructions and re-
                                 quests for additional instructions.(HOSSAIN)

     7/5/90        1003      PROPOSED defense instructions. (ARMBRBCBT'S)

     7/3/90        1004      PROCEEDINGS Jury trial resumed from 6/29/91
                                  CR: AM-Jean Wilkes
                                      PM-Sharon Riesdorph

     7/3/90        1005      PROCEEDINGS: Jury trial resumed from 7/2/9                       1



                                   AM-Norma Hatfield
                                   PM-Billie Meyers

     7/5/90        1006      MEMO in opposition to Govn requested Jury
                                  instruction #!(HASSAN)

     7/5/90        1007       THEORY of Defense(HOWARD)

     7/5/90        1008      REQUESTED Jury Instructions(HUSSAIN)

     7/6/90        1009      REQUESTED Jury instructions(HASSAN)

     7/5/90        1010      PROCEEDINGS Jury trial resumed 7/3/90
                                CR: AM-Carol Jacobs
                                CR: PM-Billie Meyers

     7/5/90        1011       PROPOSED Jury Instructions by Govn

     7/6/90        1012       PROCEEDINGS Jury Trial resumed from 7/5/90
                                  CR: Carol Jacobs
     7/9/90        1013       PROCEEDINGS Jury trial resumed from 7/6/90
                                  CR:  Carol jacobs

     7/9/90        1014       MOTION to set sentencing date(MORA)
     7/10/90        1015      JUDGMENT of Acquittal as to Count 30 (ARMBRECBT)

      7/10/90       1016      JUDGMENT of Acquittal as to Count 1 S/
                                  Wm. terrell Hodges(AWAN)(

      7/10/90       1017      JUDGMENT of Acquittal as to Count l                  (ARMBR~CH~)
                                  Wm. Terrell Hodges

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r     DATE                             PROCEEDINGS (continued)                            V. EXCLUDABLE DELAY
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    7/10/90      1018     JUDGMENT of Acquittal S/Wm. Terrell Hodges
                              as to Count !(HUSSAIN)

    7/10/90      1019    JUDGMENT of Acquittal S/Wm. Terrell Hodges
                             as to Count l(BILGRAMI)

    7/10/90      1020     JUDGMENT of Acquittal S/Wm. Terrell Hodges
                              as to Count l(BOWARD)

    7/10/90      1021     JUDGMENT of Acquittal S/Wm. Terrell Hodges
                              as to Count 1 (HASSAN)

    7/10/90      1022    PROCEEDINGS Jury Trial resumed from 7/9/90
                              CR: Carol Jacobs - AM
                                  Billie Meryers - PM

    7/11/90      1023     PROCEEDINGS Jury trial resumed from 7/10/90
                              CR: Carol jacobs-AM
                                  Billie Meyers-PM
    7/12/90      1024     PROCEEDINGS Jury Trial resumed from 7/11/90
                                  CR: Carol Jacobs AM
                                      Linda Frecka PM
    7/13/90       1025     TRANSCRIPT of Trial Proceedings held on May 22, 1990
                              before WTH Volume 71.

    7/13/90       1026   TRANSCRIPT of Trial Proceedings held on May 23, 1990
                              before WTH Volume 72.

    7/13/90       1027   TRANSCRIPT of '.!'rial Proceedings held on May 24, 1990
                              before WTH Volume 73.

    7/13/90       1028   TRANSCRIPT of Trial Proceedings held on May 29, 1990
                              Before WTH Volume 74.

    7/13/90       1029   TRANSCRIPT of Trial Proceedings held on May 30, 1990
                              before WTH Volume 75.

    7/13/90       1030   TRANSCRIPT of Trial Proceedings held on May 31, 1990
                              before WTH Volume 76.

    7/13/90       1031   TRANSCRIPT of Trial Proceedings held on June 1, 1990
                              before WTH Volume 77.

    7/13/90       1032   TRANSCRIPT of Trial Proceedings held on June 4, 1990
                              before WTH Volume 78.

    7/13/90       1033   TRANSCRIPT of Trial Proceedings held on June 5, 1990
                              before WTH Volume 79.

    7/13/90       1034   TRANSCRIPT of Trial Proceedings held on June 6, 1990
                              before \VTH Volume 80.

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET      U S. vs AM.JADA WAN, et.    aL,

      AO 256A   e
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r   DATE                             PROCEEDINGS (continued)                               V. EXCLUDABLE DELAY
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    7/13/90         1035 TRANSCRIPT of1Trial Proceedings held on June   7~   1990
                           before WTH. Volume 81.

    7/13/90         1036 TRANSCRIPT of Trial Proceedings held on June 13, 1990
                           before WTH Volume 82.

    7/13/90         1037 TRANSCRIPT of Trial Proceedings held on June 12, 1990
                           before WTH Volume 83.

    7/13/90         1038 TRANSCRIPT of Trial Proceedings held on June 15, 1990
                           before WTH Volume 84.

    7/13/90         1039 TRANSCRIPT of Trial Proceedings held on June 18, 1990
                           before WTH Volume 85.

    7/13/90         1040 TRANSCRIPT of Trial Proceedings held on June 19, 1990
                           before WTH Volume 86.

    7/13/90         1041 TRANSCRIPT of Trial Proceedings held on June 20, 1990
                           before WTH Volume 87.

    7/13/90         1042 TRANSCRIPT of Trial Proceedings held on June 21, 1990
                           before WTH Volume 88.

    7/13/90         1043 TRANSCRIPT of Trial Proceedings held on June 22, 1990
                           before WTH Volume 89.

    7/13/90         1044 TRANSCRIPT of Trial Proceedings held on June 25~ 1990
                           before WTH Volume 90.

    7/13/90         1045 TRANSCRIPT of Trial Proceedings held on June 26, 1990
                           before WTH Volume 91.

    7/13/90         1046 TRANSCRIPT of Trial Proceedings held on June 27, 1990
                           before WTH Volume 92.

    7/13/90         1047 TRANSCRIPT of Trial Proceedings held on June 28, 1990
                           before WTH Volume 93.

    7/13/90         1048 TRANSCRIPT of Trial Proceedings held on June 29, 1990
                           before WTH Volume 94.

    7/13/90         1049 TRANSCRIPT of Trial Proceedings held on July 2, 1990
                           before WTH Volume 95.

    7/13/90         1050 TRANSCRIPT of Trial Proceedings held on July 3, 1990
                           before WTH Volume 96.

    7/13/90         1051 TRANSCRIPT of Trial Proceedings held on July 5, 1990
                           before WTH Volume 97 •

    .7/13/90        1052 TRANSCRIPT of Trial Proceedings held on July 6, 1990
                           before WTH Volume 98.
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     7/13/90       1053 TRANSCRIPT of Trial Proceedings held on July 10, 1990
                          before WTH Volume 100.

     7/13/90       1054 TRANSCRIPT of Trial Proceedings held on July 11, 1990
                          before WTH Volume 101.

 07/16/90         1055 PROCEEDINGS before WTH resumed from 07/12/90.
                          Closing arguments continued. C/R Carol
                          Jacobs AM ; Norma Hatfield PM

    07/17/90      1056 PROCEEDINGS of Jury Trial resumed from 07/16/ 1 0
                          Closing arguments cont'd. Carol Jacobs
                          AM, Linda Frecka PM

     07/18/90     1057 PROCEEDINGS of Jury Trial resumed from 07/17/io
                          Closing arguments continued, Govt rebuttal.
                          C/R Carol Jacobs AM; Billie Mye~s PM

     07/19/90     1058 PROCEEDINGS of Jury Trial resumed from 07/18/~0
                          Govt rebuttal; Court's instructions to the
                          jury. Jury retires to begin deliberations
                          @ 3:30 p.m. C/R Carol Jacobs AM; Linda
                          Frecka PM ..

     07/20/90      1059 PROCEEDINGS of Jury Trial resumed from 07/19/90.
                           All deliberating jurors are present in the
                           jury room for. further deliberations.
                           C/r Linda Frecka.

     07/20/90 1060       EXHIBIT LIST (HUSSAIN)

    07/20/90      1061   EXHIBIT LIST (HOWARD)

    07/20/90      1062   EXHIBIT LIST (ARMBRECHT)

     07/20/90 1063       EXHIBIT LIST (HASSAN)

    07/20/90      1064   EXHIBIT LIST (BILGRAMI)

    07/20/90      1065   EXHIBIT LIST (AWAN)

    07/20/90      1066 EXHIBIT LIST (GOVT)
    07/20/90       1066A COURT'S INSTRUCTIONS TO THE JURY.
    07/23/90       1067 PROCEEDINGS of Jury trial resumed from 07/20/ 90.
                             C/g Carol Jacobs. Jury deliberating.
     07/24/90     1068 PROCEEDINGS of Jury Trial resumed from 07/23/ ~o.
                            C/r Carol Jacobs.

     07/25/90      1069 PROCEEDINGS of Jury Trial resumed from 07/24/ 90.
                             C/R Carol Jacobs.



                                                                                     Interval    Su1n Date    Ltr. Total
                                                                              (per Section Ill     End Date   Codi Days
        Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 84 of 101 PageID 98
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET ~ U. S. vs


     AO 256A 8
                                u. s.    v. Amjad Awan, et al.                   ~88-330-CR-~
                                                                                     Yr.       Docket No.       Dot.

    DATE                           PROCEEDINGS (continued)                         V. EXCLUDABLE DELAY
                                                                                   (al         (bl      I lcl   ldl
i------~(Document No.) -----------------------i~.:-+--=""---f......:..;:;+:.:~
 07/26/90        1070   MOTION (TAMPA TRIBUNE) for Leave to Interven~
                          for the Limited Purpose of Petitioning for
                          Access and Petition for Access with Memo
                          of Law in support.
 07/26/90        1071    ORDER S/WTll for Sequestration of jury.

 07/26/90        1072    PROCEEDINGS of Jury Trial resumed from 07/25V9o~
                           Court unseals the record of the hearing
                           conducted in camera on July 25 & 26,
                           and are made a part of public record.
                           C/R Carol Jacobs.
 07/27/90 1073            PROCEEDINGS of Jury Trial resumed 07/26/90
                           C/R Carol Jacobs.·
 07/28/90 1074          PROCEEDINGS of Jury Trial resumed from 07/28/ao.
                          C/R Carol Jacobs. Jury announced at 6:28 p~
                          they had reached their verdict by passing
                          a note to CSO.
 07/29/90 1075          PROCEEDINGS of Jury Trial resumed from 07/28/~0.
                          C/R Carol Jacobs. Jury retruns verdict in
                          open court. Defts adjudged guilty as to eacp
                          count. Deft was found guilty. Referred
                          to PO for PSI. Defts granted 30 days to
                          post trial motions. Govt's motion to
                          remand defts to custody - GRANTED.
                          Sentencing to be set by separate notice.
 07/29/90 [076          VERDICT Guilty as to counts 2, 5, 6, 7, 9,
                          11, 12, 16, 20, 21, 22, 24, 26, 27     &   31.
                          (AMJAD AWAN)
 07./29/90 1077 VERDICT Guilty as to count 2, 3, 4, 5, 6, 7,
                  8, 9, 15, 17, 18-1, 18-2, 19, 20, 21, 22,
                  23, 24, 30, 32 & 33. (SYED AFTAB HUSSAIN)

 07/29/90        1078 VERDICT Guilty as to counts, 2, 5, 6, 7, 8,
                        9, 11, 12, 13, 16, 17, 20, 21, 22, 23, 24,
                        26, 27, 28, 31, 32. (AKBAR A. BILGRAMI)

 07/29/90    ~079       VERDICT Guilty as to counts 2, 11, 12, 13,
                          14, 26, 27, 28, 29. (RUDOLF ARMBRECHT)

 0~/29/90    ~080       VERDICT Guilty as to Counts 2, 16, 31, & 33.
                          Not guilty as to counts 11, 18-1 and 26.
                          (SIBTE HASSAN)
  07/29/90~081          VERDICT Guilty as to Counts 2, 11, 16, 26 &
                          31. (IAN HOWARD)


                                                                             Interval      Start Date   Ltr. Total
                                                                      (per Section 111      End Date    Codi Day
             Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 85 of 101 PageID 99

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
       AO 256A
r                                       PROCEEDINGS (continued)                               V. EXCLUOABLE OELAY
      DATE
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    07/30/90     1082 NOTICE of Sentencing set for October 3, 1990
                           at 8;30 a.m. before Judge Hodges.
                           (AWAN, BILGRAMI, HUSSAIN, HASSAN, HOWARD
                           L·ARMBRECBT )~

    07/30/90     1083 TRANSCRIPT of Trial Proceedings held 07/12/90
                           Volume 102.

    07/30/90     1084 TRANSCRIPT of Trial Proceedings held 07/16/90
                           Volume 103.
    07/30/90     1085 TRANSCRIPT of Trial Proceedings held 07/17/90
                           Volume 104.

    07/30/90 1086       TRANSCRIPT of Trial Proceedings held 07/18/90
                             Volume 105.

    07/30/90 1087       TRANSCRIPT of Trial Proceedings held 07/19/90
                            Volume 106.

    07/30/90 1088       TRANSCRIPT of Trial Proceedings held 07/24/90
                             Volume 108.

    07/26/90 1089       TRANSCRIPT of Trial Proceedings held 07/25/90
                             Volume 109.

    07/26/90 1090       TRANSCRIPT of Trial Proceedings held 07/25/90
                             Volume 109- Part 2.

    07/26/90 1091       TRANSCRIPT of Trial Proceedings held 07/26/90
                             Volume 110

    07/30/90 1092       TRANSCRIPT of Trial Proceedings held 07/27/90
                             Volume 111.

    07/30/90 1093       TRANSCRIPT of Trial Proceedings held 07/29/90
                             Volume 112.

     07/31/90 1094       NOTICE of Sentencing set for October 3, 1990
                              at 1:30 p.m. before Judge Hodges.
                              (GONZALO MORA, JR)                                                      \
                                                                                                          \
     07/30/90 1095      JUDGMENT S/WTB of Acquittal Ordered and                                               \
                            Adjudged that the deft Sibte Hassan
                            is not guilty of the offense as charged
                            in Counts 11, 18-1 and 26.  (SIBTE HASSAN)
    08/02/90     1096    RECEIPT (GOVT) of Exhibits. All Govt's tria
                             exhibits returned to the Govt.

    08/02/90     1097    MOTION (IAN HOWARDl for Arrest of Judgment.

    08/02/90     1098    MOTION (IAN HOWARD) for NEW Trial.

                                                                                        Interval     Stan Date    Ltr. Total
                                                                                  fper Section Ill    End Date    Code Davi
             Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 86 of 101 PageID 100

    UNITED STATES DISTRICT COURT
    CRIMINAL DOCKET ~ U. S. vs

                               U. S. v. AMJAD AWAN, et al.
                                                                                              ~88-330-CR-T~
                                                                                                  Yr.       Docket No.      Def.
           AO 256A $
    r     DATE                                 PROCEEDINGS (continued)                         V. EXCLUOABLE DELAY
                                                                                                la)        '(bl     I le)   Id) .•
                       IOok'Wlf"' No.I
     08/07/90          lU~~        MOTION (BILGRAMI) for Release of Real        Proper~y.

     08/08/90          1100        JOINT MOTION (AWAN, HUSSAIN, BILGRAMI, HASSA~,
                                     & HOWARD)for Bond Pending Sentence and
                                     Request for a Hearing.

*    08/03/90          1101        VOUCHER for Payment of Interpreter - Sue
                                     Hamer for translation of doc~ments. $110.0)

     08/14/90          1102       EMERGENCY MOTION (GOVT) to Remove Exhibit
                                    for Use in-Foreign Judicial Proceeding
                                    AND Law in Support thereof.

     8/15/90           1103         ORDER(EAK) regarding response to Motion for
                                         release of Govn trial exhibit 304A
        8/17/90        1104        ORDER(EAK) regarding release of Govn exhibit 304A

        8/15/90        1105        VOUCBBR for Interpreter $110.00 S.Hamer

     08/24/90          1106       MOTION (GOVT) to Remove Trial Exhibits for
                                     Use in Foreign Judicial Proceedings, Law
                                     in Support Thereof and Request for
                                     Expedited Ruling.
        08/27/90       1107        ORDER S/WTH Regarding Motion to remove Trial
                                     Exhibits for Use in Foreign Judicial Pro-
                                    ceedings, Law in support thereof and requesw
                                    for expedited ruling.

        08/29/90 1108             JOINT MOTION (AWAN, HUSSAIN, BILGRAMI, HASS.M,
                                     HOWARD, ARMBRECHT) for a New Trial Due to
                                     Jury Misconduct and Memo of Law.

        08/28/90 1109            MOTION (GOVT) for Extension of Time to Respond
                                    TO Defts' Motion for Bond Pending Sentence
                                    and Request for Hearing.

        08/28/90       1110 MOTION (HASSAN) for Judgment of Acquittal
                               or, in the Alternative, New Trial.

        08/28/90       1111 JOINT MOTION (AWAN, BILGRAMI, HOWARD, HUSSAIN)
                               for Judgment of Acquital or in the
                               alternative, a new trial.

         08/29/90 1112 JOINT MOTION (AWAN, BILGRAMI, HASSAN, HOWARD
                          HUSSAIN) for an Evidentiary Hearing Con-
                          cerning Improper Targeting by the Govt.
        08/31/90       1113 /ORDER SJWTH Regarding Release of trial Exhib ts.
        08/31/90       1114        JOINT MOTI:ON(AWAN, ARMBRECHT, BILGRAMI, HASS \N,
                                     HOWARD & HUSSAIN) to Continue Sentencing.
                                                                                         Interval       Stan Date    Ltr. Tot.i
                                                                                  (per Section 11 I      End Date   Cod~ Days
          Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 87 of 101 PageID 101
UNITED STATES DISTRICT COURT                                                                   88-330-CR-T-13
CRIMINAL DOCKET
                          U. S. v. AMJAD AWAN, ET AL.
        AO 256A
r     DATE                              PROCEEDINGS (continued)                         V. EXCLUDABLE OELAY
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    09/11/90      1115     REQUEST {GOVT) for Extension of time to
                             Answer Defts' Post Trial Motions filed as
                             of September 11, 1990.

    09/11/90      1116 RESPONSE {GOVT) to Defts' Joint Motion to
                          Continue Sentencing.

    09/19/90      1117    ORDER S/WTH Request for Extension of Time to
                            Answer to Defts' Post Trial Motions as of
                            September 11, 1990 is GRANTED. Govt is
                            directed to file its responses by COB on
                            09/21/90.
     09/19/90 1118         ORDER S/WTH Joint Motion to Continue Sentencing
                             GRANTED. Sentencing not to occur before
                             November 14, 1990 and to be set by separate
                             notice.
     09/21/90     1119    RESPONSE to deft. Hassan's motion for judgment of
                              acquittal or, in the alternative, new trial by the
                              govt.
     09/21/90     1120    RESPONSE to deft. Howard's motion for arrest of judg-
                              ement by the govt.
     09/21/90     1121    ANSWER to joint motion for a new trial due to jury mis-
                              conduct by the govt.
     09/21/90     1122     RESPONSE to defts. 1 joint motion for an evidentiary
                               hearing concerning improper targeting by the govt.
     09/21/90     1123     RESPONSE to defts.• joint motion for judgment of acqu-
                               ittal, a new trial by the govt.
     09/21/90     1124     RESPONSE to deft. Howard's motion for a new trial by
                               the govt.
     09/24/90     1125     NOTICE(W".rll) sentencing on 11/30/90 at 8:45 A.M.
                               (AWAN, BILGRAMI, HUSSAIN, HASSAN, BOWARD & ARMBRB-
                                cht)
    09/26/90      1126     NOTICE of Sentencing reset for October 2,
                              1990 at 9:30 a.m. before Judge Hodges.
                              {GONZALO MORA, JR.)
     9/26/90      1127      DEPT.'S joint request regarding proposed sentencing
                               date. (ARMBRBCBT, AWAN,BILGRAMI, HASSAN, BOWARD
                                       & HUSSAIN)
 10/02/90          1128    PROCEEDINGS of Sentencing before judge Hodge;.
                               Committed to 151 months each count
                               concurrently. Court recommends FCI, Tall
                               Supervised release for 3 yrs. Special
                               Ass. $1,650.00. Deft remanded to custody.
                               C/R Carol Jacobs.  {GONZALO MORA, JR.)




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                                                                           (per Section 11 I     End Date        Code Oavs
        Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 88 of 101 PageID 102

UNITED STATES DISTRICT COURT                                                             ~                  .       ;ll
CRIMINAL DOCKET ~U.S. vs                                                                         88-330-Cr-i'-J4(B)
                                  AMJAD AWAN, et.al.
      AO 256A   e
,--~~.!!:.::::.,:._.....J:......~~~~~~~~~~~~~~~~~~~~~~~~.,
                                                                                         "       Vr.   I   Docket No.   IOef.
    DATE                                 PROCEEDINGS (continued)                             V. EXCLUDABLE DELAY
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 10/3/90            1129   JUDGMBRT order under the sentencing reform act.
                               (MORA)

 10/4/90        1130       TRANSCRIPT of Sentencing dated 10/2/90(MORA)

 10/05/90           1131   TRANSCRIPT of Sentencing dated October 2, 1990
                              before judge Hodges. (GONZALO MORA, JR.)
 10/05/90           1132   TRANSCRIPT of Trial Proceedings held            02/22/9~
                              before Judge Hodges. Volume 21.
 10/05/90           1133   TRANSCRIPT of Trial Proceedings held 02/23/9)
                              before Judge Hodges. Volume 22.
 10/05/90           1134   TRANSCRIPT of Trial Proceedings held 02/26/9)
                              before.Judge Hodges. Volume 23.
  10/05/90 1135            TRANSCRIPT of Trial Proceedings held 03/1/90
                              before Judge Hodges. Volume 26.
 10/05/90           1136   TRANSCRIPT of Trial Proceedings held            03/02/9~
                              before Judge Hodges. Volume 27.
 10/05/90           1137   TRANSCRIPT of Trial Proceedings held            03/05/9~
                              before Judge Hodges. Volume 28.
  10/05/90 1138            TRANSCRIPT of Trial Proceedings held            03/12/9~
                              before Judge Hodges. Volume 32.
 10/05/90       1139       TRANSCRIPT of Trial Proceedings held 03/19/9
                              before Judge Hodges. Volume 35.
  10/05/90 1140            TRANSCRIPT of Trial Proceedings held 04/05/91 •
                              before Judge Hodges. Volume 47.
  10/05/90 1141            TRANSCRIPT of Trial Proceedings held 07/09/91
                              before Judge Hodges. Volume 99.
  11/7/90           1142   PARTIAL satisfaction of judgment by the govt.
                               (BCC:I - S.A.)
  11/7/90           1143   PARTIAL satisfaction of juddgment by the govt.
                               (BCCI - overseas LTD)
  11/7/90           1144   JO:IN'l' motion to unseal pleadings and transcripts.
                                 ( ANAH, BILGRAM:I, HASSAN HUSSAIN, BOWARD & ARMBRE-
                               CBT)

  11/7/90       1145       MOTION for return of expirfed letters of credit.
                               (BCC:I - Limited - overseas)
  *10/31/90     1146       ORDBR(WTB) joini motion for judgment of acquittal or,
                               in the alternative, for new trial =denied - ordeis
                               denying recusal to be unsealed - (Continued flip eide~

                                                                                    Interval           Start Date   Ltr. Totlt
                                                                              lper Section Ill           End Date   Code Dav•
           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 89 of 101 PageID 103
UNITED STATES DISTRICT COURT             AMJAD AWAN, et.al.                             88-330-Cr-T-13B
CRIMINAL DOCKET
        AO 258A
r      DATE                            PROCEEDINGS (continued,

                                                                                                                         . I
 10/31/90         1146 continued order - Motion for new trial due to jury mis=
                           conduct = denied. Joint motion for an evidentiary
                           hearing concerning improper targeting by the govt.
                           = denied. Motion for judgment of acquittal or, in
                           the alternative, for new trial by deft. HASSAN =
                           denied. Deft. Howard's motion for new trial = denie~ •
                           Deft. Howard's motion for arrest of judgment = deni1 d.

    **2/6/90      1147   JOINT defts.' motion for recusal.(BUSSAIN, AWAN, BILG-
                             RAMI, HASSAN & BOWARD)

    **2/6/90      1148   ORDER(WTB) motion for recusal     = denied.
    **2/20/90     1149   DEPTS.' joint motion for mistrial and recusal.(BUSSAIN
                             & BILGRAMI)
    **2/21/90     1150   ORDER(W'l'B) Joint motion for mistrial and recusal =
                             denied. (HUSSAIN & BILGRAMI)

 11/19/90         1151 TRANSCRIPT of trial proceedings held 01/26/90
                          before Judge Hodges. Volume 5.

11/19/9011        1152 TRANSCRIPT of Proceedings in Chambers held
                         01/29/90 before Judge Hodges.
 11/20/90         1153   RESPONSE to BCCI'S motion for return of expired letters
                             of credit by the govt.
 11/54/90         1154   RESPONSE to defts.' joint motion to unseal pleadings
                             and transcripts by the govt.
 11/20/90         1155   MOTION for leave to file memo. aid of sentencing in
                             excess of 20 pages. (BILGRAMI)
 11/20/90         1156   MOTION to tax defts. for costs of prosecution by the
                             govt.(AWAN, HUSSAIN, BILGRAMI, HASSAN, BOWARD &
                             ARMBRBCBT) ( PILBD IN SEPERATB POLDBR)

 11/20/90         1157   ORDBR(WTB) motion for leave to file memo. in aid of
                             sentencing in excess of 20 pages = granted.
                             (BILGRAMI)
    11/21/90      1158   ORDBR(W'l'll) joint motion to unseal pleadings and trans-
                             cripts granted in part and denied in part.(See
                             order for specifics) (AWAH, BILGRAMI, HASSAN, BUSS·
                             AIN, BOWARD & ARMBRECBT)
    11/21/90      1159   MEMO. in aid of sentencing.(BILGRAMI) (IN SEPERATE FOL
                             DER)
    11/21/90      1160   SENTENCING memo. of deft. (AWAN)(FILED IN SEPERATE FOL
                             DER)
    11/21/90      1161   MEMO. in aid of sentencing. (HUSSAIN)
    11/27/90      1162   SUPPLEMENTAL sentencing memo. of AMJAD AWAN. (FILED
                             in seperate folder)
    11/27/90      1163   OPPOSITION to govt.'s motion to tax defts. for costs
                             of prosecution. {BILGRAMI)

                                                                                  Interval     Stan Date    Ltr. Total
                                                                            (per Section Ill     End Date   Codi Days
        Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 90 of 101 PageID 104
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET   ~ U. S. vs
                                      AMJAD AWAN, et .al.
                                                                                        ~ 88-330~T-1lii
,    AO 256A   e     v                                                                      Yr.       Docket No.

                                                                                         V. EXCLUDABLE DELAY
                                                                                                                   Dof.


    DATE                               PROCEEDINGS (continued)
                                                                  (al  lbl 1 le) Id)
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 11/27/90           1164   SBNTBNCING memo. (HASSAN)    (FILED IN SEPERATE FOLDER)
 11/29/90           1165 RESPONSE (GOVT) to Deft's Arguments Concerning
                             Constitutionality of Sentencing Guidelin~s
                             Increase of Offense Level Pursuant to
                             Section 251.1, and Request for Departure
                             based on "Sting" Nature of Undercover
                             Operation.
 11/30/90          1166    NOTICE OF APPEAL (AWAN)

 11/30/90          1167    OPPOSITION to Govn Motion to Tax Defts for
                                costs of prosecuticin(AWAN)

 11/30/90          1168    MOTION to terminate mortgages on personal
                                 property(AWAN)
 11/30/90          1169    SENTENCING Proceedings(ARMBRECHT)
                             Adjudged guilty
                             Imprisonment: ·count 2 - 60 months
                             Counts ll,12,13,14,26,27,28,29- 151 months
                             concurrent w/each other & count 2.
                             3 yrs supervised release
                             Fine $200,000.00/Remanded to US Marshal
 11/30/90          1170    SENTENCING Proceedings(HOWARD)
                             Adjudged Guilty
                             Judgment: Count 2,11,16, 26, 31 - 57 montha
                             concurrent with each other/ 3 yrs supervis~d
                             release./Remanded to US marshal

 11/30/90          1171    SENTENCING Proceedings(S.HASSAN)
                             Adjudged Guilty
                             Judgment: 37 months Counts 2,16,31,33
                             all concurrent w/3 yrs supervised release
                             Remanded to U. s. Marshal

 11/30/90          1172    SENTENCING Proceedings (BILGRAMI)
                             Adjudged Guilty
                             Judgment: - Count 2 - 60 months
                             Counts 5,6,7,8,9,11,12,13,16,17,20,21,22,
                             23,24,26,27,28,31,32 - 144 months all
                             concurrent and 3 yrs supervised release
                             Remanded to U. s. Marshal
 11/30/90          1173    SENTENCING Proceedings(HUSSAIN)
                             Adjudged Guilty
                             Judgment: Count 2 - 60 months
                             Counts 3,4,5,6,7,.8,9,15,17,18.1,18.2,19,
                             20,21,22,23,24,30,32,33 - 87 months w/
                             3 yrs supervised release all concprrent.
                             Remanded to U. s. Mrashal
                                                                                                                           I
                                                                                   Interval       Stan Dato   Ltr. Totaf   \
                                                                            (por Section II I      End Dato   Codi Dav•    :
             Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 91 of 101 PageID 105
UNITED STATES DISTRICT COURT              AMJAD, AWAN, et.al.                   88-330-Cr-T-l.JB
CRIMINAL DOCKET
       AO 258A
r     DATE                           PROCEEDINGS (continued,                         V. EXCLUOABLE OELAY
                                                                        fa)   lbl    lcl ldl
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    11/30/90     1174   SENTENCING Proceedings(AWAN)
                          Adjudged Guilty
                          Judgment: Count 2 - 60 months
                          Counts5,6,7,9,ll,l2,16,20,21,22,24,26,27,3
                            144 months -concurrent and 3 yrs supervisE d
                          release: FINE: $100,000.00
                          Remanded to US marshal

    12/04/90      1175 JUDGMENT S/WTH in a Criminal Case with State-
                         ment of Reasons attached. Same as docket
                         entry # 1174. Mfilm 99, 1448. (AMJAD AWAN)

l.2/04/90         1176 JUDGMENT s./WTH in a Criminal Case with
                         Statement of Reasons attached. Same as
                         docket entry # 1170. Mfilm 99, # 1427.
                          (IAN HOWARD)

    12/04/90      1177 JUDGMENT S/WTH in a Criminal Case with
                         Statement of Reasons attached. Same as
                         docket entry # 1169. Mfilm 99, 1431.
                          (RUDOLF ARMBRECHT)

    12/04/90      1178 JUDGEMENT S/WTH in a Criminal Case with
                         Statement of Reasons attached. Same as
                         docket entry # 1173. Mfilm 99, 1436.
                          (SYED AFTAB HUSSAIN)

    12/04/90      1179 JUDGMENT S/WTH in a Criminal Case with
                         Statement of Reasons attached. Same as
                         docket entry # 1171. Mfilm 99, 1440.
                          (SIBTE HASSAN)

    12/04/90      1180 JUDGMENT S?WTH in a Criminal Case with
                         Statement of Reasons attached. Same as
                         docket entry # 1772. Mfilm 99, 1444.
                          (AKBAR A. BILGRAMI)
    12/06/90     1181   TRANSCRIPT of Sentencing Proceedings held
                          11/30/90 before Judge Hodges. (AWAN, HUSSA N,
                          BILGRAMI, HASSAN, HOWARD AND ARMBRECHT)
    12/6/90      1182   MOTION for stay of imposition of fine pending commen-
                            cement of supervised release, or in the alterna-
                            tive, pending appeal. (At'IAN)
    *10/29/90    1183   VOUCHER f~r interpreter services in the amount of
                            $55.00 . (MORA)
     12/6/90     1184   NOTICE of appeal. (HUSSAIN)

     12/3/90     1185   NOTICE of appeal.(BILGRAMJ:)

     12/4/90     1186   NOTICE of appeal.(BASSAH)

     12/6/90     1187   NOTICE of appeal. (ARMBRBCBT)

                                                                               Interval    Stan Date    Ltr. Total
                                                                        fper Section Ill     End Date   Coth Davs
        Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 92 of 101 PageID 106
UNITED STATES DISTRICT COURT                                                             ~                           ,JL
CRIMINAL DOCKET ~U.S. vs                                                                         88-330-Cr-~~B
                              AWAN, AMJAD
      AO 256A $
 _..-.::::...:::=:;;:.,:....~t...-~~~~~~~~~~~~~~~~~~~~~-,
                                                                                         '-      Yr.   I    Docket No.         10er.
/"   DATE                                PROCEEDINGS (continued)                           V. EXCLUDABLE DELAY
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 12/07/90         1188    HOTICB OP APPEAL filed. (HOWARD)

 12/10/90         1189    'l'RANSMJ:'l'TAL to USCA forwarding initial appeal package
                               AIS mailed. (ct rep. Carol Jacobs) Notice sent to
                               Probation. (AWAN, HUSSADJ, BILGRAMI, HASSAN,
                               ARMBRBCBT, & HOWARD)

 12/17/90         1190    NOTICE of appeal from order of the district court.
                                (AWAN)
 12/17/90         1191    JlJDGMBHT order returned executed on 12/15/90 to USP
                               Atlanta, Ga. (BILGRAMI)
 12/17/90         1192    JUDGMENT order returned executed on 12/15/90 to USP
                              Atlanta, Ga. (HUSSAIN)
 12/17/90         1193    JUDGMENT order returned executed on 12/15/90 to USP
                               Atlanta, Ga. (HASSAN)
 12/17/90         1194    JUDGMENT order returned executed on 12/15/90 to USP
                               Atlanta, Ga. (HOWARD)
 12/17/90         1195    JlJDGMBHT order returned executed on 12/15/90 to       USP
                               Atlanta, Ga. (ARMBRBCBT)
 12/17/90         1196    JlJDGMBHT order returned executed on 12/15/90 to USP
                               Atlanta, Ga. (AWAN)

 12/18/90         1197    TRANSMJ:'l'TAL to USCA supplementing corrected Notice
                              of Appeal, doc# 1190 (AWAN)

 01/03/91         1198
                  )
                          AIS acknowledgement received on 12/27/90
                            by Carol Jacobs. No transcript needed to
                            be prepared. (AMAJAD AWAN)

 01/03/91         1199 AIS acknowledgment received on 12/27/90
                          by Carol Jacobs. No transcript needed to
                          by prepared.  (IAN HOWARD)

 1/03/91          1200 AIS acknowledgment received on 12/27/90
                          by Carol Jacobs. No transcript needed to
                          be prepared. (AKBAR A. BILGRAMI)
 01/02/91         1201 DESIGNATION (HUSSAIN) of Record on Appeal.

 01/09/91         1202 DESIGNATION (BILGRAMI, AWAN, HASSAN, HOWARD)
                         OF RECORD on appeal.
 01/17/91         1203   MOTION to reduce sentence by the govt. (MORA)

 01/.28/91        1204   CERTIFICATE OP RBADIBBSS transmitted to USCA,
                             twenty-three volumes of pleadings, one hundred
                             thirty-six volwnes of tran.sclfpts;<;a~t?~ox. eight
                             boxes of exhibits, and six sealed PSI's.
                             (AWAN, HOWARD, HASSAN, HUSSAIN, BILGRAMI, ARMBREC!r.

                                                                                     lnterv11I         Start Date   L1r. Tolal
                                                                              (per Section 111          End Date    Codi D11v
               Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 93 of 101 PageID 107

UNITED STATES DISTRICT COURT                    AMJAD AWAN, et.al.                               88-330-Cr-T-138
CRIMINAL DOCKET
        AO 258A
r     DATE                                 PROCEEDINGS (continued)                        V. EXCLUDABLE DELAY
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    1/28/91        1205    MOTION to release lien on certificate of deposit.
                               (AWAN)

    1/30/91         1206   MOTION to seal. (MORA, JR.)
    1/31/91         1207   ORDBR(WTB) motion to terminate mortgages on personal
                               property = granted. (AWAH)
    2/1/91          1208   ORDBR(WTB) govt.'s motion for reduction of sentence
                               =granted - conunitted to custody for 109 months.
                               (MORA)

    2/11/91         1209   NOTICE of change of address. (HUSSAIN)

 1/16/91*           1210   JUDGMENT order returned executed on 12/15/90 at USP,
                               Atlanta, Ga. (ARMBRECBT)

 2/13/91            1211   JUDGMENT order returned executed on 1/28/91 to FCI,
                               Talladega, Ala. (MORA)
    03/12/91       1212    MOTION by Deft for Release of Passport (HASSAN)
    03/08/91       1213    ARREST WARRANT returned unexecuted--Superseding
                                Indictment issued.   (SllAP'I)

    03-19-91       1214    .mHBRBRto motion for return of passport by the govt.
                               (HASSAN)
     3/26/91       1215     REPLY to govt.'s answer to motion for return of pass-
                                port. (HASSAN)
     4/9/91        1216     MOTION for return of cash bond. (BUSSAIH)

    04/17/91        1217     EMERGENCY MOTION (BCCI) Limited for Motion
                                for Exoneration of Bond of Iqbal Ashraf
                                & Memo.
    04/18/91       1218     ORDER S/WTB Bond posted by Iqbal Ashraf in
                              connection with the above action is hereby
                              released & exonerated pursuant to Federal
                              Rule of Criminal Procedure 46(f). All
                              collateral secured in connection with that
                              bond and for the purpose of that bond is
                              hereby release. (IQBAL·ASHRAF) ../
    04/18/91       1219    MOTION (BILGRAMI) for Release of Real Proper1y.
    4/22/91        1220    WARRANT for arrest returned executed on 4/22/91.
                                (CBINOY)

     4/22/91        1221    NOTICE(TW) detention hrg. on 4/29/91 at 10 A.M.
                               (CBINOY)
     4/22/91        1222    PROCEEDINGS(TW) initial hrg. (CBINOY)

    04/26/91        1223    MOTION (armbrecht) In Limine to Exclude Improper
                               Expert Testimony & Memo.


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         Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 94 of 101 PageID 108
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
                         U.S.vs                                                                     ~ 88-330-Cr- ~
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                      >                   AMJAD AWAN, et.al.
      .o.. _2.s&. .A-r-•---'----------------------------.. .'" V. EXCLUDABLE
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                                                                                                        Yr.       Docket No.
      DATE                                 PROCEEDINGS (continued)
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 *4/25/91        1224      ORDBR(W'l'll) for release of real property.(BILGRAMI)

     4/29/91     1225      SUPPLBMBliTAL TO CBRTIPICA'l'B OP RBADIBBSS, one volume
                             of pleadings. (ARMBRBC'l', et a1.)
     4/29/91     1226      PROCEBDIRGS: Detention hrg. - deft. ordered detained
                               .(TW)   (CBINOY)
     4/29/91     1227       NO'l'ICB(TW) arraignment on 5/8/91 at 10:00 A.M.(CBIN01)

     4/29/91     1228       ORDBR(TW) of detention, (CBIHOY)

     5/1/91       1229      ORDBR(WTB) motion for return of cash bond              = granted.
                                (HUSSAIN)
     5/1/91       1230      ORDBR(WTB) motion for return of passport·= granted.
                                (HASSAN)

      5/8/91      1231      NO'l'ICB(TW) arraignment on 5/22/91 at 10:00 A.M.
                                  (CBINOY)
      5/8/91      1232       ARRAIGNMBNT(TW) proceedings: (CBINOY)
                                 Continued - 5/22/91 at 10:00 A.M.

      5/15/91     1233       MO'l'ION for release of property. (HASSAN)
      5/22/91     1234       APPEARANCE of counsel. (CBINOY)
      5/22/91     1235       A.RRAIGNMBHT proceedings: (CBINOY)
                                  Arraigned and plead not guilty.

      5/28/91     1236       ORDBR(WlB) setting trial for July 1,8 & 15, 1991;
                                 Status conf. set for June 19, 1991 at 4:30 P.M.
                                 (CBINOY)

      5/31/91     1237       AGREED motion for extension of time in which to
                                 file pre-trial motions and request to exclude
                                 time under the speedy trial act, and memo.
                                 (CBINOY)

      6/10/91     1238       AGREED motion for continuance of trial, and memo.
                                 (CBINOY)
      6/17/91     1239       ORDER(WTB) motion for continuance of trial = grante~
                                 until the Sept. trial term. (CBINOY)
      6/17/91      1240      ORDBR(wrB) setting trial for Sept. 2,9 & 16, 1991;
                                 Status conference Aug. 14, 1991 at 4:30 P.M.
                                 (CBINOY)
       7/10/91     1241      ORDBR('l'W) agreed motion for extension of time in
                                 which to file pre-trial motions and request to
                                 exclude time under the speedy trial act = grant
                                 ed - to be filed on or before B/2/91.(CBIROY)

       7/ll/91     1242       ORDBR(lf1'Jlmotion for release of property = granted
                                 the govt. to executed and deliver to the deft.
                                 a satisfaction of mortgate. (BASSAH)


                                                                                               Interval       Start Date     Ltr. Total
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           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 95 of 101 PageID 109
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UNITED STATES DISTRICT COURT                                                          88-330-Cr-T-p
                                          AMJAD AWAN, et.al.
CRIMINAL DOCKET
     AO 268A           (BCCI,   et.~l.)

                                          PROCEEDINGS (continued)                       V. EXCLUDABLE OELA Y
    DATE


 7/26/91       1243    MOTION for substitution of counsel. (CBINOY)
 7/29/91       1244    STIPULATION for substitution of counsel. (CBINOY)

 7/30/91       1245    ORDBR(wrB) for substitution of counsel= granted.(CBIHO)
 B/l/91         1246   ORDBR('l'll) deft.'s agreed motion for extension of time
                          in which to file pre-trial motions and request to
                          exclude time under the speedy trial act to 12/2/91,
                          = granted. (CBIHOY)
 10/2/91        1247    SATISFACITOH of Mortgage (HASSAN)

 10/2/91        1248    SATISFACTION of Mortgage(BILGRAM.I)

 10/2/91        1249    SATISFACTION of Mortgage(AWAH)

 10/2/91        1250    SATISFACTION of Mortgage(BASSAH

  10/10/91      1251    STIPULATED motion for return of the deft's passport
                             (BILGRAMI)

 11/1/91       1252     AGRBBD MOTION to schedule a re-sentencing hearing
                             with at least two weeks notice to the Gov't and
                             deft. (ARMBRBCBT)

  11/20/91      1253    BMBRGBNCY MOTION (BAZIR CBIHOY) to Continue Trial Date &
                           Time in Which to file Pretrial motions & Supporting
                           Memorandum. Reques for Oral Argument & Expedited
                           Hearing. (Filed In Separate Folder)

  11/21/91     1254    RESPONSE by Gov't to Chinoy's second motion to con-
                          tinue.

  11/22/91     1255     ORDBR (RWN) The trial in this case is continued from
                             the Court's January 1992 trial calendar to the
                             February 1992 trial calendar commencing Feb. 3,
                             1992. The time within which pretrial motions may
                             be filed is hereby extended from 12/2/91, to
                             12/13/91. (CBIHOY)

  11/22/91     1256     PROCEEDINGS from 11/22/91 Deft's motion to continue
                             trial. C/R Dennis Miracle. (CBIHOY)


  1/27/91       1257     NOTICE gf Rearraignment set for December 2,                   99             .
                           at 4:30 p.m. before Judge Nimmons. (NAZIR
                           CHI NOY)
  12/2/91       1258    PROCEEDINGS from Re-Arraignment held on 12/2 before
                             Judge Nimmons. Guilty plea entered as to Counts
                             2,10 & 14 of the 1st Sups. Indictment. Sentencing
                             set for 4/3/91 at 4:30 P.M. Factual Basis est-
                             ablished, adjudication of guilt made. Deft. re-
                             manded to custody. (NAZIR CBIHOY)
                                                                                  Interval     Stan Oat11     Lrr. Total
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          Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 96 of 101 PageID 110

UNITED STATES DISTRICT COURT·                                                               ~
CRIMINAL DOCKET [\ U. S. vs           AMJAD AWAR, et al                                     ,           88-330-cR-T-21

      AO 258A •          V                                                                 \..    Yr.   I   Docket No.     !Def.
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l2/2/91           1259        PLBA AGRBBMBHT (CllIROY)

l2/2/91           1260        COPY of letter dated 5/16/91 to Mr. Weinberg from
                                   Michael L. Rubinstein marked as stipulated
                                   exhibit i2 to plea agreement. (filed per Judge)
                                   (CBDIOY)

12/2/91           1261       MOTION by Gov't under sentencing guidelines §5Kl.l
                                   (CBDTOY)

12/2/91       1262           HOTICB of sentencing set for April 3, 1991 @4:30 P.M.
                                   (CHDIOY)

12/2/91       1263           MOTION by Gov't for reduction of sentence (SIBTE    BASSA~)


12//5/91      1264           MOTION to unseal rule 35 filings on Awan and Hussain
                                  for the limited purpose of providing discovery
                                  in U.S. v. Noriega, by Govt. (AWAB,BUSSAIB)

 12/23/91     '265           MOTION for modification of sentence by the govt.
                                 ( ARMBRBCBT)

01/07/92          1266 ORDER S/WTH Clerk is directed to unseal &
                          publicly file the Rule 35 motions filed
                          by the Govt. Memoranda & other papers in
                          support of the motions shall be retained
                          in camera. (HASSAN/BILGRAMl/HUSSAIN)
01/08/92          1267 RULE 35(b) MOTION (GOVT) 2-Point Reduction
                          Sought. Original filed in camera on 11/07~91.
                          (SIBTE HASSAN)
 01/08/92         1268 RULE 35(b) MOTION (GOVT) 4-Point Reduction
                          Sou2ht. Original filed in camera on 11/07/~l.
                          (SYED AFTAB HUSSAIN)
 01/08/92         1269 RULE 35(b)MOTION (GOVT) 6-Point Reduction
                          Sought. Original filed in camera on
                          11/07/91. (AKBAR J. BILGRAMI)
 /9/92        1210           BNRY OP DISMISSAL PROM USCA - Pursuant's to the
                                 appellant's motion for voluntary dismissal,
                                 Fed. R. App. P. 42 & 11th Cir. R. 42-l(a), the
                                above-referenced appeal was duly entered dismissed
                                 this 7th day of January, 1992. (ARMBRBCBT)

 01/27/92         1271 ORDER S/WTH Sealed portions of the Rule 35
                          filings concerni~g Defts Awan and Hussain
                          are hereby unsealed for the purpose of
                          providing discovery in the case US v.
                          Noriega, pending in the S. D. of Fl.
                          (AWAN/HUSSAIN)
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           Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 97 of 101 PageID 111

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET          u. s. v.   AWAN t et al .                                            88-330-CR-T-21
     AO 268A

                                     PROCEEDINGS (continued)                           V. EXCLUDABLE OELAY
    DATE                                                                               la)

01/28/92       1272    ORDER S/WTH Motion under Rule 35(b) is GRANTEH &
                        the judgment entered on 12/04/90 is hereby
                        Modified and Amended to provide that the def
                        is committed to the custody of the BOP for a
                        term of 24 months or until otherwise dischari,ed
                        according to law. All other terms & condit ont
                        of such judgment shall remain undisturbed.
                        (SIBTE HASSAN)
01/28/92       1273     ORDER S/WTH Motion under Rule 35(b) is GRANTEII &
                         the judgment entered on 12/04/90 is hereby M<•di ied
                         & AMended to provide that the deft is commitled
                         to the custody of the BOP for a term of 78
                         months or until otherewise discharged accord ng
                         to law. All other terms and conditions of
                         such judgment shall relmain undisturbed.
                         (AKBAR A. BILGRAMI)
 ll/28/92      L274 ORDER S/WTH Motion under Rule 35(b) is GRANTED
                      and the judgment entered on 12/04/90 is
                      hereby modified & amended to provide that thE
                      deft is committed to the custody of the BOP
                      for a term of 78 months or until otherwise
                      discharged according to law. All other termt
                      & conditions of such judgment shall remain
                      undisturbed. (RUDOLF ARMBECHT)
  01/28/92 l275 ORDER S/WTH Motion under Rule 35(b) is GRANTED
                  & judgment entered on 12/04/90 is hereby
                  modified & amended to provide that the Deft
                  is committed to the custody of the BOP for
                  a term of 46 months or until otherwise dis-
                  charged according to law. All other terms &
                  conditions of such judgment shall remain
                  undisturbed. (SYED AFTAB HUSSAIN)

  2/5/92       1276    TRABSMIT'.l'AL forwarding record on appeal to USCA.
                            Record consist of 23 Vols. of pleadings,
                            136 Vols. of Transcripts, & 5 sealed PSI's.
                            Exhibits (Approx 8 boxes to be sent under separate
                            cover. (AWAH,BOWARD, BASSAH, JUSSADJ, BILGRAMI)

 2/19/92        1277   EMERGENCY MOTION for specific conditions of incarcer-
                           ation, and memo of law (CBIHOY)

 2/19/92        1278   RESPONSE to Chinoy's motion for specific conditions
                           of incarceration, py:al:Jv·~t.

 2/20/92        1279   ORDER (WTB) Deft's moton for return of passport to
                           his counsel of record is GRAR'l'BD. (BILGRAMX)



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            Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 98 of 101 PageID 112

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET      U.S. vs USA VS AWAH, et al.                                                                                       .   ~ 88-330-CR-T-21(8
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r DATE              -~        PROCEEDINGS (continuedt               V. EXCLUDABLE DELAY
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2/21/92        1280       ORDER (RWH) concerning conditions of confinement
                             (see file for details) (CBIBOY)

3/3/92         1281       REQUEST for ruling on motion (CBINOY)

  03/05/92     282         MOTIOR (CBINOY) to Reassign Case & Memo in Support.

3/9/92         ~283        RBSPONSB by Govt/ to deft's motion to reassign.
                                (CBIROY)
 03/16/92      1284       REQUEST (GOVT) for Thirty-Day Continuance of Sentencirg
                             (CB:IBOY)

03/24/92       1285        RESPOBSB to Government's motion for continuance of
                              sentencing.. (CBIBOY)

~/26/92        1286        NOTICE of sentencing (Time change only) 4/3/92 at
                                10: A.M. (CBIBOY)
~/30/92        1287       SUPPLBMBBT to Govt's motion for continuance and to
                               deft's motion to reassign. (CBIBOY)

 4/2/92        1288        BMBRGEBCY MOTJ:OB to permit Mr. Chinoy to leave
                                Brooksville facility to undergo cardiological
                                examination. (CB:IBOY)(Copy hand delivered to
                                chambers)

 4/7/92        1289        ORDBR(RWH) That this case, pursuaNt to Local Rule
                                Rule 1.03, is hereby reassigned to the Honorable
                                Wm. Terrell Hodges, with his consent. (as to
                                this deft. only.) (CBIBOY)

  4/22/92      1290        NOTICE of sentencing - June 5, 1992 at 2:30
                               P.N., before Judge Hodges in Tampa.
                               (CHINOY)
1,4/28/92      1291        MOTION to reschedule sentenc~pg                                 .~ ~emo·                       of
                                Law. (CHINOY)   ·
 5/1/92        1292        BOTICE(WTB) re-sentencing on 5/29/92,
                                   •   •   • :   :   ,•   t... • .
                                                          • -   _J   .
                                                                     -
                                                                       at 2:30 pm.
                                                                         •   • •   •   -   f .,   •.. ' f   ' . •,   ·'


                               (CBINOY)                            . _ ...... .

 5/27 /92      1293        MOTION TO FILE SENTENCING MEMORANDUM UNDER
                                Seal.  memorandum.. &. .....
                                ( CHINOY)               nr9nosed
                                                             ~ ' . '.
                                                                      .. or."1~r.
                                                                            ~              j ••   I            •               '. .•   •




 5/28/92       1294        EMERGENCY MOTION of Deft. Nazir Chinoy
                                to specifically enforce plea agreement
                               because of Govt. bad faith, & memo of
                                law. (CHINOY)



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          Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 99 of 101 PageID 113

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
        AO 268A
r     DATE                             PROCEEDINGS (continued,                                   V. EXCLUDABLE DELAY
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    5/28/92       1295     RESPONSE (GOVT) to Chinoy's motion to en-
                               force plea agreement (CHINOY)
     5/29/92      1296    NOTICE(CHINOY) of filing transcript excerpts.
    5/29/92       1297   PROCEEDINGS from 5/29/92 - Sentencing before
                              Judge Nimmons, Plea agreement is rat-
                              ified and accepted, Deft. is adjudged
                              guilty on counts 2, 10 & 14, Court findi
                              grounds for guidelines departure, sent-
                              encing imposed is adjusted down from
                              the guidelines, 46 mos imprisonment,
                              3 yrs supervised release, $150.00
                              Special Assessment to be paid immed-
                              iately, deft. remanded to custody,
                              all counts pertaining to Mr. Chinoy in
                              indictment & superseding indictment
                              dismissed, deft. advised of right to
                              appeal, C/R Norma Hatfield. (CHINOY)

 6/5/92           12~1   JUDGMENT in a criminal case for offenses
                              committed on or after 11/1/87 (S/WTH
                              6/2/92) Date imposed 5/29/92. State-
                              ment of reasons a ttachecl. HFR/ I (JJ
                              DOC. ll_J&J     (CHINOY)
 6/30/92          1299   JUDGMENT ret'd executed 6/28/92 F.C.I.
                              Tallhassee. (CHINOY)

    7/13/92       1300   TRANSCRIPT of sentencing hearing on 5/29/92
                              beforeJudge William Terrell Hodges.
                              (CHINOY)
 9/29/92*         1301   PROCBBDINGS from hearing on motion for reduction of
                           sentence. C/R Mildred Shealy, held before Judge
                           Hodges In Jacksonville. (this document was received
                           In Tampa 11/5/92) Not sealed per Jtm Bolling, Law Clerk                        aw
                            (AWAN)
    *8/14/92      1302
                                                                  •
                         NOTICB(GOVT) that Rule 35 Issue ls ripe. (This document
                           has been unsealed per order of WTH on 9/29/92)
                            (AWAN)                                                                         aw
    09/30/92      130J   ORDBR(S/WTH) re: Rule 35 motion. The pleading filed by
                           the Govt. entitled "In Camera Notice that Rule 35 Issue
                            ls ripe should now be unsealed by the Clerk and file and
                            docketed as public record ln this action. All other papers
                            or pleadings submitted incident to the Govt's motion &
                            previously ordered to be filed under seal or in camera
                            shall remain under seal. The Judgment & Commitment
                            entered on 12/4 ls hereby modtfled. (see file for details)
                            RBCBIVBD In TAMPA 10/5/92 (AWAN) UFR # ·t04-                                   aw

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              Case 8:88-cr-00330-RAL
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET . U. S. ~ I\
                                      AMJAD AWAN, et al
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                                                                                           ~ 88-330-CR-T-2l(B)


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 12/03/92           * PSis. (6) returned to
                                        probation, file returned from USCA.
                           (HOWARD. A WAN(2). BILGRAMI. HASsAN. HUSSAIN)                                aw

12/24/92         *   TRANSMITTAL from USCA re: return of record on appeal (17
                        Vols.) (AWAN)                                                                   aw

    01/20/93         1304 MOTION(CHINOY) for re-sentencing pursuant to title 18§
                            3582(c)(2).                                                                      SS

 02/03/93            1305 ORDBR(S/WTH) The motion for modification of sentence
                                 in DENIED. (CHINOY)                                                        aw

    02{10/93         1306 OPPOSITION(GOVT) to motion for resentencing.        (CHINOY 1                     aw
      07/08/93        *        DISPOSITION of PSI made, forwarded to
                                   Probation this same date.(ARMBRECHT)                                              ki~

     8/16/93        1307       SATISFACTION (BILGRAMI) of special assessment.                                        cl
     9/14/93          *        RETURN OF EXHIBIT I 37758 to AUSA Mark Krum.                                       cl
      9/20/93 1308              EMERGENCY MOTION (GOVT) for order granting custody                                    c
                                     of Govt and defense trial exhibits to the
                                     Govt. (ALL) *Faxed to Judge Hodges this date.
      10/6/93 1309              USM-285 - Advertised in the Tampa Tribune September                                  c'
                                     3, 9 & 16th, 1993 @$1971.08. (BCCI HOLDINGS)
    11/05 /93       1310        ORDER (WTH) granting motion for custody
                                   of Government and defense tria·b(?1;
                                   exhibits filed by the Government.
                                   Clerk is directed to arrange for the
                                    tranafer of the exhibits to the
                                   U.S. Attorney.                                                                 aw

    7/15/94               1311 SATISFACTION of Judgment (GOVT) (AWAN)                                             ma

      7/29/94        1312      EMERGENCY MOTION for non-supervised release
                                   (CHINOY) *Fraxed to Judge Hodges this                                          ki·
                                    date.

    8/1/94                1313 NOTICE (CHINOY) of filing an Agreement of
                                   Continued Cooperation and a Waiver of
                                   Extradition.                                                                   ma

    8/1/94                1314 AGREEMENT (CBINOY) of continued cooperatior                                        ma

    8/1/194               1315 WJ\.IVER (CHINOY) of extradition.                                                  ma




                                                                                      Interval         Sta:!-tDate        Ltr. Total
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        Case 8:88-cr-00330-RAL Document 1362 Filed 01/01/50 Page 101 of 101 PageID 115
UNITED STATES DISTRICT COURT           USA v. AMJAD AWAN, et al                                      88-330-CR-
CRIMINAL DOCKET
       AO 256A
r     DATE                          PROCEEDINGS (continued)                          V. EXCLUDABLE OELAY
                                                                                     ,,,       lbl          lcl ldl
J------t-IDocument No.)     ------------------------t~-+------+-+---


    8/1/94        1316 ORDER (WTH) on deft's unopposed emergency
                           motion for non-supervii;;e.d .r.elease. Upon
                           the understanding that the motion is not
                           opposed by the Govt or by the Department
                           of Justice or any of its agencies, and
                           upon the further understanding that the
                           Deft has now executed and filed with the
                           Clerk those documents described in the
                           motion, it is ordered and adjudged that
                           the motion is granted and the Deft shall
                           be on non-reporting status during the
                           remaining term of his supervised release
                           as imposed by the Judgment (Doc 1297) on
                           June 2, 1992 and filed on June 5, 1992.
                           (CBINOY)                                                                  ma
    8/11/94       *       RECEIPT of one box of exhibits returned
                              from USCA. {AWAN)                                                      ma

 10/31/94         1317 MOTION (GOVT) to dismiss.              (SINGH)                                jac

 10/31/94         1318 MOTION (GOVT) to dismiss.          ·(QAZI)                                    jac

    11/4/94        1319 ORDER (RWN) that indictment be DISMISSED.
                        (SINGH)                                                                  jac

    11/4/94        1320 ORDER (RWN) that the indictment be DISMISSED
                            (QAZI)                                                               jac

    11/17/94      1321    WARRANT returned unexecuted 11/14/94. Case
                              against this deft dismissed per D-1319
                              11/4/94.   (SINGH)                                                      gg
 11/17/94         1322    WARRANT returned unexecuted 11/14/94. Case
                               against this deft dismissed per D-1320
                               on 11/4/94.  {QAZI)                                                   gg
 2/17/95         1323 COURT'S EXHIBIT LIST                                                      jac

    2/21/95      1324     COURT'S EXHIBITS returned to govt. Receipt
                         -    ~igned by Paul Olsen, U.S. ~ttorney's
                              Office.                                                            jac


                         Su_. iiJ-~~J bo~


                                                                               lnuuval      Stan Date      Ltr. Tota
                                                                        (per Scrct1on Ill    End Date      Code Dav
